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                    Appeal No. 20-1058


    IN THE UNITED STATES COURT OF APPEALS
            FOR THE THIRD CIRCUIT


                    JESSICA RAMSAY,

                                              Plaintiff-Appellee,

                                v.

    NATIONAL BOARD OF MEDICAL EXAMINERS,

                                           Defendant-Appellant.



  On Appeal from the United States District Court for the
  Eastern District of Pennsylvania, Case No. 19-CV-2002


                    JOINT APPENDIX
                 VOLUME IV: APPX1028‐1366


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                                     MEDICAL EXAMINERS
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                  CERTIFICATE OF SERVICE
   I certify that on March 23, 2020, I electronically filed this
Appendix with the Clerk of Court for the United States

Court of Appeals for the Third Circuit using the CM/ECF

system. I further certify that all participants in the case are
registered CM/ECF users and that service will be

accomplished through the CM/ECF system.


                                         /s/ Robert A. Burgoyne
                                         Robert A. Burgoyne




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                                               UNITED STATES MEDICAL LICENSING EXAMINATION®
      UJ§•MLE
     United States                                                         STEP 1 SCORE REPORT
       Medical
      Lice nsing                                               This score report is provided for the use of the examinee.
     Examination
    ~------~®                          Third party users ofUSMLE infonnation are advised to rely solely on official USMLE transcripts.



     Ramsay, Jessica Erin
     USMLE ID:          5-366-431-4                                                                  Test Date: July 20, 2017


    The USMLE is a single examination program cons1stmg of three Steps designed to assess an examinee's
    understanding of and ability to apply concepts and principles that are important in health and disease and that
    constitute the basis of safe and effective patient care. Step 1 is designed to assess whether an examinee understands
    and can apply important concepts of the sciences basic to the practice of medicine, with special emphasis on
    principles and mechanisms underlying health, disease, and modes of therapy. The inclusion of Step 1 in the
    USMLE sequence is intended to ensure mastery of not only the sciences underlying the safe and competent practice
    of medicine in the present, but also the scientific principles required for maintenance of competence through lifelong
    learning. Results of the examination are reported to medical licensing authorities in the United States and its
    territories for use in granting an initial license to practice medicine. This score§ represents your result for the
    administration of Step 1 on the test date shown above.



                                This result is based on the minimum passing score recommended by USMLE for Step 1.
)          FAIL
                                Individual licensing authorities may accept the USMLE-recommended pass/fail result or may
                                establish a different passing score for their own jurisdictions.




                               This score is determined by your overall performance on Step 1. For administrations between
                               Jan 1, 2016 and Dec 31, 2016, the mean and standard deviation for first-time examinees from
           191                 U.S. and Canadian medical schools were approximately 228 and 21, respectively, with most
                               scores falling between 140 and 260. A score of 192 is set by USMLE to pass Step I. The
                               standard error of measurement (SEM)t for this scale is six points.




    §Effective April 1, 2013, test results are reported on a three-digit scale only. Test results reported as passing represent an exam score of75 or
    higher on a two-digit scoring scale.

    tv our score is influenced both by your general understanding of the basic biomedical sciences and the specific set of items selected for this
    Step I examination. The Standard Error of Measurement (SEM) provides an index of the variation in scores that would be expected to occur if
    an examinee were tested repeatedly using different sets of items covering similar content.




                                                                 Appx1028                                                              NBME00194
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                                    INFORMATION PROVIDED FOR EXAMINEE USE ONLY

                            The Performance Profile below is provided solely for the benefit of the examinee.
       These profiles are developed as self-assessment tools for examinees only and will not be reported or verified to any third party.

                                              USMLE STEP 1 PERFORMANCE PROFILE

                                                                      Lower                Borderline                                        Higher
                                                                      Performance          Performance                                  Performance

  PHYSICIAN TASK
  MK: Applying Foundational Science Concepts                              xxxxxxxxx
  PC : Diagnosis                                                                                       xxxxxxxxxxxx
  PC: Management                                                                                        xx.x xxxxxxxxx
  PBLI: Evidence-Based Medicine
  DISCIPLINE
  Behavioral Sciences                                                                  XXX           . xxxxxxxxxx
  Biochemistry & Nutrition                                              *xxxxxxx
  Genetics
  Gross Anatomy & Embryology
  Histology & Cell Biology                                              *xxxxxxxxxx
  Microbiology & Immunology                                             *xxxxxxxxxx
  Pathology
  Pharmacology
  Physiology
  SYSTEM
  General Principles                                                    *xxxxxxxxx
  Blood & Lymphoreticular and Immune Systems
  Behavioral Health & Nervous Systems/Special Senses
  Musculoskeletal, Skin, & Subcutaneous Tissue                                                                xxxxxxxxxxxxxxxxxxx
  Cardiovascular System                                                      xxxxxxx
  Respiratory and Renal/Urinary Systems                                                                  xxxxxxx
  Gastrointestinal System
  Reproductive & Endocrine Systems                                                                     xxxxxxxxxx
  Multisystem Processes & Disorders                                     xxxxxxxxxxx~ xx
  Biostatistics & Epidemiology/Population Health                         xxxxxxxxx~


The above Performance Profile is provided to aid in self-assessment. The shaded area defines a borderline level of performance for each content area;
borderline performance is comparable to a HIGH FAIL/LOW PASS on the total test.

Performance bands indicate areas ofrelative strength and weakness. Some bands are wider than others. The width ofa performance band reflects the
precision of measurement: narrower bands indicate greater precision. The band width for a given content area is the same for all examinees. An
asterisk indicates that your perfom1ance band extends beyond the displayed portion of the scale. Small differences i11 the lu(;atiuu of bands should
not be over-interpreted. If two bands overlap, performance in the associated areas should be interpreted as similar. Because Step I is designed to be
integrative, many items contribute to more than one content area. As a consequence, caution should be used when interpreting differences in
performance across content areas.
This profile should not be compared to those from other Step 1 administrations.
Additional information concerning the topics covered in each content area can be found in the USMLE Step I Content Description and Sample Test
Materials .

MK-Medical Knowledge; PC- Patient Care; PBLI-Practice-based Leaming and Improvement




                                                               Appx1029                                                            NBME00195
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                                                                              EXHIBIT
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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϰ͘ϲϬϬ       Ϯ             ϱϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϯ͘ϲϬϬ       Ϯ             ϲϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &        &              ϲϰ͘ϭϬϬ       Ϯ             ϲϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϰ͘ϳϬϬ       Ϯ             ϲϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϳϰ͘ϵϬϬ       Ϯ             ϲϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϵ͘ϳϬϬ       Ϯ             ϲϰ


                                             WĂŐĞϮŽĨϵ
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                                   yD/Eͺ KZZdͺ                            /dDͺWZ^Edd/KEͺ^
>^dͺED   &/Z^dͺED     yD     Z^WKE^ E^tZ        /dDͺhZd/KE   >K<       YhE
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϯ͘ϭϬϬ       Ϯ             ϲϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϵ͘ϲϬϬ       Ϯ             ϲϲ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &        &              ϴϲ͘ϮϬϬ       Ϯ             ϲϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϮ͘ϳϬϬ       Ϯ             ϲϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϰ͘ϬϬϬ       Ϯ             ϲϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϯ͘ϭϬϬ       Ϯ             ϳϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϰ͘ϳϬϬ       Ϯ             ϳϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϬ͘ϭϬϬ       Ϯ             ϳϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &        ,              ϲϬ͘ϮϬϬ       Ϯ             ϳϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϬ͘ϳϬϬ       Ϯ             ϳϰ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϳ͘ϳϬϬ       Ϯ             ϳϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϴ͘ϯϬϬ       Ϯ             ϳϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϭ͘ϲϬϬ       Ϯ             ϳϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϯϭ͘ϲϬϬ       Ϯ             ϳϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &                     ϭϯϱ͘ϳϬϬ       Ϯ             ϳϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                &             ϭϭϭ͘ϮϬϬ       Ϯ             ϴϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϰ͘ϭϬϬ       ϯ             ϴϭ




                                                                                                          Page: 13
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϱ͘ϭϬϬ       ϯ             ϴϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϲϴ͘ϯϬϬ       ϯ             ϴϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϯϰ͘ϭϬϬ       ϯ             ϴϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϲϴ͘ϵϬϬ       ϯ             ϴϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϯϭ͘ϱϬϬ       ϯ             ϴϲ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϰϯ͘ϯϬϬ       ϯ             ϴϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϰ͘ϲϬϬ       ϯ             ϴϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϴ͘ϳϬϬ       ϯ             ϴϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϬ͘ϲϬϬ       ϯ             ϵϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϵ͘ϳϬϬ       ϯ             ϵϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϵϳ͘ϵϬϬ       ϯ             ϵϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϭϳ͘ϱϬϬ       ϯ             ϵϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϲ͘ϮϬϬ       ϯ             ϵϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϵ͘ϴϬϬ       ϯ             ϵϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϭ͘ϲϬϬ       ϯ             ϵϲ


                                             WĂŐĞϯŽĨϵ
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                                   yD/Eͺ KZZdͺ                            /dDͺWZ^Edd/KEͺ^
>^dͺED   &/Z^dͺED     yD     Z^WKE^ E^tZ        /dDͺhZd/KE   >K<       YhE
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϰ͘ϭϬϬ       ϯ             ϵϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϬ͘ϮϬϬ       ϯ             ϵϴ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϳ͘ϮϬϬ       ϯ             ϵϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϴ͘ϬϬϬ       ϯ            ϭϬϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϱ͘ϭϬϬ       ϯ            ϭϬϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϴ͘ϲϬϬ       ϯ            ϭϬϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϰ͘ϴϬϬ       ϯ            ϭϬϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϱ͘ϳϬϬ       ϯ            ϭϬϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϵ͘ϳϬϬ       ϯ            ϭϬϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϴ͘ϮϬϬ       ϯ            ϭϬϲ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϱϮ͘ϴϬϬ       ϯ            ϭϬϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϮ͘ϭϬϬ       ϯ            ϭϬϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϯϴ͘ϳϬϬ       ϯ            ϭϬϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϭ͘ϮϬϬ       ϯ            ϭϭϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϲ͘ϭϬϬ       ϯ            ϭϭϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϰ͘ϲϬϬ       ϯ            ϭϭϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϭ͘ϮϬϬ       ϯ            ϭϭϯ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϱ͘ϵϬϬ       ϯ            ϭϭϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϬ͘ϭϬϬ       ϯ            ϭϭϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϴ͘ϭϬϬ       ϯ            ϭϭϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϰ͘ϭϬϬ       ϯ            ϭϭϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϭ͘ϭϬϬ       ϯ            ϭϭϴ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϲ͘ϭϬϬ       ϯ            ϭϭϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϳϴ͘ϮϬϬ       ϯ            ϭϮϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϯϭ͘ϮϬϬ       ϰ            ϭϮϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϵ͘ϭϬϬ       ϰ            ϭϮϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϵ͘ϲϬϬ       ϰ            ϭϮϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϱϵ͘ϴϬϬ       ϰ            ϭϮϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϴ͘ϳϬϬ       ϰ            ϭϮϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϮ͘ϳϬϬ       ϰ            ϭϮϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϮ͘ϲϬϬ       ϰ            ϭϮϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &                     ϭϬϳ͘ϮϬϬ       ϰ            ϭϮϴ


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                                   yD/Eͺ KZZdͺ                            /dDͺWZ^Edd/KEͺ^
>^dͺED   &/Z^dͺED     yD     Z^WKE^ E^tZ        /dDͺhZd/KE   >K<       YhE
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϳ͘ϴϬϬ       ϰ            ϭϮϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϲ͘ϲϬϬ       ϰ            ϭϯϬ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϯ͘ϭϬϬ       ϰ            ϭϯϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϭ͘ϬϬϬ       ϰ            ϭϯϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϭ͘ϮϬϬ       ϰ            ϭϯϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϱ͘ϮϬϬ       ϰ            ϭϯϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϭ͘ϳϬϬ       ϰ            ϭϯϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϭ͘ϲϬϬ       ϰ            ϭϯϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϬ͘ϮϬϬ       ϰ            ϭϯϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϴ͘ϳϬϬ       ϰ            ϭϯϴ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϳϳ͘ϵϬϬ       ϰ            ϭϯϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϯ͘ϲϬϬ       ϰ            ϭϰϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϵ͘ϵϬϬ       ϰ            ϭϰϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϴ͘ϱϬϬ       ϰ            ϭϰϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϬ͘ϭϬϬ       ϰ            ϭϰϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             Ϯϴϭ͘ϯϬϬ       ϰ            ϭϰϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϭ͘ϭϬϬ       ϰ            ϭϰϱ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϭ͘ϮϬϬ       ϰ            ϭϰϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϵ͘ϭϬϬ       ϰ            ϭϰϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϳ͘ϮϬϬ       ϰ            ϭϰϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϲ͘ϳϬϬ       ϰ            ϭϰϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϵ͘ϮϬϬ       ϰ            ϭϱϬ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϴ͘ϭϬϬ       ϰ            ϭϱϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϭϰ͘ϬϬϬ       ϰ            ϭϱϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϲ͘ϭϬϬ       ϰ            ϭϱϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϵ͘ϮϬϬ       ϰ            ϭϱϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϬ͘ϮϬϬ       ϰ            ϭϱϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϮ͘ϳϬϬ       ϰ            ϭϱϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϵ͘ϲϬϬ       ϰ            ϭϱϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϰ͘ϭϬϬ       ϰ            ϭϱϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        /         /             ϵϲ͘ϯϬϬ       ϰ            ϭϱϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϲ͘ϮϬϬ       ϰ            ϭϲϬ


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                                   yD/Eͺ KZZdͺ                            /dDͺWZ^Edd/KEͺ^
>^dͺED   &/Z^dͺED     yD     Z^WKE^ E^tZ        /dDͺhZd/KE   >K<       YhE
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϴ͘ϭϬϬ       ϱ            ϭϲϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϬ͘ϲϬϬ       ϱ            ϭϲϮ




                                                                                                          Case: 20-1058
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϯϰ͘ϯϬϬ       ϱ            ϭϲϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϰ͘ϲϬϬ       ϱ            ϭϲϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϯϲ͘ϴϬϬ       ϱ            ϭϲϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϮ͘ϮϬϬ       ϱ            ϭϲϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϭϵ͘ϬϬϬ       ϱ            ϭϲϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϲ͘ϳϬϬ       ϱ            ϭϲϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϴ͘ϭϬϬ       ϱ            ϭϲϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϯϴ͘ϭϬϬ       ϱ            ϭϳϬ




                                                                                                          Document: 24
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϱ͘ϲϬϬ       ϱ            ϭϳϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϮ͘ϮϬϬ       ϱ            ϭϳϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϭ͘ϭϬϬ       ϱ            ϭϳϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϰ͘ϭϬϬ       ϱ            ϭϳϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϴ͘ϲϬϬ       ϱ            ϭϳϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϭ͘ϭϬϬ       ϱ            ϭϳϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϴ͘ϮϬϬ       ϱ            ϭϳϳ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϵ͘ϮϬϬ       ϱ            ϭϳϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϯ͘ϲϬϬ       ϱ            ϭϳϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϵ͘ϲϬϬ       ϱ            ϭϴϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϰ͘ϳϬϬ       ϱ            ϭϴϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϮ͘ϳϬϬ       ϱ            ϭϴϮ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                &             ϮϬϭ͘ϴϬϬ       ϱ            ϭϴϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϮ͘ϳϬϬ       ϱ            ϭϴϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϴ͘ϭϬϬ       ϱ            ϭϴϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϭ͘ϮϬϬ       ϱ            ϭϴϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &                     ϭϱϵ͘ϴϬϬ       ϱ            ϭϴϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϳ͘ϮϬϬ       ϱ            ϭϴϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϯ͘ϭϬϬ       ϱ            ϭϴϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϭ͘ϮϬϬ       ϱ            ϭϵϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϮ͘ϲϬϬ       ϱ            ϭϵϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϮ͘ϭϬϬ       ϱ            ϭϵϮ


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                                   yD/Eͺ KZZdͺ                            /dDͺWZ^Edd/KEͺ^
>^dͺED   &/Z^dͺED     yD     Z^WKE^ E^tZ        /dDͺhZd/KE   >K<       YhE
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϬ͘ϭϬϬ       ϱ            ϭϵϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϴ͘ϭϬϬ       ϱ            ϭϵϰ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϯ͘ϳϬϬ       ϱ            ϭϵϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϰϳ͘ϮϬϬ       ϱ            ϭϵϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &        &              ϴϲ͘ϲϬϬ       ϱ            ϭϵϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϰ͘ϮϬϬ       ϱ            ϭϵϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϲϮ͘ϵϬϬ       ϱ            ϭϵϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϵ͘ϲϬϬ       ϱ            ϮϬϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϱ͘ϲϬϬ       ϲ            ϮϬϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϴϮ͘ϵϬϬ       ϲ            ϮϬϮ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϱ͘ϳϬϬ       ϲ            ϮϬϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϭ͘ϭϬϬ       ϲ            ϮϬϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϳ͘ϴϬϬ       ϲ            ϮϬϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϮ͘ϳϬϬ       ϲ            ϮϬϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϮ͘ϭϬϬ       ϲ            ϮϬϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϭ͘ϲϬϬ       ϲ            ϮϬϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &        &              ϱϳ͘ϭϬϬ       ϲ            ϮϬϵ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϰ͘ϮϬϬ       ϲ            ϮϭϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϬ͘ϭϬϬ       ϲ            Ϯϭϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϴ͘ϭϬϬ       ϲ            ϮϭϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϯ͘ϰϬϬ       ϲ            Ϯϭϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϲ͘ϮϬϬ       ϲ            Ϯϭϰ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϳ͘ϲϬϬ       ϲ            Ϯϭϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &        &              ϵϬ͘ϯϬϬ       ϲ            Ϯϭϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϰ͘ϯϬϬ       ϲ            Ϯϭϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϲ͘ϲϬϬ       ϲ            Ϯϭϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϵ͘ϴϬϬ       ϲ            Ϯϭϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϭ͘ϳϬϬ       ϲ            ϮϮϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϭ͘ϲϬϬ       ϲ            ϮϮϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϬ͘ϮϬϬ       ϲ            ϮϮϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϵϲ͘ϵϬϬ       ϲ            ϮϮϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϮϮ͘ϱϬϬ       ϲ            ϮϮϰ


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                                   yD/Eͺ KZZdͺ                            /dDͺWZ^Edd/KEͺ^
>^dͺED   &/Z^dͺED     yD     Z^WKE^ E^tZ        /dDͺhZd/KE   >K<       YhE
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &                     ϭϵϵ͘ϰϬϬ       ϲ            ϮϮϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϬ͘ϳϬϬ       ϲ            ϮϮϲ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϱ͘ϮϬϬ       ϲ            ϮϮϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϲ͘ϮϬϬ       ϲ            ϮϮϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϯ͘ϯϬϬ       ϲ            ϮϮϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϬ͘ϭϬϬ       ϲ            ϮϯϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϬ͘ϮϬϬ       ϲ            Ϯϯϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϯ͘ϲϬϬ       ϲ            ϮϯϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϱ͘ϲϬϬ       ϲ            Ϯϯϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϯ͘ϳϬϬ       ϲ            Ϯϯϰ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϯ͘ϭϬϬ       ϲ            Ϯϯϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϮϴ͘ϮϬϬ       ϲ            Ϯϯϲ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϮ͘ϳϬϬ       ϲ            Ϯϯϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϱ͘ϳϬϬ       ϲ            Ϯϯϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϬϮ͘ϮϬϬ       ϲ            Ϯϯϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϱ͘ϭϬϬ       ϲ            ϮϰϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϬ͘ϳϬϬ       ϳ            Ϯϰϭ




                                                                                                          Page: 18
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϳ͘ϭϬϬ       ϳ            ϮϰϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϵ͘ϮϬϬ       ϳ            Ϯϰϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϰϰ͘ϴϬϬ       ϳ            Ϯϰϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϬ͘ϮϬϬ       ϳ            Ϯϰϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϬ͘ϭϬϬ       ϳ            Ϯϰϲ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϵ͘ϮϬϬ       ϳ            Ϯϰϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϴ͘ϬϬϬ       ϳ            Ϯϰϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϳ͘ϲϬϬ       ϳ            Ϯϰϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϵϮ͘ϰϬϬ       ϳ            ϮϱϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϮ͘ϲϬϬ       ϳ            Ϯϱϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             Ϯϲϵ͘ϱϬϬ       ϳ            ϮϱϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϭ͘ϳϬϬ       ϳ            Ϯϱϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϯϴ͘ϬϬϬ       ϳ            Ϯϱϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϲϯ͘ϭϬϬ       ϳ            Ϯϱϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ        &        &              ϲϳ͘ϮϬϬ       ϳ            Ϯϱϲ


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                                   yD/Eͺ KZZdͺ                            /dDͺWZ^Edd/KEͺ^
>^dͺED   &/Z^dͺED     yD     Z^WKE^ E^tZ        /dDͺhZd/KE   >K<       YhE
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϯ͘ϱϬϬ       ϳ            Ϯϱϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϭ͘ϬϬϬ       ϳ            Ϯϱϴ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              Ϯϯ͘ϱϬϬ       ϳ            Ϯϱϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϯϲ͘ϲϬϬ       ϳ            ϮϲϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϱϴ͘ϲϬϬ       ϳ            Ϯϲϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϰϳ͘ϲϬϬ       ϳ            ϮϲϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϴ͘ϭϬϬ       ϳ            Ϯϲϯ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϲ͘ϳϬϬ       ϳ            Ϯϲϰ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϴϰ͘ϲϬϬ       ϳ            Ϯϲϱ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϮ͘ϮϬϬ       ϳ            Ϯϲϲ




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ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϳϮ͘ϯϬϬ       ϳ            Ϯϲϳ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϭϲ͘ϯϬϬ       ϳ            Ϯϲϴ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϯϵ͘ϱϬϬ       ϳ            Ϯϲϵ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϵϭ͘ϳϬϬ       ϳ            ϮϳϬ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                              ϳϰ͘ϳϬϬ       ϳ            Ϯϳϭ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϭϰϯ͘ϵϬϬ       ϳ            ϮϳϮ
ZĂŵƐĂǇ      :ĞƐƐŝĐĂƌŝŶ   ^dWϭ                             ϮϯϮ͘ϱϬϬ       ϳ            Ϯϳϯ




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                                         USMLE® Request for Test Accommodations

        Section A: Exam Information

        Place a check next to the examination(s) for which you are currently registered and requesting test
        accommodations: (Check all that apply)

         0     Step I
         D Step 2 CK (Clinical Knowledge)
         D Step 2 CS (Clinical Skills)
         D Step 3*
        *Please be aware that additional test time for Step 3 may involve 3 to 5 days of testing, depending on
        the requested accommodation (See Section Cl).

        Section B: Biographical Information
        Please type or print.
        Bl. Name: Ramsay                                        Jessica                                E
                        --------------
                         Last
                                       --First- ------- -- - Middle
                                                             - ---- Initial

        B2. Gender:       D Male         Iii Female
        B3. Date of Birth: 0812911990
                            ----- - -- - -
        B4. USMLE # 2._ - .l. !._ !._ - .i_ l_ 1_ - .i_ (required)
    )   BS. Address:
        6862 Tall Oaks Dr, Apt 3B
        Street
        Kalamazoo                                                    Ml                             49009
        City                                                     State/Province                  Zip/Postal Code
        USA
        Country
        (269) 932-8214
        Preferred Telephone Number
        Jessica.Ramsay@med.wmich.edu
        E-mail address


        B6. Medical School Name: Western Michigan University Homer Stryker M.D. School of Medicine

        Country of Medical School:_u_s_A_ _ _ _ _ __ _ _                  Date of Medical School Graduation: 5/12/19




)
        Accommodations Request Form (3/2017)                                                                 Page2




                                                                                                            NBME00233



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    Section C : Accommodations Information
    Cl.       Step 1, Step 2 CK, or Step 3 (computer-based examinations)

    Check the appropriate box to indicate the accommodations you are requesting. Check ONLY ONE box for
    the exam(s) for which you are currently registered:

    STEP 1:
    Additional Break Time                         Additional Testing Time
    0     Additional break time over I day        D   25% Additional test time (Time and l/4) over 2 days
    0     Additional break time over 2 days       D 50% Additional test time (Time and 1/2) over 2 days
                                                  0 100% Additional test time (Double time) over 2 days
    0     Additional break time and 50% Additional test time (Time and 1/2) over 2 days


    STEP 2CK:
    Additional Break Time                         Additional Testing Time
    0     Additional break time over 2 days       0 25% Additional test time (Time and 1/4) over 2 days
                                                  D   50% Additional test time (Time and 1/2) over 2 days
                                                  D   100% Additional test time (Double time) over 2 days
    D     Additional break time and 50% Additional test time (Time and 1/2) over 2 days


)   STEP3:
    Additional Break Time                         Additional Testing Time
    0 Additional break time over 4 days           D   25% Additional test time (Time and 1/4) over 3 days
                                                  D   50% Additional test time (Time and 1/2) over 4 days
                                                  D   100% Additional test time (Double time) over 5 days
    D     Additional break time and 50% Additional test time (Time and 1/2) over 4 days


    Describe any other accommodation(s) you are requesting for Step 1, Step 2 CK, or Step 3.


    Private testing room and additional break time.

    C2.      STEP 2 CS (Clinical Skills)
    Review the Step 2 CS Onsite Orientation video and Step 2 CS Content Description and General Information
    Booklet at www.usmle.org for detailed information about the format and delivery of the Step 2 CS
    t:xarninalion.

    Describe the accommodations you are requesting for each section of Step 2 CS (i.e., patient encounter,
    patient note). If you are requesting additional time, state the amount of additional time you require in
    mjnutes per encounter or note.

    D Patient Encounter:_ _ _ _ _ _ _ _ __ _ _ _ _ __ _ _ _ _ __ _ _ _ _ _ _ __
    D Patient Note:
                      --------------------------- - ----
    Accommodations Request Form (3/2017)                                                                    Page 3




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                                                 Appx1128
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                                           USMLE® Request for Test Accommodations


C3.       Do you require wheelchair access at the examination facility?                             D    Yes @ No
If yes, please indicate the number of inches required from the bottom of the table to the floor: _ _ __


Section D: Information About Your Impairment

DI . List the specific DSM/ICD diagnostic code(s) and disability for which you are requesting
accommodations and report the year that it was first diagnosed.

DIAGNOSTIC CODE                                           DISABILITY                                        YEAR DIAGNOSED
  ICD-10/DSM-5 : F81.0/315.00,             Learning Disabilities of Reading and Writing                        2017
  FSl.81/315.2, F81.9/-                    (wi th abnormal Scanning and Processing Speed)

  ICD-10 F90.2/DSM-S 314.01                ADHD, Combined Type                                                  2009

  ICD-10 643.09                            Migraines with aura, without status migranosus                      1997

  ICD-10 187.009, 069.8                    Clotting di sorder with recent deep vein thrombosis                 2016
                                           and Post-t hrombotic syndrome

D2. Personal Statement
 ·0 Attach a signed and dated personal statement describing your impairment(s) and how a major
      life activity is substantially limited. The personal statement is your opportunity to tell us how your
      physical or mental impairment(s) substantially limits your current functioning in a major life activity
      and how the standard examination conditions are insufficient for your needs. In your own words,
      describe the impact of your disability on your daily life (do not confine your statement to
      standardized test performance) and provide a rationale for why the specific accommodation(s) you
      are requesting are necessary in the context of this examination.

Section E: Accommodation History

El. Standardized Examinations
tJAttach copies of your score report(s) for any previous standardized examination taken.
 'u If accommodations were provided, attach official documentation from each testing agency
   confirming the test accommodations they provided.

List the accommodations received for previous standardized examinations such as college, graduate, or
professional school admissions tests and professional licensure or certification examinations (ifno
accommodations were provided, write NONE).

                                       DATE(S)                                              ACCOMMODA TION(S)
                                    ADMINISTERED                                                PROVIDED
0 SAT®,ACT'®                   M•rch 2007, October 2007                             None. None

0 MCAT®                        4/11/11                                              None

D GRE®
D GMAT®
D LSAT®                        USMLE Step l e.xam 7/20/17                           None

D DAT®                        NBME exams: CASl 12/ 14/14; CAS2 6/24/15;                       Double testing and break time; private testing room; extra
                              CAS3174716; C8SE 4711716; IM Sheil 6724716; laminated scrap paper; colored diy-erase markers; medications,
D COMLEX®                     FM.Sb elf 8/26/16· 08-Gv:o Sb elf J0/2l {l 6·                   watec aod graoola bac io room ('except toe /112811 Z NBME CBSE,
0 Other (specify)             Peds Shel f 12/22/16; Psych Shelf 3/3/17;                       which taken under simulated standard testing time for formative
                              fo""rm~ati""v""e...,CB"'S"'· t-.,,.4/'"'ZV-8Jf'TITJ- - - -- - - purposes)


Accommodations Request Form (3/2017)                                                                                                         Page4




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                                     USMLE® Request for Test Accommodations



    E2. Postsecondary Education
    List each school and all formal accommodations you receive/received, and the dates accommodations
    were provided :
     (~ Attach copies.of official records fro~ each school(s) confirming the accommodations they
        provided.
      ··; If you receive/received accommodations in medical school and/or residency , have the
          appropriate official at your medical school/residency complete and submit the USMLE
          Certification of Prior Test Accommodations form available at www .usmle.org.

                                                          ACCOMMODATIONS                                  DATES
                           SCHOOL                             PROVIDED                                   PROVIDED
                            WMU Homer       2x testing time, private testing room, e xams on
                                                                                                         2014 - Present
    Medical/Graduate/       Stryker M.D SOM paper when possible extra map paper/laminated
    Professional School                     sheets, colored pencils & highlighters/dry-erase
                                            markers; wate r, snack & meds in room (See
                                            attached documentation tor speC1hcs)

                                                    2x testing time: sepa rate, distraction-reduced
    Undergraduate           Oh io State Un iversity testing room; exams on paper when possible;          2010- 2013
                                                    extra scrap paper; colored pencils & highlighters;
    School
                                                    addlt1onat accomrnodactons approved by tour
                                                    lt1 sli octm (See attached docu111ema t1011 for
                                                    specifics)

    E3. Primary and Secondary School
    List each school and all formal accommodations you received, and the dates accommodations were
    provided:
     '0 Attach copies of official records from each school listed COJ'!firming the accommodations they
        provided.
                                                         ACCOMMODATIONS                                   DATES
                            SCHOOL                           PROVIDED                                    PROVIDED

    High School



    Middle School



    Elementary School




)
    Accommodations Request Form (3/2017)                                                                               Page 5




                                                                                                                      NBME00236



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                                        USMLE® Request for Test Accommodations

    Section F: Certification and Authorization

    To the best of my knowledge and belief, the infonnation recorded on this request form is true and accurate.
    understand that my request for accommodations, including this fonn and all supporting documentation, must
    be received by the NBME sufficiently in advance of my anticipated test date in order to provide adequate
    time to evaluate and process my request.

    I acknowledge and agree that any infonnation submitted by me or on my behalf may be used by the USMLE
    program for the following purposes:
        • Evaluating my eligibility for accommodations. When appropriate, my infonnation may be disclosed
           to qualified independent reviewers for this purpose.
        • Conducting research. Any disclosure of my information by the USMLE program will not contain
           information that could be used to identify me individually; information that is presented in research
           publications will be reported only in the aggregate.

    I authorize the National Board of Medical Examiners (NBME) to contact the entities identified in this request
    fonn, and the professionals identified in the documentation I am submitting in connection with it, to obtain
    further information. I authorize such entities and professionals to provide NBME with all requested further
    information.

    I further understand that the USMLE reserves the right to take action, as described in the Bulletin of
    Information, if it determines that false information or false statements have been presented on this request
    form or in connection with my request for test accommodations.

    Name (print): Jessica Ramsay


)   Signature:   ~~ ~..     1.',o<M.y
                               {/
                                                                             Date: 06/06/2018



    E-mail (as a pd0 , fax or mail your completed request form and supporting documents to the
    address below at the same time you submit your Step examination application.


                                                 Disability Services
                                        National Board of Medical Examiners
                                                 3750 Market Street
                                            Philadelphia, PA 19104-3190
                                             Telephone: (215) 590-9700
                                              Facsimile: (215) 590-9422
                                        E-mail: disabilityservices@nbme.org




    Accommodations Request Form (3/20 17)                                                                 Page 6




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June 6, 2018                       USM LE# 5-366-431-4                       Jessica Ramsay


     Included Supportive Documentation for Accommodations Request for USM LE Step 1

                                        Document
   USM LE Request for Test Accommodations form
   Personal Statement
   Let ter of Support from Larry Berger
   Consult Report and Neurocognitive Evaluation Results & Summary from Dr.
   Lewandowski
   Clinical Summary from Dr. Ruekberg
   Clinical Summary from Dr. Houtman

   WMed USM LE Certification of Prior Test Accommodation Form
   WMed Essential Abilities Committee -Approvals for Reasonable Accommodations
   2014-2017
   WMed Letter of Support for NBME Accommodations
   USMLE Step 1 Score Report
   NBME Score reports for CBSE and Shelf Exams administered at WMed
         Accommodations provided : double testing and break time; private testing room;
         extra laminated scrap paper; colored dry-erase markers; medications, water and
         granola bar in room
                 12/14/2014 NBME CASl
                 06/24/2015 NBME CAS2
                 01/04/2016 NBME CAS3
                 04/11/2016 NBME CBSE
                 06/24/2016 NBME Medicine Shelf
                 08/26/2016 NBME Modular Family Medicine Core Shelf
                 10/21/2016 NBME Obstetrics and Gynecology Shelf
                 12/22/2016 NBME Pediatrics Shelf
                 03/03/2017 NBME Psychiatry Shelf
                 04/27/2017 NBME Surgery Shelf
         Accommodations provided: private testing room; extra laminated scrap paper;
         colored dry-erase markers; medications, water and granola bar in room
                 04/28/2017 NBME CBSE (Formative)
   MCAT Score Report (30M)
   OSU ODS ADHD Verification Form (completed by Dr. Smiy iri 2010)
   OSU ODS Access Plan




                                                                                   NBME00238



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     June 6, 2018                                  USMLE# 5-366-431-4                                      Jessica Ramsay

                                                   Personal Statement


     I am submitting this Personal Statement to describe the functional impairments and symptoms I experience as
     a result of my learning disabilities, Attention Deficit/Hyperactivity Disorder, migraines, and residual symptoms
     from my deep vein thrombosis. These symptoms make it impossible for me to fully read and answer all of the
     questions on an equal basis with non-disabled students under the standard testing conditions. The
     accommodations that I am requesting are:

            •       100% additional exam time (double time)

            •       Extra break time

            •       a private, distraction-reduced testing room

                                                             ***
     There are many tasks in everyday life that require scanning, reading, writing, information processing, recall,
     and organization, which the average person does effectively and efficiently. Because of my disabilities, I am
     unable to do these important tasks with normal effectivity or efficiency, or sometimes even at all. These
     disabilities also interfere with my ability to learn, remember, recall, and express information efficiently and
     effectively. In order to perform any of these functions, I must spend much more time and energy every day
     than most people need to. Furthermore, the additional time and energy spent on these tasks takes away from
     the time, energy, and focus needed to manage other important life responsibilities like cooking, eating,
     cleaning, paying bills, running errands, doing laundry, sleeping, and self-care.

     In addition, the methods I have developed over time in order to be able to read, study and manage my
     disabilities are only effective if I have an appropriate space and the necessary time. Let me explain.

            •       I have always struggled with flipping, merging, and tangling letters, characters, and words both
                    when reading and writing. I also have trouble distinguishing between words and characters that
                    have similar shapes- characters such as qbdp, 96, wunm,JL., 3&,        gy, ssae, 4A, and words like
                    united/untied, serves/verses/reverse/server/severe/reserve, quite/quiet, from/form,
                    reared/reread, and though/thought/through/trough/tough - so it takes me a long time to
                    isolate and correctly identify them. Sometimes I am unable to tell them apart without help from
                    others or use of supportive tools. These tasks are progressively more difficult with stylized
                    fonts, handwriting, and cursive -   1wm{J(uNuw, YH'f,   ckL.6~ - which I usually need someone else to
                    read to me because I cannot read it on my own. This interferes with my ability to do many
                    common, everyday tasks like reading handwritten instructions, phone numbers, reminders, or
                    feedback on an assignment, and sometimes cannot even read something I wrote myself, like
                    reminders or class notes.

            •       In order to read anything, especially technical material like the material on the USM LE Step 1
                    test, I must spend a lot of time and effort to untangle the words and decode each one,
                    identifying their individual meanings. Then I must piece them together in the correct sequence,
 '                  building them up to get the meaning of the text as a whole. This process requires me to reread
_)                  text multiple times before I can fully comprehend what I am reading. Usually, I also need to
                    read the text aloud, or have it read to me by a person or computer program, to help me

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                   interpret the words within the context of the sentence, and then within the paragraph. Hearing
                   the words aloud also helps me to avoid making as many mistakes overall because, when I hear
                   something that sounds out of place, I can backtrack and try again . Though this process is very
                   slow and tedious, it makes it possible for me to read with adequate comprehension.
                   Additionally, there are times when I also need to physically act out or demonstrate what I am
                   reading so that I can make sense of the information. This technique is helpful for working
                   through information but requires adequate time and an appropriate space for me to be able to
                   physically move around in a way that is not possible in a shared testing room without disturbing
                   other examinees.

           •       When I need to read but do not have adequate time or support to properly untangle and work
                   through the words or process the information, I miss important details, or even large chunks of
                   information, and misinterpret the message. This leads to many, and often crucial,
                   misunderstandings and communication errors that can have negative impacts on the personal,
                   social, academic and professional aspects of my life, the severity of each varying depending on
                   the situation . For example, calling someone Ashley when their name tag says Ainsley can
                   appear careless, or even rude, leading to a bad first impression, or even loss of a potential job
                   offer. Misreading instructions and messages, subsequently causing me to pass along an
                   incorrect message or to unintentionally fail to follow directions, has gotten me in trouble at
                   home, with friends, and sometimes even at work. In restaurants, it takes me a long time to read
                   the menu, so I hold everyone up when they are ready to order. When movies and shows have
                   subtitles, they are not on the screen long enough for me to able to read them, so I either need
                   someone to read the captions to me or I have to pause the movie with every line so that I can
                   give myself adequate time to read each line, which really annoys other viewers . When I do not
)                  have someone to read the captions to me, or the option to pause so I can read, I completely
                   miss what is going on .

          •        When I need to read for complete understanding and learning, I mark up the text by drawing
                   and writing directly on the page with colored pens, pencils, and highlighters. When I am not
                   able to use colors to draw and write directly on the exam, such as for computerized exams
                   including USM LE Step 1, I must rely on a combination of other methods, though this is generally
                   less effective. The following are some examples of these methods :

                      o   Drawing and writing on-scrap paper, which is less effective because I have to go back
                          and forth between the text and scrap paper, causing me to more frequently lose my
                          place and make mistakes. It is also much less efficient because it takes much more time
                          to go back and forth between text and scrap paper than it does to mark directly on the
                          text, and I require more time to check for and correct my mistakes;

                      o   Reading and thinking aloud which allows me to hear the words as I read to better
                          comprehend and process the information and, importantly, to better recognize when I
                          have made sequencing errors. This method requires a private environment so as not to
                          interrupt other test-takers when I am talking;

                      o   Physically acting out or demonstrating what I am reading. This helps me to make sense
                          of the information I am reading but requires adequate time to work through the
                          information. Without a private room in which I can read aloud and move about the
                          room, I will be a hindrance and distraction to other test takers.

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  My learning disabilities also impair my ability to effectively and efficiently express information through writing
  due to the switching, merging, and tangling of letters, characters, and words, similar to that which I experience
I while reading. Because this is a request for accommodations for Step 1, I will not describe my difficulty with
  writing in as much detail, but it will be relevant when I apply for accommodations for Step 2 CS.

 Because reading and writing are such tedious and draining processes for me, I avoid both as much as possible.
 I was able to do this strategically for some prior standardized tests like the ACT and MCAT because the tests
 were designed so that many of the questions could be answered without reading the whole question . For the
 ACT, I was not able to read all of the questions and could not accurately demonstrate my knowledge.
 Additionally, due to the gue_ssing penalty, I had to leave the questions I was not able to read unanswered.
 However, because most of the questions required little reading to find the answers, I was able to answer
 enough questions to achieve an acceptable score. Likewise, for the MCAT, many of the questions could be
 answered without reading and gathering information from the passages, so I knew to answer passage-
 independent questions first, and then used any time left to try to read the passages with the most
 unanswered questions remaining . Being able t o skip much of the reading made in possible for me to correctly
 answer enough questions to achieve an acceptable score.

 The NBME and USM LE exams are different from the standardized exams I took before medical school. For
 these exams, I must read the entire prompt for each of the questions in order to gather all of the information
 necessary to correctly decide on an answer. This requires far more reading than either the ACT or the MCAT
 did . To have the same opportunity as the other students taking this exam to read and gather the necessary
 information from each prompt, I need the accommodations that I am requesting.

 In other non-testing situations, I can use videos, pictures, diagrams, interactive models, physical
 demonstrations, dictation, audio books, conversations, context clues, lectures, and many other sources in
 addition to, or even in place of, reading and writing. These sources format information in a way that I can
 understand, process, remember, and use more effectively and efficiently, making it easier for me to process,
 learn, study, communicate, and demonstrate information. When I am required to read or write without the
 option or opportunity to use these other formats, I require much more time and support than most people,
 and I am not able to understand, learn, study, memorize, or communicate information, nor demonstrate my
 knowledge and competency as effectively.

                                                        ***
 In addition to ADHD, learning disabilities, and migraines, I also had a deep vein thrombosis (DVT) the full
 length of my leg in 2016 and was later diagnosed with a clotting disorder (See letter from Jennifer Houtman,
 M .D.). The DVT damaged the circulation in my legs, causing post-thrombotic syndrome, meaning that sitting or
 standing still for long periods causes my legs to swell and become painful, which adds to my inability to focus.
 During my Step 1 attempt, having to sit still for long periods without a private environment to briefly move or
 walk around as necessary to maintain circulation during the exam blocks caused my leg to swell and become
 painful, further distracting me from the exam . During the breaks, I did not have enough time to sufficiently
 walk around to reduce the swelling and pain that had built up during the exam. Because of my clotting
 disorder and DVT, I must take frequent breaks throughout the day, and briefly during the exam blocks, to
 move and walk around in order to maintain adequate circulation in my legs, reduce swelling and pain, and
 decrease the risk of forming another DVT as a result of my clotting disorder.

 ADHD inhibits my ability to focus or maintain attention, especially for extended periods, and causes me to be
 very easily distracted by sounds, movement, and flashes of light, as well as my own thoughts and sensations,
 like hunger, restlessness, pain, and temperature. These distractions pull my focus away from my current
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thought or task. As a result, ADHD impairs my ability to do anything that requires sustained mental effort, such
as thinking, maintaining conversation, remembering obligations and assignments, getting organized, staying
on track, and completing tasks and projects.

I am unable to keep track of things because I set them down and forget where I put them, which is especially
problematic when I am outside my home, and with important things like my, wallet, keys, assignments, phone,
and legal documents. In addition to distractibility and inattention, ADHD also causes me to be impulsive, which
makes it difficult to wait my turn, especially in conversations. As a result, I unintentionally interrupt others, or
blurt out my thoughts before fully thinking them through or appropriately filtering them for the situation.

The restlessness, distractibility, and inability to focus caused by my ADHD exacerbate the effects of my
learning disabilities, further impairing my ability to scan, read, write, learn and process information.

My inattention, distractibility, and impulsivity make it very difficult to focus on just one idea at a time, causing
me to jump quickly from one thought to another, which makes it difficult to maintain my train of thought. This
frequently causes me to forget things I need to do, forget steps in a process, forget what someone just told
me, and forget what I am saying when I am talking. My inattention, distractibility, and impulsivity also cause
me to be unable to organize my thoughts without the adequate time or the tools I need. This is especially true
for things like telling stories or writing essays and clinical notes, which must be logically presented to others.

For exams, getting lost in my thought process causes me to lose track of what the question is really asking so
that I end up working only part way to or even past the answer the question was actually asking for. Many
times, on multiple choice exams, the answer that I come up with is often one of the incorrect options. Without
adequate time to reread the question and double check that the answer I select fits what the question is really
asking, I am unable to effectively answer questions even when I correctly understand the material.

Also due to my ADHD, I constantly need to be moving around or doing something. I have always had an
extremely difficult time sitting still, especially for extended periods. When I am expected or required to sit for
prolonged periods, I become very restless and start shifting around in my seat, fidgeting, and doodling on my
papers, which can be disruptive to others around me and has gotten me in trouble in school. Not being able to
sit still for extended periods interferes with my ability to study and work on assignments, maintain
professional behavior at work, and complete tasks or even watch shows to relax at home. Being able to take
frequent breaks with adequate time to rest my mind while stretching and walking around helps me manage
my restlessness and recharge so I have the energy focus and try to sit still when I get back to the task at hand.

I also need frequent breaks with adequate time to give my mind a rest from straining to focus and read. If I do
not have adequate opportunities or time to do this, I become overly fatigued, which exacerbates the
symptoms I experience related to my learning disorders and ADHD. Taking frequent breaks to give my mind a
chance to rest allows me to recover before the next block so that I have the energy I need to be able to focus,
read, process and remember information, and demonstrate my knowledge.

Additional break time will also help me with avoiding migraine symptoms. When I get migraines, the
associated blind spots affect my ability to see and therefore to read . The headache itself, along with the
associated nausea and hypersensitivity to light, sound, and temperature make it impossible for me to focus,
which interferes with my ability to read, think, process, and answer questions. Because my migraines are
triggered by excessive fatigue from trying to focus, read, and process the questions, having frequent breaks
with adequate time to recuperate between blocks reduces the likelihood that I will get a migraine during the
exam.


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During my first Step 1 attempt, the standard break time allowed did not provide enough time after basic
needs had been addressed for my mind to adequately recover between blocks. As a result, the effort needed
to focus on the exam and suppress urges to move over the course of the exam cause me to become fatigued,
triggering a migraine . I began experiencing aura symptoms during the 6th block, disrupting my focus and
interfering with my ability see, read, and think, and had to wait until the block was over to use the remaining
break time to retrieve and take my medications. Having to wait almost a full hour after experiencing aura
symptoms before I could take the abortive medications, the aura developed into a full migraine during the 7th
block, which further impaired my ability to concentrate, see, read, and think.

If I start experiencing migraine aura symptoms, I need to take medications right away to avoid getting a full
migraine . The process of retrieving and taking medications during my breaks takes away from the time I need
to manage my restlessness and get re-energized and refocused before ·the next block (See letter from
Jennifer Houtman, M.D.).

Additionally, during breaks, I also need adequate time to stretch, move, and walk around to reduce the
restlessness and leg swelling and pain I experience during the exam. Having adequate time to address these
symptoms helps me get refocused before starting next block.

The standard exam space is a problem in many ways . When in the room, examinees are required to remain
seated and to refrain from activities that might distract other test-takers, such as moving, tapping, or talking.
In order to abide by these rules and respect the other examinees in the shared testing space, I cannot use the
supportive tools and methods I require to effectively read or interpret the questions because I am not allowed
to read or think aloud or briefly step away from my computer in order to make sense of question.

Sharing the space with other test-takers also significantly increases the distractions I experience during my
exam, further impairing my ability to focus. If I cannot focus, I cannot read, process or recall information, nor
organize my thoughts effectively. As expected, this is what I experienced during my first Step 1 attempt.
Additionally, throughout several blocks, many people in the room were required to type for their exam and
were typing so furiously that my desk was shaking, which completely inhibited me from being able to focus on
my exam or read the questions. I could not understand the words on the screen and I could not think through
anything . The effort I spent trying to focus and read during this time caused me to fatigue even more,
contributing to the migraine I developed in the last two blocks.

Also, to avoid disrupting other test-takers in the standard shared testing space, I must continuously suppress
the urges to get up, move around, and fidget, which greatly increases the restlessness, stress, and fatigue I
experience during the exam. Additionally, while sharing a testing space, I cannot adequately manage the
restlessness, swelling or pain caused by sitting for long periods because I am not allowed to briefly stand up to
move, stretch, or walk around.

Additional break time, and a private room, will be helpful, but not enough, unless I also have extended testing
time. As I have explained, I am easily distractible and have learning difficulties that cause me to be a very slow
reader, with slow processing speed and inefficient thinking, compared to the average person. I require
additional time and tools to be able to untangle and process words, effectively interpret and understand what
I am reading, to organize my thoughts and information, and get back on track after distractions.

During my first Step 1 attempt, like my previous unaccommodated testing experiences, I did not have enough
time to read all of the questions and, in the last minute of each block, was forced to blindly select answer
choices for a significant number of un-read questions. Additionally, because I was rushed to get through as
many questions as possible during the allowed time for each block, I did not have enough time to thoroughly

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  analyze and process many of the questions, or to organize my thoughts before having to select an answer.
  Since I cannot mark directly on the exam, I more frequently lose my place, misinterpret the question, and
  forget or misunderstand what the question is really asking. For example, If I misread a question as 'which thing
  is expected to DEcrease due to a disease process,' when the question is actually asking 'which thing is
  expected to INcrease,' I will get the question wrong even though I understand how the disease process works.
  To be able to effectively read and understand the questions, I need to have sufficient time to untangle and
  process the words, to use supportive methods, and to re-read questions. When I am reading and thinking
  aloud, I need to have sufficient time and a private environment so that I am not a disruption and hindrance to
  other test-takers.

  Double exam time gives me the opportunity to use the methods and supports I require to effectively read
  through each question while compensating for effects of my learning disabilities. I need this time to ensure I
  have the opportunity to read, understand, and gather information from each question; to apply my knowledge
  and preparation to process the information and decide on an answer choice; and to distinguish between
  answer choices so I can select the appropriate answer choice for my intended answer.

  Double exam time also gives me adequate time to get refocused after getting distracted and to manage the
  additional symptoms caused by ADHD and post-thrombotic syndrome. Without this t ime, these symptoms
  interfere with my ability to focus, and taking time to appropriately address them takes time away from the
  time I need to read and process the questions.

                                                         ***
  My learning disabilities, ADHD and migraines affect all aspects of my life, and I have been struggling with them
) since I was little. Since beginning school, I have always had a lot of trouble sitting still and focusing, wh ich
  interferes with my ability to pay attention in class, study, and co mplete homework, class assignments, papers,
  and exams, especially under timed conditions. My distractibility, lack of focus, and difficulty with letter
  reversals and tangled words causes me to make a lot of mistakes that would have been avoidable for most
  people . This has always been extremely frustrating because I would understand the material and would put a
  lot of effort into my work but would still miss tons of points for "careless " mistakes. Additionally, it has always
  taken me significantly more time and effort than everyone else to read, write, and process the information, so
  that I rarely have time or energy for anything else. In time-limited situations, like exams, I almost never have
  the opportunity to completely and accurately demonstrate my knowledge or hard work because I do not have
  enough time or access to the supports I need to adequately read, process, and answer each of the questions.

 Growing up, my friends would always get mad at me for not being able to hang out in the evenings because
 they did not believe that I was still doing homework when they had al ready been done for hours. They always
 seemed to have so much free time when I was constantly up past midnight trying to finish my homework. In
 middle and high school, my mom would get frustrated when I was trying to write a paper because it would
 take me FOREVER and we only had one computer in the house, and she would always have to help me proof-
 read my work, many times at three or four in the morning. Because I am such a slow reader, whenever I had
 to read something on line, it would take me so long that I would get yelled at for tying up the phone line (we
 had dial-up service at that time).

 Prior to college, my parents and teachers never pursued evaluation for learning disabilities or ADHD because I
 worked hard and was able to mask my mistakes at school. After using my energy to concentrate on these
 tasks, I was always mentally exhausted at the end of the day. At hofDe, having two brothers who have autism
 and multiple other special needs created an inaccurate comparative illusion that I could pay attention, sit still,


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  read, process, study, organize, and write normally. But the reality was that I was spending a very abnormal
  and excessive amount oftime and effort to perform or work around these functions every day.

 In 2nd grade, my teacher did notice that I still had trouble with letter and number "reversals" and
 distinguishing between similar-appearing characters and words when reading and writing. She began
 providing informal accommodations which included putting me at an isolated desk in a cubicle in the corner of
 the room to help reduce distractions, gave me extra time to complete classwork, and provided an alphabet
 chart to help me keep my letters straight for reading, writing, and spelling assignments.

 After I was trialed on glasses, which did not help, I was referred to a therapeutic optometrist, Dr. Mary Alice
 Tanguay, to be evaluated for my "reversals." She identified my "substantial deficits in the areas of visual-
 spatial relationships and visual discrimination." In 1998, Dr. Tanguay provided visual perceptual skills training.
 This training did not eliminate my difficulty with character reversals, tangling, identification or discrimination,
 nor with spelling or reading speed. The training only helped me to develop some skills that I still use to work
 around the effects caused by my now formally diagnosed learning disabilities, which accounts for the
 improvements in the measured visual perceptual skills Dr. Tanguay mentions in her 2000 summary letter.
 Importantly, Dr. Tanguay also noted that even with these improved skills, I would likely always be a slow
 reader. Other than this visual testing, I was not evaluated for learning disabilities until 2009, and so did not
 receive any other formal aid or accommodation.

  The effort required for me to focus and to suppress impulses so that I could sit still, pay attention in class, and
  avoid interrupting people has caused me to get frequent headaches since I started going to school. In third
  grade, when reading and writing became more prevalent, the added effort from trying to read and write for
  prolonged periods in addition to concentrating and sitting still started causing me to have daily migraines.
) Because the associated blind spots, nausea, and hypersensitivity to light, sound and temperature inhibited my
  ability to participate in school, I was given prophylactic treatment fo r a_bout a year until the frequency of
  migraines decreased. When I started medical ·school, the increased time and effort required for me to meet
  expectations and complete requirements caused me to again have daily migraines requiring prophylactic
  treatment.

 Throughout my academic career, I have required informal accommodations in order to complete and pass
 assignments and exams so that I could advance through school. Timed tests have been my downfall in all of
 my classes, because I do not have time to read and process the questions, or accurately demonstrate my
 knowledge and preparation, which makes me look unprepared and feel incredibly stupid. I distinctly
 remember a timed, multiple-choice test in 5th grade, on which we had to get at least 30 out of 60 questions
 right. All but one other person finished early. I was the only person to answer less than 30 questions. I had
 only been able to get through 29 of them and was working on the 30th when time ran out. I went home crying
 because I felt stupid and slow. I told my mom that I knew how to do all the questions, but I just did not have
 enough time. Eventually, they made informal accommodations for me by grading the work I had shown for the
 30th question, which was correct ~nd allowed me to achieve the minimum passing score . Similar situations
 have occurred all throughout my schooling, even several times since I began receiving formal accommodations
 in college.

 My learning disabilities have caused me to struggle with words, making me a slow reader and writer. This is
 especially problematic in time-limited situations. Since the beginning of my academic career, I have almost
 never been able to finish assigned readings for any class by the time they were due, even when I would stay
 up til 3 or 4 in the morning trying to finish. If I wasn't up late trying to read, I was up late trying to write an
 essay. Many times, I had to pull several all-nighters in a row to get a paper done in time. For anything written,
 not just exams or papers, the process of writing is pure agony for me. Even though I know I can turn out a
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  decent final product, the struggle to get there - keeping track of and organizing my thoughts, translating them
  into words, finding the right words to convey the intended meaning, trying to get it all typed out before I
  forget how I worded it, and then working to get the jumbled mess of words on the paper into a logical,
  cohesive order, all while on constant lookout for dyslexic errors unnoticed by spell-check- is extremely
  frustrating and draining, and many times triggers migraines. For these reasons, I have always loathed reading
  and writing; they are agonizing battles of trying to decipher words and express and organize thoughts on a
  page, so I avoid doing either when possible.

                                                         *   *   *
  During my undergraduate studies at Ohio State University, the demands of school, work and life finally began
  outweighing my ability to self-accommodate, requiring more time and energy than I had. I was having even
  more trouble focusing throughout the day. I would repeatedly misplace things and lose track of assignments. I
  was no longer able to catch and correct the numerous errors I made - like circling "b" instead of "d"; missing
  the crucial "not" or "least likely" and ending up with the exact opposite answer; or altogether
  misunderstanding a question because I mixed up some of the words. I was even having trouble speaking,
  mixing the beginnings or ends of neighboring words, or just not being able to find the right words at all, which
  happens much more often when I am fatigued. For many of_the tasks, I knew the steps needed to accomplish
  each task and that I was capable of doing each step, but never had enough time to do them, even if I planned
  ahead. Despite making a valiant effort, I could not organize everything going on and would often miss a crucial
  step. It took so much time to do these things that I didn't have any time left to spend on other important
  tasks, like paying bills, cooking, cleaning, or activities to maintain my physical, emotional and social well-being.

  In 2009, at the suggestion of a professor, I sought help from my primary care physician, Dr. Allen Smiy, who
) diagnosed me with ADD, inattentive type, for which he began medical management. Before this, I did not
  associate my restlessness and constant need to be moving with being hyperactive- I just thought I was active.
  Dr. Smiy also clinically diagnosed me with dyslexia but did not recommend further work-up because it would
  not have changed the treatment.

  A few months later, I registered with OSU's Office of Disability Services (ODS) and began receiving formal
  accommodations in 2010, which included the following:

         •       Priority class scheduling

         •       Access to an assigned ODS advisor

         •       50% additional testing time, a distraction-reduced testing space, and ear plugs for all quizzes
                 and tests

         •       Any supportive materials that were recommended or approved by my professors, such as extra
                 scrap paper, colored pencils, highlighters, chemistry model kit, or a note sheet.

  Once I started receiving accommodations, I was able to perform better on my exams because I had more time
  to read, write, and work through questions. Though, even with the extra time and reduced distractions, I still
  had to rush to try to finish the tests. On exams with essays or questions with lengthy prompts, which require a
  lot of writing and reading, I still ran out of time before I could finish.

J In medical school, I received
                             more accommodations to meet the increased curricular demands. Most notably, I
  was granted 100% additional testing time, unlimited free printing, and Kurzweil 3000 text-to-speech software.

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   I have had to adjust my requests, or make new ones, as I've encountered new situations in the classroom and
   the clinic. For example, during my 2nd year, I struggled to complete simple subjective/objective encounter
   notes for our OSCE assessments within the 10-minute limit, so was granted 50% additional time for the note-
   writing. When we started doing Step 2 CS-style encounters and notes for our clerkship OSCEs, I struggled to
   complete the added writing requirements in 15 minutes, so was granted 20 minutes, with an additional 2
   minutes at the beginning of the encounter so that I had enough time to read the encounter prompt and
   instructions.

   The effects that ADHD and learning disabilities have on my life are most quantifiable when assessing my
   academic performance, but they do not just affect school; for me, they are a 24/7 thing. Growing up, I
   constantly got in trouble for "being lazy" or "ignoring" directions - failing to do simple things like hanging my
   jacket in the closet rather than on the back of a kitchen chair, pushing my chair in when I got up from the
   table, making my bed, or putting things completely away- because no matter how many times my mom
   asked or what I tried to make myself remember, I always got distracted halfway through, forgot what I was
   doing and moved on to something else.

   Since being diagnosed in 2009, I have gotten better at recognizing my hyperactive and inattentive trend, which
   has expanded and become more apparent as I have taken on more responsibility as an adult and medical
   student. I have learned the hard way that it is necessary for me to spend more effort to create reminders,
   backup reminders, and backup-backup rem inders to avoid the negative domino-effects from making repetitive
   and perpetual "careless" mistakes, such as : forgetting appointments, forgetting to bring things that I need (like
   my wallet, phone, or paperwork), and losing track oftime. However, even with the extra efforts to manage
   these effects, they are still apparent. For example, I still struggle with impulsively blurting things out without
   thinking, sometimes interrupting or offending others, and must actively try not to. I still have difficulty getting
 ) and staying organized, which is obvious with my cluttered apartment. I still mis-schedule and forget social,
   work, and academic obligations. I start tasks and projects, get distracted, and leave them unfinished. For
   example, I frequently forget that I started laundry and will then leave wet clothes in the washer for days
   before realizing it.

   Already struggling to manage my life and having to surrender much more time and effort to studying and
   completing assignments, the learning disabilities intrinsically add a disproportionate number of hoops for me
   to jump through, such as:

          •       Remembering to request a new prescription every 30 days so that I can fill it before I run out.

          •       Taking off from school so that I can have medication checks every three to six months .

          •       Requesting academic accommodations, which is never a simple process - I have to track down
                  old documentation and get new evaluations, and torture myself with writing support for each
                  request.

          •       Keeping track of documentation and paying bills for each of these extra things.

  These things may seem simple, but the pure nature of the disabilities I struggle with makes managing just one
  of these tasks, not to mention ALL of them, more difficult and time-consuming than for the average person.
  Every minute I spend keeping my disability affairs in order is time taken away from family, friends, recreational
• activities, self-maintenance, sleep and studying.



                                                          -9 -




                                                                                                        NBME00231



                                                   Appx1141
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      June 6, 2018                                  USMLE# 5-366-431-4                                   Jessica Ramsay

      For me, managing my life is like having a large bag of balls dropped from the ceiling, all at once, and being
      expected to not let a single one hit the ground . It is impossible without help. Finally being diagnosed and
      receiving treatment was like being given a shopping cart to catch more balls in, and receiving academic
      accommodations, a second shopping cart. Sometimes my friends and family help out - each catching a few
      more - by reminding me about upcoming deadlines and being patient and understanding when I jump from
      one thought to the next without finishing the previous one, or when I have to ask what we were just talking
      about after losing track mid-sentence.

      I wish I did not need more time or accommodations, just like I wish I did not have to sacrifice the things I enjoy
      to make time for things I dread, but I do. In the context of the USM LE Step exams, without appropriate
      accommodations, I will not have the opportunity to get through as many questions or as much content as
      everyone else taking the tests, and I will not be able to accurately demonstrate all that I have learned thus far.




      Sincerely,


         f~ ~,,~\441'
      Jessica Ramsay, 06/06/18




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                                                     Appx1142
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                                                                                                                   Lawrence D. Berger*
                                                                                                                               Of Counsel
                                                                                                                     larry@rcglawoffices. com
                                                                                                                     direct dial: 856.354.002 I



                                                               June 7, 2018


                          Disability Services
                          National Board of Medical Examiners
                          3750 Market Street
                          Philadelphia, PA 19 I 04-3102

                                 Re:    Application of Jessica Ramsay
                                        USMLE Step 1
                                        USMLE ID#: S-366-431-4

                          Dear Disability Services:

                                  I write in support of the application of Jessica Ramsay for testing accommodations for the
                         USMLE Step 1 examination. Although this is a new application, and not an appeal ofNBME's
                         prior decision on Ms. Ramsay's 2017 application, Ms. Ramsay has requested that I address in
                         this letter the manner in which her current application responds to the reasons given in
                         Dr. Goldberg's March I 0, 2017 letter for denying the prior application. Ms. Ramsay has also
                         requested that I discuss the requirements of the Americans With Disabilities Act as they relate to
                         and support her application.

                                 As you know, after NBME denied the prior application, Ms. Ramsay sat for the
                         examination without accommodations on July 20, 2017, and received a failing score of 191 .
                         Ms. Ramsay continues to believe that she needs appropriate testing accommodations in order to
                         have a fair and equal opportunity to demonstrate her knowledge on the Step I examination, and
                         she has accordingly taken several additional steps:

                                 •      First, Ms. Ramsay has obtained additional testing and evaluation from Alan
                                        Lewandowski, Ph.D., F ACPN, a Board-certified Neuropsycbologist.
                                        Dr. Lewandowski' s report dated December 7, 2017, is provided with
                                        Ms. Ramsay's new application, and confirms a diagnosis of"Attention deficit
                                        disorder, hyperactive," and "Leaming disability, nonverbal." Dr. Lewandowski
                                        has recommended 100% extended testing time (double time), and additional break




                                                                                                                               NBME00147



                                                             Appx1143
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                  time; see Jetter dated May 23, 2018, also provided with the application.
                  Dr. Lewandowski's report is discussed :further below.

           •      Second, Ms. Ramsay is also submitting a letter from Bruce Ruekberg, M .D., her
                  treating psychiatrist. Dr. Ruekberg is writing on the basis of his own direct
                  clinical observation, Ms. Ramsay's current symptoms, clinical history and
                  childhood history, to independently confirm the diagnoses of ADHD and learning
                  disabilities in reading and written expression. Dr. Ruekberg's letter is discussed
                  further below.

           •      Third, Ms. Ramsay has also obtained a letter from her primary physician,
                  Dr. Jennifer Houtman, who is also her medical school mentor and who was the
                  instructor for Ms. Ramsay's Clinical Skills course. Dr. Houtman provides
                  comments on the physical disabilities for which she is treating Ms. Ramsay and
                  which were not described in Ms. Ramsay's previous request for accommodations,
                  namely Migraines, and Clotting Disorder with recent Deep Venous Thrombosis.
                  Dr. Houtman also provides comments about her observations as a medical school
                  mentor and instructor for Ms. Ramsay which are pertinent to the request for
                  testing accommodations .

           •      Fourth, Ms. Ramsay has also updated her Personal Statement.

          In response to the specific comments in Dr. Goldberg' s March 10, 2017 letter:

           1.     Ms. Ramsay Has Obtained New Testing And A New Evaluation From
                  Dr. Lewandowski Which Thoroughly Documents His Diagnoses of Attention
                  Deficit Disorder, Hyperactive, And Learning Disability, Nonverbal.

           NBME' s prior letter asserted that "the brief evaluation and report" of a prior evaluator
   "do not sufficiently support the diagnostic conclusions ." Ms. Ramsay has now obtained a
   thorough evaluation by Dr. Alan Lewandowski who has confirmed the diagnoses of Attention
   Deficit Disorder, Hyperactive," and "Leaming disability, nonverbal (abnormal scanning and
   processing speed)." His report also shows specific ways in which these disabilities affect
   Ms. Ramsay's performance on the Step 1 examination, including the following:

          •       Ms. Ramsay's processing speed was "borderline impaired" and fell more than
                  1 standard deviation below the mean;




                                                                                             NBME00148



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            •       Sequencing: simple, Sequencing: complex, Attention: complex (non-language),
                    Vigilance difficulties, Visual recall: long delay; and Inefficient thinking, were all
                    found to be abnormal;

            •      Health concerns and depression are abnormal, which "exacerbate the above-noted
                   existing limitations (thought processes), and have subsequent implications for
                   learning new information and responding to assessments under timed conditions."
                   Lewandowski (December 7, 2017) at 4. As discussed below in connection with
                   the separate report of Dr. Ruekberg, these health concerns and depression are the
                   partly the result of Ms. Ramsay's efforts to manage her life-long struggle with
                   ADHD and learning disabilities, and the delay in her medical school education
                   resulting from the barrier of taking USMLE Step 1 without accommodations .

            •      Accordingly, Dr. Lewandowski recommended "100% additional testing time
                   (double time), plus additional break time" for the Step I examination. See
                   Dr. Lewandowski's May 23 , 2018 letter.

          Please review Dr. Lewandowski's complete report for further analysis, and Ms. Ramsay's
   Personal Statement, as well as the letters from Drs. Ruekberg and Houtman, for an explanation
   of how these issues affect her performance on USMLE Step 1 and similar examinations.

            2.     Ms. Ramsay's Updated Personal Statement As Well As Dr. Ruekberg's
                   Report Provide Substantial Documentation For Ms. Ramsay's Lifelong
                   History of ADHD and Learning Disability.

           NBME's prior letter asserted that "the documents [Ms. Ramsay] provided do not
   demonstrate a record of chronic and pervasive problems with inattention, impulsivity, behavioral
   regulation, or distractibility that has substantially impaired [her] functioning during [her]
   development or currently." NBME's letter also commented.that ADHD "begins in childhood,"
   "must be present in inore than one setting (e.g., home and school)," and "must be documented
   beyond self-report."

           NBME ' s letter did not acknowledge that ADHD is often first diagnosed in adults, but this
   is well established, and has been authoritatively confirmed in DSM-5 . See "Attention-Deficit/
   Hyperactivity Disorder (ADHD)," Centers for Disease Control and Prevention, Department of
   Health & Human Services. 1


       1   Found on the Internet at https://www.cdc.gov/ncbddd/adhd/diagnosis.html.




                                                                                               NBME00149



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               In her new application, Ms. Ramsay has revised her Personal Statement to provide
       additional information, and Dr. Ruekberg has taken detailed histories, including interviews and
       completion of Adult ADHD symptom checklists by Ms. Ramsay' s mother and significant other:
       "[A]ll strongly support Jessica's diagnosis of ADHD, combined type (ICD-10 F90 .2) with
       continuation of symptoms to the present time, as well as her need for accommodation."
       Ruekberg letter at 7. ADHD can be diagnosed in adults, when inattentive or hyperactive-
       impulsive symptoms were present before 12 years of age. Such symptoms are corroborated in
       Ms . Ramsay's case by the history taken by Dr. Ruekberg from Ms . Ramsay's mother,2 and by
       the informal accommodations provided by teachers as early as 2d grade as described both in
       Ms. Ramsay' s Personal Statement, the history given by her mother and by Dr. Ruekberg. 3
       Dr. Ruekberg also confirms, on the basis of his own observations, the diagnosis of "Specific
       learning disorder of' abnormal scanning and processing speed' (ICD-10 F81 .9) with impairments
       in reading (DSM-5 315 .00; ICD-10 F81.0) and written expression (DSM-5 315.2; ICD-10
       F81.81)." Ruekberg letter, id.

              Please review Dr. Ruekberg's complete letter for further analysis.
)             3.      NBME Should Defer To The Recommendations Of Drs. Lewandowski And
                      Ruekberg Who Have Evaluated Ms. Ramsay Face-to-Face.

                The Department of Justice, Civil Rights Division, has stated in its publication "Testing
       Accommodations," found on the Internet at www.ada.gov/regs2014/testing accommoda-
       tions. html , that testing entities like NBME "should defer to documentation from a qualified

           2 See Ruekberg letter at 2-3, "Childhood history obtained from Jessica's mother is

       significant for symptoms of hyperactivity, restlessness, inattention, and distractibility from a
       young age and affecting several domains oflife, consistent with Jessica's diagnosis of ADHD,
       combined type" and 3, "[a]t school, beginning in Kindergarten, Jessica spent much of her energy
       suppressing the continuous urge to move and trying to pay attention so that she could learn and
       avoid getting in trouble. Jessica struggled to sit still during class, 'always moving or doing
       something' like fidgeting or doodling on her papers, and often asked to go to the restroom so she
       could walk around."
            3 See Ruekberg letter at 5, "Jessica began receiving informal accommodations (extra time,

       use of an alphabet board, and a distraction-reduced space) beginning in second grade for
       inattention, distractibility, and letter reversals. On numerous occasions throughout the remainder
       of her academic career prior to medical school, Jessica's teachers provided various forms of
       informal accommodations (e.g. extra time, quiet environment, altered grading schemes, redo
       opportunities, etc.) .. .. " See also Personal Statement at 6.




                                                                                                NBME00150



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       professional who has made an individualized assessment of the candidate that supports the need
       for the required testing accommodations." In this case, therefore, NBME should defer to the
       findings ofDrs . Lewandowski and Ruekberg.

              As the Department of Justice explained:

                         •     This is especially important for individuals with learning
                               disabilities because face-to-face interaction is a critical component
                               of an accurate evaluation, diagnosis, and determination of
                               appropriate testing accommodations.

       "Testing Accommodations," supra. For the reasons stated by the Department of Justice, NBME
       should give considerable weight to the findings of by Drs. Lewandowski and Ruekberg -
       qualified professionals who evaluated Ms. Ramsay face-to-face - and grant the accommodations
       that they have recommended.

              4.      NBME Must Consider Ms. Ramsay's Application Without Regard To Self-
)                     Accommodations That She Used For Prior Tests Which Are Not As Reading-
                      Intensive As The USMLE Step Examinations.

              A history of self-accommodating does not demonstrate that extra time is not needed.
       Indeed, the ADA was specifically amended in 2008 to make this clear. The ADA Amendments
       Act of 2008, 42 U.S .C. § 12102(4)(E)(i), provides that "The determination of whether an
       impairment substantially limits a major life activity shall be made without regard to the
       ameliorative effects of mitigating measures such as ... learned behavioral or adaptive
       neurological modifications."

               Moreover, a prior history of academic success under different conditions does not mean
       that accommodations (or greater accommodations) are not needed when the conditions are
       different. As the Department of Justice, Civil Rights Division, has stated in its publication
       "Testing Accommodations," found on the Internet at www.ada. gov/ regs2014/testing
       accommodati ans.html :

                     A person with a history of academic success may still be a person with
                     a disability who is entitled to testing accommodations under the ADA.
                     A history of academic success does not mean that a person does not have a
                     disability that requires testing accommoqations . For example, someone
                     with a learning disability may achieve a high level of academic success,
                     but may nevertheless be substantially limited in one or more of the major
                     life activities ofreading, writing, speaking, or learning, because of the




                                                                                                 NBME00151



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                  additional time or effort he or she must spend to read, write, speak, or
                  learn compared to most people in the general population.

   "Testing Accommodations," supra (boldface in original). The Department of Justice specifically
   rejected language that would have elevated the importance of scores on prior examinations. 81
   Fed. Register 53237 (Aug. 11, 2016).

          USMLE Step 1 is significantly different from prior tests which Ms. Ramsay took under
   standard conditions. As pointed out in Ms. Ramsay's Personal Statement:

                  Because reading and writing are such tedious and draining processes for
                  me, I avoid both as much as possible. I was able to do this strategically for
                  some prior standardized tests like the ACT and MCAT because the tests
                  \Vere designed so that many of the questions could be answered without
                  reading the whole question ....

                  The NBME and USMLE exams are different from the standardized exams
                  I took before medical school. For these exams, I must read the entire
                  prompt for each of the questions in order to gather all of the information
                  necessary to correctly decide on an answer. This requires far more reading
                  than either the ACT or the MCAT did. To have the same opportunity as
                  the other students taking this exam to read and gather the necessary
                  information from each prompt, I need the accommodations that I am
                  requesting.

   Personal Statement at 3, and see also Dr. Ruekberg's report at 4-5. Therefore, the fact that
   Ms. Ramsay took prior tests under standard conditions is not dispositive of her need for
   accommodations for Step 1.

          5.      Ms. Ramsay Is Also Presenting Additional Information In Her Personal
                  Statement And From Dr. Houtman Concerning Physical Disabilities, Namely
                  Migraines and Clotting Disorder.

            In her prior request for accommodations, Ms. Ramsay provided information about
   ADHD and Leaming disabilities, as assessed by the prior evaluator. That information has been
   updated and is discussed above. In this request, Ms. Ramsay is also providing information about
   two physical disabilities, Migraines and Clotting Disorder, that was not included in her prior
   request. These conditions also contribute to Ms. Ramsay's need for the testing accommodations
   that she is now requesting. As described in the Personal Statement and in Dr. Houtrnan's letter:
   (a) the time pressure for the Step 1 examination may lead to Migraine symptoms during the




                                                                                             NBME00152



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           examination, as they did when Ms. Ramsay attempted Step I without accommodations in 2017;
           (b) Ms. Ramsay is also susceptible to symptoms of Clotting Disorder unless she has an
           opportunity to be physically active from time to time, during the examination, which requires
           additional break time and a private room. See Dr. Houtman's letter at 4, and Ms. Ramsay's
           Personal Statement at 3-5 and 7. As noted, Ms. Ramsay experienced Migraine symptoms when
           she took Step 1 without accommodations in 2017. Personal Statement at 4-5.

                   Dr. Houtman, in her other role as a medical school mentor and instructor, also provides
           several specific examples of situations in medical school where testing accommodations -
           similar to those that Ms. Ramsay is requesting from NBME - have made it possible for
           Ms. Ramsay to better demonstrate her knowledge and ability. Ms. Ramsay should receive the
           same accommodations in order to have a fair opportunity to demonstrate her knowledge and
           ability on the Step 1 examination.

                  6.      Ms. Ramsay Needs All Three Of The Accommodations That She Is
                          Requesting, Because These Accommodations Work Together To Enable Her
                          To Have Fair Access To The Examination.
    )
                   The new and additional information that Ms. Ramsay is submitting shows that she needs
           all three of the accommodations that she is requesting. Extended testing time is necessary
           because of her ADHD and slow reading speed, and also to avoid triggering Migraine and
           Clotting Disorder symptoms as occurred during her 2017 attempt to sit for the Step 1
           examination without accommodations. Extended testing time is also necessary because her self-
           accommodations, including reading aloud and moving around, require additional time.
           However, extended testing time will not be a sufficient accommodation unless additional break
           time and a private testing room are also provided. Likewise, additional break time or a private
           testing room will not be a sufficient accommodation unless extended testing time is also
           provided. Additional break time reduces the risk of Migraine and Clotting Disorder symptoms,
           and makes it possible for Ms. Ramsay to take medication, and also to regain focus, during the
           examination. A private testing room makes it possible for Ms. Ramsay to speak aloud and move
           around. Additional break time, and a private testing room, are neces~ary, but not sufficient
           without extended testing time, because they do require additional time.

                                                          ***




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               Please consider this additional infonnation in reviewing Ms. Ramsay's application.        l
                                                                                                         +-




                                              ~     Lawrence D. Berger




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                                                                     Neurocognilive exam 2017-
     Neuropsychology .4\ssociates
                                                          Neuropsycho/ogy - Psychiatry - Clinical Psychology
)                                               4328 West Michigan, Kalamazoo, Michigan 49006 · 375-2222 · Fax: 375-8292



    Alan Lewandowski, PHO , FACPN                  Morris Edwards, PHO                                                  Kevin Kunzer, MD
    Board Certified in Neuropsychology             Certified in Biofeedback                                             Psychiatry
    Helene Pilnick, PHO                            Michael Lyons , PHO                                                  Bangalore Ramesh, MD
    Pediatric Neuropsychology                      Clinical Psychology                                                  Psychiatry
    Jolynn Cole, MA                                Fenimore Johnson, PHO                                                Katelyn Briggs, MA
    Psychotherapist                                Applied Behavior Analysis                                            Psychotherapist



                                         NEUROCOGNITIVE EXAMINATION

    Name:                       Jessica Ramsay
    DOB:                        August 29, 1990
    Procedure:                  Neurocognitive Study
    Review date:                December 7, 2017
    Referred by:                Self
    Performed by:               A. Lewandowski, Ph . D., FACPN

    Reason for Exam Twenty-seven-year-old right-handed female with 19 years
                    education (3 years med ical school) presents for comprehensive
                    neurocognitive diagnostic recheck pursuant to attention and
                    learning difficulties with undetermined etiology and uncertain
                    severity. The primary care physician is Dr. Jennifer Houtman. The
)                   preexisting neurological history is unremarkable for CNS disease,
                    insult or injury as a child, adolescent or young adult. Neuroimaging
                    has been completed with MRI and findings are reported to be WNL.
                    The general medical history with possible implications for cognitive
                    dysfunction is remarkable for anemia and daily migraines. The
                    psychological history is noted for some type of cognitive testing as
                    a 3 or 4-year-old child and more recently, a consultation three years
                    previously with a counselor who supervised the administration of an
                    abbreviated IQ-achievement test (records not available for review).
                    Current medications include Adderall , Ambien, Tramadol, Xanax
                    and Buspar.

    Technique                   Comprehensive neurocognitive examination with HRNB and allied
                                procedures with ·study date on November 9, 2017. Findings and
                                report are based on test results integrated with additional data
                                including records, behavioral observations of the patient and all
                                other available relevant clinical data. Additional time spent with
                                report analysis, interpretation and integration of test data and
                                results completed on November 16, 2017.

    Findings                    See attached graphs and summary table below for raw data.




                                                                                                                                      NBME00210



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 Jessica Ramsay
 Page 2

 Report
                                       Bold indicates low normal/abnormal findings

                   Functional Area                   Range           Findings                  Guideline

   Cl     Verbal Comprehension                      100 +/- 15          125           Superior
   C
  ·2      Perceptual Reasoning                      100 +/- 15          13.1          Very superior
   0
  :.:;
   (.I
   C      Working Memory                            100+/-15            111           High average
   :I
  u..     Processing Speed                          100 +/- 15           79           Borderline impaired
  co:I
  -( .I
  ..!!!
          General abilities (GAi)                   100+/-15            132           Very superior


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  "ii
  .E
          Cognitive efficiency (CPI)
          Overall Intellect (FSIQ)
                                                    100 +/- 15
                                                    100 +/- 15
                                                                         94

                                                                        117
                                                                                      Average
                                                                                      High average

   u      Reading                                   100+/-15            114           High average
  "i§
  QI
 "O       Spelling                                  100 +/-15           109           Average
   IU
  (.I
 <        Written arithmetic                        100 +/- 15          110           High average

          Sensory speed: dominant                  50T +/- 10            50           Normal
          Sensory speed : non-dominant             50T +/- 10           47            Normal
 iii                                               50T +/- 10
  (.I     Motor speed : dominant                                        50            Normal
 'ai
  0                                                50T +/- 10
 0        Motor speed : non-dominant                                    48            Normal
 ..c
  (.I
  >,      Psychomotor: bilateral abilities         50T +/- 10           47            Normal
  Ill

  .
  Q.
  0
  ::,
          Psychomotor: response speed

          Sequencing: simple
                                                   50T +/-10

                                                   50T +/- 10
                                                                        55            Normal
  QI                                                                    35            Abnormal
 z
          Sequencing: complex                      50T +/-10            27            Abnormal
          Executive reasoning                      50T +/- 10           60            Normal
          Attention : complex (language)           50T +/- 10           60            Normal
          Attention: complex (non-language)        50T +/- 10           35            Abnormal
  C
  0       Inattentiveness                          50T +/- 10
 :.:;                                                            50/46/51 /49/52/49   Normal
  C
  QI
 ~        lmpu lsivity                             50T +/- 10        49/51/48         Normal
 <
          Sustained difficulties                   50T +/- 10           47            Normal
          Vigilance difficulties                   50T +/- 10           69            Abnormal (mild)

          Verbal recall: immediate                 50T +/- 10           66            Normal
  ~                                                50T +/- 10
  0       Verbal recall: short and long delay                          65/65          Normal
 E
  QI
          Visual recall: immediate                 50T +/- 10           61            Normal
 :ii
          Visual recall: short and long delay      50T +/-10           58/38          Normal/Abnormal




                                                                                                           NBME00211



                                                Appx1152
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      Jessica Ramsay
      Page 3

              Health concerns                       50T +/-10       64         Abnormal: mild
      -;      Anxiety: generalized                  SOT+/- 10       47          Normal
       "
      ·a,
       0      Anxiety : focused                     SOT+/- 10       51          Normal
      0
      .=      Depression                            50T +/-10       67         Abnormal: moderate
       "
       >,
       rn
      a..     Acute stress                          SOT+/- 10       41          Normal

              Inefficient thinking                  50T +/- 10      73         Abnormal: significant


     Summary

            1. Abnormal intellectual study
                  a. Intellectual ability is in the Ve,y Superior range (981h percentile) compared
                     to same-aged peers .
                  b. Intellectual efficiency is only Average (341h percentile) compared to same-
                     aged peers , hence reflects a statistically significant weakness in the
                     intellectual study.
                  c. The profile suggests equal bilateral aptitude on tasks known to be
                     sensitive to both the left and right cerebral hemispheres.
                  d. The pattern reflects a statistically significant and clinically relevant
                     weakness on measures contributing to cerebral response speed, with
                     subsequent implications for learning new information and responding to
                     assessmeRts under timed conditions.
                 e. The IQ pattern is consistent with the patient's/parent's report of premorbid
                     functioning , suggesting a preexisting developmental delay.

            2. Normal achievement study. Reading, spelling and arithmetic are normal to above
               normal and consistent with past education .

            3. Borderline abnormal neurocognitive study.
                  a. Abnormal performance is observed on measures of sequencing/cognitive
                     shifting, susta ined complex attention, and quickness of thinking (as noted
                     above) affecting mental flexibility, cognitive efficiency and inattention with
                     subsequent implications for learning new information and responding to
                     assessments under timed conditions.
                  b. Performance is otherwise consistent with or supersedes age-, gender-,
                     and education-weighed norms.




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                                                                                                NBME00212



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     Jessica Ramsay
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       4. Abnormal psychological study
             a. Elevations are observed on clinical scales associated with ill health and
                depression.
             b. Subscale analysis reflects significant focus and worry about personal
                health, feelings of failure, indecisiveness and difficulties with concentration
                (cognitive inefficiency), physiological symptoms associated with
                depression (low energy, sleep/appetite disturbance, and difficulties with
                concentration, decision-making, memory/learning) .
             c. Emotional difficulties exacerbate the above-noted existing limitations
                (thought processes), and have subsequent implications for learning new
                information and responding to assessments under timed conditions.

    Clinical Impression

       1. By history:

              a. Attention deficit disorder
              b. Learning difficulties affecting ability to pass standardized testing

       2 . By diagnostic testing:
)             a. Attention deficit disorder, hyperactive, moderate (F90.1)
              b. Learning disability, nonverbal (abnormal scanning and processing speed)
                 (F81.9)

    Plan

       1. Graphic findings and report to patient.
       2. Copy of findings to patient.
       3. Continue with specialized cognitive medication (dextroamphetamine) to assist
          with inattention, if not medically contraindicated. I defer to the patient's primary
          care provider who is Dr. Houtman for consideration of this recommendation.
          Alternatively, I can provide psychiatric consultation through my clinic as part of a
          conjoint psychotherapy-psychiatric treatment for the patient.
       4. Continue with medication to address emotional difficulties (zolpidem, alprazolam,
          and buspirone).
              a. The present study indicates that the patient's current psychological
                 medication regimen is adequately effective, as elevations on clinical
                 scales of depression are only approximately one and a half standard
                 deviations greater than the average range .
              b. At present, these medications are provided by Dr. Houtman.
              c. If needed, I am happy to provide psychiatric assistance though my clinic
                 as part of conjoint psychotherapy-psychiatric medication treatment for the
                 patient.




                                                                                          NBME00213



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       5. Consider psychotherapy to address mood disturbance and modulate affect.
       6. Patient requests accommodations and written responses to a series of guidelines
           toward test accommodations for the United States Medical Licensing
           Examination (USMLE), Step 1. Guidelines provided by the patient were reviewed
           and the following accommodations are recommended :
               a. Fifty percent additional time to complete the examination or 100 percent
                   additional time (double time) for an exam given over two days to
                   compensate for slowed thought processing
               b. Two additional breaks during the examination to compensate for
                   difficulties managing mood/stress.
               c. A separate and/or quiet area to complete the examination to compensate
                   for inattention and distractibility.
       7. The patient did not have accommodations for the MCAT and as a result scores
           reflect her inefficiency and slowed reading .
       8. The patient is not at risk for operating a motor vehicle.
       9. Consider a memory notebook to assist with organization and improve attention.
       10. Recheck in 12 months to assist primary care in monitoring mental status .
       11. Consider re-examination in 24 months for comparative analysis to baseline.
       12. Discussed issues of safety and surrogate decision making, provided education
           regarding the diagnosis and management of health behavior changes, and
           directed to additional resources for support.
       13.1 remain available to patient regarding assessment and treatment needs.
       14. 1remain available to Dr. Houtman as the patient's primary care physician at any
            · e regarding these findings.


      A       . C:ew dowski, PHD, FACPN
      Clinical Psychologist
      Board Certified in Neuropsychology
      Clinical Assistant Professor, Western Michigan University
          Department of Psychiatry, Western Michigan University School of Medicine
          Psychology Department
          Department of Counseling Psychology and Counselor Education
          College of Health and Human Services (SPADA)
          Department of Military Science and Leadership

      AGI: la




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     Certified in Biofeedback                    Clinical Psychology                          Psychiatry
     Jolynn Cole, MA                            Fenimore Johnson, PHD                         Katelyn Briggs, MA
     Psychotherapist                            Applied Behavior Analysis                     Psychotherapist




                                               Addendum

     Name: Jessica Ramsay (DOB: 08/29/1990)
     Date: February 7, 2018

     Re: Names of specific measures used in the neuropsychological examination of Jessica
     Ramsay on December 7, 2017


     Weschler Adult Intellectual Scale, 4th edition, Wide Range Achievement Test 4th edition,
     Sensory Perceptual Examination, Tactile Finger Recognition Test, Finger-tip Number
     Writing Test, Tactile Form Recognition Test, California Verbal Learning Test, 2nd edition,
 )   Rey Osterrieth Complex Figure Test, Tactile Form Recognition Test, Grip Strength Test,
     Finger Oscillation, Tactual Performance Test, Trail Making Test A, Trail Making Test B,
     Category Test, Seashore Rhythm Test, Speech Sounds Perception Test, Personality
     Assessment Inventory, Aphasia Screening Test.




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     Certified In Biofeedback                     Clinical Psychology                         Psychiatry
     Jolynn Cole, MA                              Fenimore Johnson, PHO                       Katelyn Briggs, MA
     Psychotherapist                              Applied Behavior Analysis                   Psychotherapist


     May 23, 2018

    Jessica Ramsay
    6862 Tall Oaks Drive
    Kalamazoo, Ml 49009

    Dear Jessica,

    I am responding to your request for further clarification on the neuropsychological
    examination completed December 7, 2017. Regarding accommodations for the USMLE
    Step 1, and given your additional description of the requirements of the examination, my
    recommendations should have read, 100% additional testing time (double time), plus
    additional break time.



    Alan Lew dowski, PhD, FACPN
)   Board Certified Neuropsychologist




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         Certified in Biofeedback                        Clinical Psychology                                                     Psychiatry
        Jolynn Cole, MA                                 Fenimore Johnson, PHO                                                    Katelyn Briggs, MA
        Psychotherapist                                 Applied Behavior Analysis                                                Psychotherapist


                                              NEUROCOGNITIVE CONSULTATION

        PATIENT NAME: Jessica Ramsay                              REFERRING: Self
        DOB: 8/29/90                                              CONSULTING: A. Lewandowski, PHO, FACPN
        DATE: 10/25/17

        REASON FOR STUDY

        Jessica Ramsay is a 27-year-old right-handed female with mixed dominance who presents for
        neurocognitive diagnostic study pursuant to academic difficulties of undetermined etiology and
        uncertain severity. She is accompanied today by her mother, Jerri Shold, who assists with her
        history. The patient's primary care up to age 19 has been Dr. Alan Smiy in St. Joe, Michigan .
        More recently, the patient's primary care has been provided by Dr. Jennifer Houtman. She
        reports, "I've had accommodations since I was an undergrad. I hate reading . I haven't bought a
        textbook since undergrad."

        HISTORY OF PRESENT ILLNESS
    )
         The patient describes a chronic academic disability without progressive pattern for a number of
         years that has compromised her ability for educational success. She describes a history of ADD
        for which she was able to self-accommodate for many years. and reports being evaluated for
        ADD and dyslexia In 2014 by a therapist (credentials unknown). Given the patient's description
        of the evaluation, this counselor administered an intellectual and achievement assessment, but
         is uncertain whether a complete examination was conducted or if an abbreviated and prorated
        approach was taken. As a result, she reports she was provided accommodations throughout
        medical school but was denied accommodations for the United States Medical License
        Examination (USMLE), Step 1. The patient presents today reques ting a more comprehensive
        assessment in order to obtain accommodations similar to that which she was allowed
        throughout medical school. "I want accommodations so I can keep going. I figure the best way Is
        to get the paperwork done properly." The patient describes herself as having a "unique learning
        style." She describes that throughout medical school she watched videos and attended lectures
        and when taking notes uses multiple colored pencils to code information in order to enhance her
        learning and recall. She provides an example of some notebooks this afternoon. The patient
        reports she has a history of "reversing my numbers," and her mother describes that as a child
        she had difficulty differentiating between (lowercase) b, d, p, and q. "I can't remember the name
        of an enzyme, but I can remember the concepts and what to do with it." In addition, the patient
        describes word-finding problems that exacerbate her inefficient learning and recall. With regard
        to the patient's attention and overactivity, she reports, "I can't stop moving. I always have to be
        doing something ." In the past, she was prescribed Adderall and notes, "It works when I
        remember to take it. I can tell when the first dose is wearing off."



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    RE: Jessica Ramsay
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    SOCIAL HISTORY

    General. Born and reared .in Texas by both parents and moved to Michigan as a 10-year-old.
    Her father is as 56-year-old in sales who has a BA degree and no reported history of ADD or
    LD. Her mother is a 67-year-old who is a retired art educator with an MA in art education and a
    history of dyslexia and ADHD. The patient has two adopted brothers, one who is 22 years old
    and is diagnosed with Asperger's that works at ari Applebee's and a 19-year-old who lives at
    home and suffers from Prader-Willi syndrome and ASD.

    Famlly and Marital. The patient is single, has never been married, and lives with her fiance for
    the past two years in an apartment in Kalamazoo.

    Education. The patient completed public high school in St. Joe, Michigan with a 3.8 GPA and
    an ACT score between 27 and 30 (unable to recall). She reports that she was never diagnosed
    with ADD in high school, but her mother reports her inattention symptoms were observed as
    early as a second grader. She describes that her daughter's intellectual abilities allowed her to
    self-accommodate and thus additional services/specialized services were not necessarily
    required. The patient completed a BS from Ohio State University with a 3.65 GPA majoring in
    genetics with minors in business and dance.

    Employment. The patient is currently a her third year half-time student at WMU Homer Stryker
    School of Medicine.
)
    Military. None.

    Legal. None.

    Avocational. Sports, art, painting (acrylics), drawing, ceramics, camping, reading,
    papermaking.

    MEDICAL

    Records. No medical records were available to review at the time of this consultation.

    Psychologlc. The patient's mother reports that as a three- or four-year-old, she had some type
    of academic or behavioral testing. Her mother doesn't recall the credentials of the individual who
    administered the tests, what was administered, or for what reason the tests were administered.
    The patient reports consultation with a counselor 3+ years ago who provided an abbreviated
    intellectual and achievement examination approximately. In addition, the patient has seen a
    counseling psychologist, Dr. Mary Wassink with a very positive outcome.

    Developmental. The patient's mother reports a normal pregnancy and delivery with no
    complications or fetal distress. She reports that her daughter achieved all neurodevelopmental
    milestones at age-appropriate intervals. She had no past SLP, OT, PT or audiologic assistance.
    She played soccer as a child and adolescent and estimates she may have had two past
    possible concussions complicated by very brief PTA, but she does not recall any type
    hospitalization.




                                                                                                 NBME00218



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General Review of Systems. The patient's general medical history is best known to her and
her mother, and her primary care who is Dr. Jennifer Houtman. For the completeness of this
report, the patient describes a history of sinusitis, frequent stress-associated hives, occasional
palpitations induced by stress, exercise-induced asthma, lactose intolerance, past fracture of
her ankle, anemia, Factor V Leiden. She had a past DVT diagnosed in the ED and was
prescribed rivaroxaban. She reports no history of CNS disease, insult or injury as a young adult.
She reports a history of migraine headache for the past 20+ years, occurring as often as a
weekly or daily basis, complicated by photosensitivity, hyperacusis, nausea but not necessarily
emesis. The patient reports an aura by way of visual blind spots. In addition to the above minor
and insignificant concussions, the patient reports she had viral meningitis diagnosed as 20-year-
old student at OSU and was hospitalized for one day.

Neurodiagnostics . The patient has had MR as a study volunteer, and she reports findings
were normal.

Surgeries. T&A, wisdom teeth, root canal.

Allergies. NKDA. The patient reports some difficulties with the use of loratadine by way of
decreased hearing acuity.

Medications. Adderall, BuSpar, Xarelto, metoprolol, Ambien p.r.n., Xanax p.r.n., tramadol.

Risk Factors. Occasional and social use of alcohol with no history of overuse.

CLINICAL EXAMINATION

Appearance. Upon examination this afternoon, the patient presents as a normally developed
young adult female who presents in mild distress. Head is normocephalic and atraumatic. Eyes
are symmetrical and EOMs are intact. She is well groomed and casually dressed and appears
her stated age with long dark blond/brown hair and brown/hazel eyes. She is approximately 5'8"
and weighs 115 lbs., has relaxed posture throughout the examination, and her facial expression
is responsive with normal variability.

Behavior. Eye contact is normal and maintained throughout the examination. The patient's
station is steady and her gait is normal for tandem heel-to-toe walk. Upper extremity general
motor movements for fine and gross actions are normal for age and bilaterally coordinated as
evidenced by tapping and alternating finger-to-thumb touch . Speech is normal. The patient's
tone is feminine. Amplitude is soft and normal. Pitch is normal, as is rate. There is no evidence
of rapid or pressured speech. Quality reflects good articulation and there is no evidence of
difficulty with pronunciation. Patterns are normal and there is no evidence of phonologic or
paraphasic errors. Interpersonal skills are well developed, and the patient is compliant and
appropriate throughout the examination. Her attitude is cooperative and motivation is good.
Sleeping patterns are described to reflect early and middle insomnia. The patient occasionally
uses zolpidem to assist with sleep. Appetite is described as variable, but there is no significant
change in weight. There is no history of pathognomonic eating problems such as purging or
binging. Energy is described as poor and fatigued. The patient notes, "I'm restless, and I'm
usually very fatigued." ADLs are not affected.




                                                                                               NBME00219



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    Emotional Regulation. The patient's emotions are appropriate to thought content. Mood is
    anxious, and this seems to be situational and associated with school performance. Mood and
    affect are congruent. She is very pleasant in the examination out occasionally frustrated and
    worried about her school and health status. There is no evidence of acute stress or past
    traumatic stress. She is certainly frustrated, but she does not endorse neurovegetative
    symptoms or diurnal variation. The duration of her situational symptoms has been for the past
    number of months, suggesting a short-term concern. In the past, she notes she had some
    situational dysphoria "on and off" since completing high school. In the past, she has used an
    SSRI (fluoxetine), but this was discontinued after two months as the patient reports it was not
    fully effective and not particularly necessary. Rather, she coped by additional study, sports and
    socialization. In this manner, she describes the employment of adaptive behaviors.

    Sensorium. A cursory review of cognitive functioning today reflects the patient is fully alert and
    oriented to person, place, time and purpose. There is no present evidence of history of unusual
    perceptual distortions. Her immediate recall is only four of five words with one trial. Her visual
    recall is four of four objects. The patient's delayed verbal recall is four of five words with one
    additional word recalled with cu ing. Delayed visual recall is four of four. Simple attention and
    concentration are normal by way of digit sequencing and letter identification. She was able to
    produce six digits forward, and this is adequate. She is able to produce five digits backwards,
    and this is borderline given her age and educational level. She has minor difficulties with serial
    7s and makes errors that she self-corrects. There are no problems with simple reversals.
    Calculations are above average, and her answers are both quick and accurate. There are no
    difficulties with long-term recall of overlearned information or personal history. Abstract
    reasoning is normal by way of verbal proverbs and verbal and visual similarities. Fund of
    knowledge is above average for both verbally and visually mediated tasks. Comprehension is
    also intact for both single and multiple tasks. Visual reasoning is normal for cursory tasks
    associated with problem solving, synthesis and attention to detail. Executive reasoning is intact
    for critical judgment and general decision making. Insight is good and age appropriate.

    Thought Processes. The patient's stream of thought reveals no acute confusion or any
    significant psychiatric disorganization. There is no evidence of any type of slowing or
    acceleration of thought flow. She reports no history of suicidal ideation, and there are no risk
    factors observed. There is no evidence of any type of other-directed harm, unusual ideation, or
    unusual thought content.

    CLINICAL IMPRESSION (ICD-10)

       1. By history:
               a. Attention deficit disorder.
               b. Leaming difficulties/questionable dyslexia.
               c. Situational distress also affected by both transitional anxiety and depression.
       2. Difficulties with mental status, etiology and severity uncertain.
       3. Rule out ADD vs. ADHD vs. dyslexia vs. dyscalculia vs. spelling dyspraxia .vs. mood
          disorder vs. anxiety condition/GAD vs; adjustment disorder vs. normal examination.



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    RE: Jessica Ramsay
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    SUMMARY AND PLAN

    Jessica Ramsay is a 27-year-old right-handed female with some mixed dominance in her third
    year of medical school who presents for neurocognitive diagnostic study pursuant to a request
    for accommodations for standardized testing with the USMLE Step 1. The patient's neurological
    history is noted for two minor and insignificant concussions associated with brief PTA but with
    no long-term residual consequences. Neuroimaging of the brain has not been medically
    necessary but was completed as a part of the patient being a test volunteer; findings are
    reported by the patient to be normal. The patient's general medical history with possible
    implications for cognitive dysfunction is unremarkable. The patient's preexisting psychological
    history is noted for worry, apprehension and anxiety associated with concern about her
    educational progress as a third-year medical student. Current medications include Adderall,
    BuSpar, metoprolol, Xarelto, Ambien, Xanax (p.r.n.), and tramadol.

    I will proceed with a standardized and more comprehensive neurocognitive diagnostic study to
    better clarify the patient's mental status and the severity of symptoms to assist with medical
    decision making, care coordination, and support accommodations as appropriate. I will schedule
    the patient for two half sessions depending on her availability and academic demands, and
    provide the patient with a copy of findings as well as a copy to her primary care provider who is
    Dr. Jennifer Houtman. I will review findings with the patient.

    I spent approximately 120 minutes with the patient today in individual examination, consulting
)   with her mother, providing a detailed neurobehavioral cognitive status examination, and
    preparing this consultation. I remain available to Dr. Houtman at any time regarding these
    findings.




    Alan G. Lewandowski, PHO, FACPN
    Clinical Psychologist
    Board Certified Neuropsychologist
    Clinical Assistant Professor
    Western Michigan University School of Medicine

    AGL:tlw




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     PSYCHIATRY
                                   June 4, 2018
    ROBERT D. STRUNG, MD, CHAIR

    MARK f<ANZAWA, DO
    RESIDENCY PROGRAM DIRECTOR     To Whom It May Concern:
    JOSEPH L. CALLES, jR., MD
                                  I am writing t his letter in support of Jessica Ramsay's application for
    KEVIN KUNZER, MD
                                  accommodations for her retake of the United States Medical License Examination
    MIIRITZA l./\G05, MD          Step 1 exam.
    PETER LONGSTREET, MD          History of present illness:
    CLERKSHIP DIRECTOR
                                  Currently, Ms. Ramsay is on academic leave of absence from her 4th year of
    8. K. RAMESH, MD
                                  medical school due to Western Michigan Homer Stryker Medical School's
    MICHAEL REDINGER, MD, MA      requirement, which prevents students from advancement after failing their initial
                                  USMLE Step 1. Jessica's failed attempt at her initial unaccommodated Step 1 exam
    BRUCE RU81<B8RG, MD
                                  resulted in a significant delay in her participating in the residency match and in
    REBECCA SHERWOOD, MD
                                  graduating.
    OUTPATIENT CLINIC DIRECTOR
                                  Jessica's initial request for accommodations for ADHD and dyslexia for the USMLE
)   RUQIYA TAR66N, MD
                                  Step 1 and 2 CK exams was denied in March 2017. Jessica was aware that taking
    PERRY WESTERMAN, MD           the exam under standard conditions would place her at a disadvantage and would
    ELMIRA YESSENCALIYEVA, MD
                                  not provide her an equal opportunity to demonstrate her competency. After
                                  NBME denied her disability, Jessica elected to take Step 1 before pursuing an
    MATTHEW ZARAJ,ITONELLO,
                                  appeal for accommodations, hoping she might pass and be able to a remain on
    PHD
                                  track for the match and graduation. Jessica believes that the lack of
    NANCY). LENZ, C-TAGME         accommodations on Step 1, her ADHD symptoms, and deficits due to her learning
    PROGRAM COORDINATOR
                                  disabilities greatly affected her ability to perform at her best on Step 1.
                                  She believes that the 'a ccommodations {double time, separate room) which she
                                  previously received for other standardized NBME (CBSE and clinical Shelf) exams
                                  during medical school were sufficient to overcome the barriers caused by standard
1717 SHAFFER STREET               conditions.'W ith accommodations, there is a decrease in ambient distractions and
SUITE010                          she is able to read/think aloud and briefly step away from the computer to process
DSP1". 66G                        the information, as well as manage her restlessnes s and hyperactivity without
KALAMAZOO, MI                     disrupting other test-takers. Ms. Ramsay states she needs additional t ime to be
49048-1623
                                  able to overcome her disabilities and to be able to read each of the questions and
RESIDENCY (269)   337-6375
                                  process the information, and apply her knowledge to make an educated choice for
FAX: (269) 337-6378
                                  each answer on the exam. In doing so, she be.Jieve she will receive a score that
www.med.wmich.edu
                                  accurately reflects her comprehension of the mat~rial and her abilities. In hopes to
                                  accomplish this, she has pursued comprehensive testing and documentation in
                                  order to meet the NBME guidelines to support her renewed request for
                                  appropriate accommodations for the USM LE Step exams.




                                                                                                                       NBME00155



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       Clinical history:

       Jessica describes symptoms of restlessness and hyperactivity, inattentiveness, distractibility,
       and slow reading and writing due to letter reversals, "tangled words," and difficulty recalling
       words to express herself beginning in early childhood and persisting to the present time. She
       reports spending a large portion of her time and energy each day managing these symptoms
       and working around these functional deficiencies .
       In order to read, she must take multiple compensatory steps to correctly identify the sequence
       of letters and words and comprehend their meanings within context. Jessica also isolates each
       word and sometimes replaces them with colors and/or symbols to associate meaning. Due to
       character switching, she makes frequent spelling and grammatical errors and has a hard time
       proofreading her own work, and when possible, relies heavily on "spell check" and help from
       others. Additionally, she struggles with legibility of her handwriting.
      Ms. Ramsay also reports a lifelo~g difficulty formulating and organizing her thoughts and
      selecting the words to express them clearly . To help her learn and communicate, she uses
      analogies, draws pictures and diagrams, or physically demonstrates what she is trying to
      communicate . Due to these difficulties, it takes Jessica a very long time to read, write, and
      process information. Though she has developed tools and mechanisms to work around these
      deficiencies, she needs a substantial amount of extra time to execute them effectively.
      Because reading and writing take her a very long time and require great mental effort, her
      learning disabilities are further exacerbated by her focus, inattention and distractibility,
      particularly when required to read or write for extended periods and in time -limited situations.
      She reports experiencing symptoms of anxiety ?nd feelings of inadequacy when faced with
      reading or writing that may determine whether she may advance in her academic and
      occupational goals. Her anxiety and frustration stem from experiences when she did not have
      enough time or a supportive environment, and therefore did not allow her to demonstrate her
      capabilities .
       Information provided by Jessica's significant other, with whom she has been living for three
      years, details current examples of impaired daily functioning consistent with Jessica's reported
      symptoms. He describes Jessica as being energetic, motivated, and hardworking. "She doesn't
      like to sit still and gets really restless when she can't move around." He is able to "tell when her
      meds wear off or when she doesn't take them because she'll change the radio station a million
      times before we even finish a song, or she talks a lot and interrupts me when I'm talking or
      concentrating on something." He reports that Jessica has a hard time organizing herself, is
      cluttered, and that she frequently "loses or forgets things and has to leave written reminders
      on her mirror and Post-Its around the house" in an effort not to forget these things. She
      "sometimes needs help finding the words for what she wants to say, especially when she is
      tired." He notes that, because reading is difficult for her, she avoids it when possible. When
      Jessica reads aloud, it is difficult to follow her because she "stumbles on words and loses her
      place." He shares that when they watch movies or shows with subtitles, he has to read them to
      her "because she can't read fast enough to get everything."
      Childhood history obtained from Jessica's mother is significant for symptoms of hyperactivity,
      restlessness, inattention, and distractibility from a young age and affecting several domains of
      life, consistent with Jessica's diagnosis of ADHD, combined type. She also describes Jessica
      having a very difficult time with reading and writing since beginning to do so. These difficulties

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       are due to her letter reversals, "mixing up words," and difficulties with recalling specific words,
       consistent with learning disabilities in reading and writing.
       Her second-grade teacher was first to note that at the age of 7 Jessica still reversed letters and
       struggled with reading, spelling, and writing, along with distractibility. The teacher provided
       informal classroom accommodations (extra time and use of an alphabet board in a secluded
       space) and recommended she get vision testing. Jessica was referred to Dr. Mary Alice A.
       Tanguay, a therapeutic optometrist, who performed visual-perceptual skills testing and found
       significant deficits in Jessica's visual spatial relationships, visual discrimination, and visual
       memory. At the time, assessments for behavioral problems or learning disabilities were not
       pursued because Jessica's deficiencies were masked by her hard work and natural inteUigence

      With written assignments, Jessica needed help organizing her thoughts, choosing the words,
      and proofreading due to her character switching and grammar difficulty. Though Jessica did not
      receive any formal accommodations until college, she began receiving informal
      accommodations, includi~g extra time and a secluded workspace for assignments, for
      distractibility and slow reading and writing in the second grade. On multiple occasions
      throughout her academic career, Jessica required informal accommodations (extra time,
      altered grading scheme, and/or redo opportunity) to complete tests, reading, and writing
      assignments because she was not able to satisfactorily do so in the regular time provided.

      At home, Jessica was an inquisitive, busy child who was "hardly ever still." Even during
      mealtimes or leisure activities like watching TV, she would "find reasons to get up and move."
      She avoided things that required prolonged mental effort or sitting still, especially reading. Due
      to her inattention and distractibility, she was forgetful and disorganized with everyday tasks,
      had a cluttered room and many partially completed or forgotten projects.
      Socially, Jessica was energetic, with a lot of friends, but her forgetfulness made it difficult to
      follow through on commitments. She was distractible in conversation, commonly losing track of
      her thoughts and the topic of conversation. Jessica also struggled with waiting her turn, blurting
      out thoughts and interrupting others, and sometimes unintentionally offending them.

      At school, beginning in Kindergarten, Jessica spent much of her energy suppressing the
      continuous urge to move and trying to pay attention so that she could learn and avoid getting
      in trouble. Jessica struggled to sit still during ·c1ass, "always moving or doing something" like
      fidgeting or doodling on her papers, and often asked to go to the restroom so she could walk
      around.

      Jessica's distractibility and attention difficulties manifested as forgetfulness and carelessness,
      forgetting to take home, complete, or turn in assignments, and making frequent "dumb
      mistakes." Jessica's teachers noted her to be a very bright student, but a very slow reader and
      writer, as well as a "bad test-taker." Jessica commonly expressed frustration over how much
      longer it took her to read and write than her classmates, "always being the last one done" with
      classwork and tests. In middle and high school, she frequently had to stay up late and pull all-
      nighters to complete homework. Jessica's mother recalls that "even early on, like in middle
      school, Jessie spent so much time doing homework every night, usually up until the wee hours
      of the morning trying to get through reading or write an essay," emphasizing, "it's incredible
      how slow she reads. Her younger brother, who has autism a-nd significant special needs, even
      reads faster than she does."



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  While attending college at Ohio State University, Ms. Ramsay became increasingly frustrated
  with her letter switching, inability to focus, difficulty organizing thoughts, slow reading and
  writing speed interfering with her ability to complete timed quizzes and tests, and to keep up
  with reading and writing requirements . In 2009, when Jessica was no longer able to keep up
  with her coursework, she brought the issues to the attention of her primary care physician, Dr.
  Alan Smiy, who considered ADHD and/or dyslexia and completed an in-office ADHD screening
  that was consistent with ADHD . Jessica was started on stimulant medication and had some
  improvement of her ADHD symptoms, but her underlying learning deficits did not improve.
  Since college Jessica has remained on a regimen of ADHD stimulant to help her function in
  school and relationships . Her difficulties, however, in test situations under standard conditions
  remain despite taking stimulant medications.

 In 2010, at the recommendation of a professor, Jessica sought and was granted formal
 accommodations by OSU Disability Services. With these accommodations, Jessica had better
 access to her exams and quizzes and maintained satisfactory performance in most of her
 classes. However, for several important exams that required large amounts of reading and/or
 wrfting, for which 50% additional time was not enough to give Jessica the opportunity to
 attempt enough of the exam to possibly achieve a passing score, her professors informally
 provided additional accommodations (e.g., altered grading schemes), which allowed Jessica to
 pass those exams and courses .

 Standardized Testing History:

 ACT: At the time she took the ACT, Jessica had not yet been diagnosed with ADHD or learning
 disabilities, and so did not receive accommodations. Even though she did not have the
 opportunity to read all of the questions in each. section, she was able to achieve an acceptable
 score with her first attempt because most questions required little reading. She was able to
 retake the exam with some improvement, but both scores were still lower than the practice
 tests she had taken with unlimited time, suggesting that standard exam time inhibited her
 ability to accurately demonstrate her knowledge .

 MCAT: Jessica was diagnosed with ADHD and possible dyslexia shortly before taking MCAT and
 was not aware that she could have applied for accommodations until after she had taken it.,
 Ms. Ramsay's official score (30M) was consistent with practice tests taken under simulated
 standard exam conditions, but was significantly lower than her scores on prior MCAT versions
 taken in a private, untimed setting as self-assessments. Also important to note, Jessica's
 percentile performance on the subsections were quite consistent with her symptoms, clinical
 history and neuropsychology testing, as her Verbal Reasoning (67%) was noticeably lower than
 her Biological (88%) and Physical (79%) Sciences, and there was a major dtop-off in Writing
 (33%).

 NBME Exams: Though the NBME did not allow standardized CBSE and clinical Shelf exams to be
 taken on paper, Jessica did receive double exam time and a separate room for all standardized
 exams while in medical school. Though she was unable in this case to use colors and symbols to
 replace words to assist with reading accuracy and comprehension, these accommodations did
 provide a distraction-reduced environment in which she could read and think aloud or move
 around to work through the questions, and manage her symptoms without distracting other
 test takers . The CBSE taken on 4/28/17, provided by the school as formative practice for Step 1,
 for which Ms. Ramsay chose to attempt in a private testing room but without the extra time, is


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      the only exception. She chose to do this because her initial Step 1 accommodations request had
      been denied and she wanted to see if she would be able to read enough questions to pass.
      Even with the private environment, she did not have the opportunity to read about 10 of the
      questions within the standard 60 minutes provided for each block.
      USM LE Exams: During her Step 1 exam experience, the standard environment significantly
      impaired Jessica's ability to focus on her exam due to the continuous distraction provided by
      other test-takers being in the same room, which she could not simply "tune out" due to her
      attention difficulties and distractibility. In the standard environment, she was also unable to
      read aloud or briefly step away from the computer in order to aid her reading comprehension
      or manage her symptoms of restlessness and hyperactivity during the exam without distracting
      others. With standard exam time, Jessica did not have the opportunity to read all of the
      questions in each section, and was therefore inhibited from using her knowledge to answer a
      significant number of questions in each sect ion .
     Under timed test cond itions Jessica consistently scored significantly lower on unaccommodated
     exams compared to practice exams taken in a quiet environment with sufficient time, or under
     formally accommodated exams. This pattern is pervasive throughout her exam history, with the
     scores differing proportionally to the amount of reading and/or writing that is necessary within
     the allowed time .
     Due to her disabilities, in my professional opinion by taking the NBME exams under standard
     exam settings and time limits, Jessica does not have an equal opportunity to read all of the
     questions (compared to other test takers without a disability) ,and this impedes her ability to
     accurately demonstrate her knowledge and preparation.
     Accommodations History:
)    Jessica began receiving informal accommodations (extra time, use of an alphabet board, and a
     distraction-reduced space) beginning in second grade for inattention, distractibility, and letter
     reversals causing difficulties with reading, spelling, and writing. On numerous occasions
     throughout the remainder of her academic career prior to medical school, Jessica's teachers
     provided various forms of informal accommodations (e.g., extra time, quiet environment,
     altered grading schemes, redo opportunities, etc.) necessary to level the playing field, giving
     Jessica the opportunity to demonstrate her competency.
     Since Dr. Charles Livingston's neuropsychological assessment in 2014 confirmed her diagnosis
     of ADHD, Jessica has received testing accommodations throughout medical school, including for
     OSCEs and standardized NBME (CBSE and Shelf) exams, which provided more equal opportunity
     for her to access her exams. Accommodations received while attending medical school have
     included:
        •   private room and double time for standardized NBME (CBSE and Sheff) exams;
        •   extra time to read instructions and patient information and write the patient note for
            OSCEs;
        •   all WMed-administered exams, quizzes, and lab practicals provided on paper with use of
            colored pencils, highlighters, and scrap paper in a private environment with double
            testing time;
        •   free printing and the use of Kurzweil 3000 text-to-speech software outside of exams to
            help manage coursework and studying.


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      The formal accommodations she received during the previous standardized NBME (CBSE and
      clinical Shelf} exams, listed above, removed excessive barriers imposed by standard conditions
      because they sufficiently decreased ambient distractions and permitted Jessica to read and
      think aloud and to briefly step away from the computer to process the information and/or
      manage her restlessness and hyperactivity without disrupting other test-takers.
      Family history:

      Significant for mother with ADHD and moderate dyslexic symptoms; father with mild dyslexic
      symptoms; paternal grandmother with moderate dyslexic symptoms; paternal grandfather with
      mild ADHD symptoms; two paternal cousins (siblings), one with diagnosed dyslexia and the
      other with Asperger syndrome.
      Assessments:
     In 1997, due to her letter reversals and difficulty with reading, spelling, and writing at the age of
     7, Jessica was referred by her second grade teacher to Dr. Mary Alice A. Tanguay, a therapeutic
     optometrist, who performed visual-perceptual skills testing and found significant deficits in
     Jessica's visual spatial relationships, visual discrimination, and visual memory.
     In 2014 Jessica had an initial formal neuropsychology assessment performed by Dr. Charles
     Livingston, a licensed social worker and limited licensed psychologist, to support her request for
     accommodations in medical school. His assessment confirmed the clinical diagnosis of severe
     ADHD, for which he recommended the medical school disability office provide
     accommodations. Dr. Livingston chose not to perform an evaluation for dyslexia as he thought
     Jessica's diagnosis of severe ADHD would be sufficient to warrant reasonable accommodation
     by the school, which would allow her symptoms of both ADHD and dyslexia to be addressed.
)     In December 2017, Dr. Alan Lewandowski completed a more comprehensive neuropsychology
      evaluation . Using clinical history, observation, and the results of his neuropsychology testing,
      he diagnosed Jessica with ADHD and a nonverbal learning disability of "abnormal scanning and
      processing speed" (ICD-10 F81.9}. When put into context of Jessica's clinical history, I believe
     that, in addition to confirming Jessica's ADHD diagnosis, his findings support and are consistent
      with a more specific clinical diagnosis of nonverbal learning disability with impairments in
      reading (ICD-10 F81.0) and written expression (ICD-10 F81.Bl). Dr. Lewandowski's assessment
     highlights the effects of these deficient functions on her cognitive processing speed, stating that
     Jessica tested very superior in intellectual ability (98- percentile) but also had a marked drop-off
     in intellectual efficiency (34· percentile). Dr. Lewandowski noted that these findings reflect "a
     statistically significant and clinically relevant weakness on measures contributing to cerebral
     response speed, with subsequent implications for learning new information and responding to
     assessments under timed conditions." Dr. Lewandowski, moreover, noted her "IQ pattern is
     consistent with the patient's and parents' reports of premorbid functioning, and consistent
     with a pre-existing developmental delay." Jessica tested abnormal on specific cognitive tasks
     including "sequencing/cognitive shifting, sustained complex attention and quickness of
     thinking," again affecting her ability to perform under timed conditions. For her USM LE Step
     exams, he recommended extra exam time and additional breaks to accommodate her
     "inefficient thinking" and manage "mood symptoms," as well as a separate testing room to
     reduce distractions.




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  Dr. Livingston's 2014 assessment is consistent with Dr. Lewandowski's findings. Their
  neuropsychology tests revealed Jessica possesses a very superior IQ but has a marked drop-off
  in her intellectual efficiency, requiring reasonable accommodations in the academic setting,
  especially under timed conditions.
  Recent DSM-IV Adult ADHD symptom checklists with prompts completed by Jessica, her
  mother, and significant other, all strongly support Jessica's diagnosis of ADHD, combined type
  (ICD-10 F90.2) with continuation of symptoms to the present time, as well as her need for
  accommodation.
  Differential and Rule-out Diagnoses:

  For completeness, Jessica has been evaluated for medical conditions, sleep disorders, and
  primary disorders of mood and anxiety as possible causes of Jessica's reported symptoms of
  inefficient thinking, inattention, distractibility, restlessness, hyperactivity, and slow reading and
  writing speed, anxiety, and feelings of inadequacy.
 A sleep study in November of 2017 did not reveal evidence of obstructive sleep apnea or other
 sleep issues that might cause her inattentiveness, distractibility, or slow processing speed. In
 addition, thyroid function tests, CBC and screening labs are negative for possible causes of
 inattentiveness, distractibility, restlessness, hyperactivity, or slow processing speed.
 Since learning she did not pass Step I of the NBME and that her school required to sit out
 classes until she passed step I, Jessica has exhibited mild depression and anxiety symptoms
 appropriate to her situation. I do not feel she has a primary mood or anxiety disorder.
 Clinical Impression:

 In my professional opinion, Ms. Ramsay meets DSM-5 criteria for Attention Deficit and
 Hyperactivity Disorder, Combined type (DSM-5 314.01; ICD-10 F90.2) based on reported
 symptoms, clinical, academic, family and social histories, direct observation, neuropsychological
 evaluation, DSM-IV symptom checklists, and collateral information gathered from her mother
 and significant other. In addition to ADHD, I believe Jessica has also grappled with a learning
 disability since beginning to read and write as a young child. Based on her symptoms, clinical
 and family history, neuropsychological and vision testing, and collateral information gathered
 from her mother and significant other, Jessica meets DSM-5 criteria for Specific learning
 disorder of "abnormal scanning and processing speed" {ICD-10 F81.9) with impairments in
 reading (DSM-5 315.00; ICD-10 F81.0) and written expression (DSM-5 315.2; ICD-10 F81.81).

 Due to the nature of these disorders, there is some degree of overlap between them with
 regards to symptoms, history, objective findings, and recommended treatment and
 academic/occupational accommodations.
 After regular meetings with Jessica and reviewing her records, I believe she meets criteria for
 diagnosis of specific learning disorder of "abnormal scanning and processing speed" (ICD-10
 F81.9) with impairments in reading (DSM-5 315.00; ICD-10 F81.0) and written expression
 (DSM-5 315.2; ICD-10 F81.81).

 Summary and Plan:

 While she does not perform well on timed tests requiring reading comprehension, writing, or
 identification of nuances In questions, she is very gifted in nonverbal communication, empathy
 and implicit memory skills, which allowed her to self-accommodate for many years until the

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  complexity of the material in college led her to seek medical evaluation and formal
  accommodations. With appropriate accommodation, Jessica's adaptability, dedication, and
  resilience have allowed her to continue pursuing higher learning and survive the grueling
  requirements of medical education despite the deficiencies caused by her ADHD and learning
  disabilities. Only by sheer will and grit has she been able to persevere.

 After conferring with Jessica and reviewing her cli~ical history, collateral in.f ormation, and
 neuropsychology testing, I recommend the following accommodations to address her needs for
 USM LE Step 1 exam:

     •   100% additional test time (double time) for inattention, distractibility, and slow
         information processing and reading speeds.
     •   Additional break time to address basic needs and to adequately manage symptoms of
         restlessness, hyperactivity, focus difficulties, and secondary mood symptoms so that she
         is better able to focus during the exam, as well as to allow time to eat and take
         medications witho_ut pulling time away from that availa.ble to her for managing her
         symptoms as previously stated.
     •   A prlvate, quiet room in which to take the exam for inattention and distractibility, and
         to utilize compensatory mechanisms, such as reading/thinking aloud or briefly stepping
         away from the computer, to aid in reading comprehension and information processing
         and to manage her symptoms of restlessness and hyperactivity.
 In my professional opinion, due to her functional limitations due to Attention Deficit and
 Hyperactivity Disorder, Combined type (DSM-5 314.01; ICD-10 F90.2) and specific learning
 disorder of "abnormal scanning and processing speed" (ICD-10 F81.9) with impairments in
 reading (DSM-5 315.00; ICD-10 F81.0) and written expression (DSM-5 315.2; ICD-10 FSl.81),
 Jessica, without question, is a qualified person with disabilities under the ADA, and therefore be
 granted reasonable accommodation, per her request, to provide her w ith access to the United
 States Medical Licensing Examination Step 1 exam.
 While the accommodations she has requested will not completely remove the barriers imposed
 by standard conditions or provide entirely equal access to the exam, they will level the playing
 field by providing Jessica an environment with minimized distractions in which to read/think
 aloud or briefly step away from the computer so that she is able to process the information and
 manage her symptoms without risk of disturbing other test-takers, giving her the opportunity
 to focus on the exam, read each question, and apply her knowledge to choose each answer.



 Should you have any questions concerning Jessica Ramsay, do not hesitate to contact me.


 Respectfully,


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 Bruce Ruekberg, MD




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         To Whom It May Concern:

          I am writing this fetter of support for Jessica Ramsay in regard to her requested
         accommodations for NBME examinations. I have had the unique opportunity to be her primary
         care physician for the past two years, and her medical school mentor and Clinical Skills course
         instructor for the two years prior to that. I can confirm from my personal observation of her as
         a patient, and as a student, that she has the following diagnoses that require accommodations:
             •   Attention deficit/hyperactivity disorder, Combined presentation (DSM-5 314.01, ICD-10
                 F90.2)
             •   Learning disability, nonverbal (abnormal scanning and processing speed) (ICD-10 F81.9)
                     o    With impairment in reading (DSM-5 315.00, ICD-10 F81.0)
                     o    With impairment in written expression (DSM-5 315.2, ICD-10 F81.81)
             •   Migraines with aura, without status migranosus (ICD-10 G43.09)
             •   Clotting disorder with recent Deep Venous Thrombosis (IC0-10187.009)/Post-
                 thrombotic syndrome (ICD-10 D69.8)

         Jessica's first request is 100% additional time for examinations. This accommodation is for her
         ADHD and learning disabilities. The additional exam time will allow her to be able to read and
         re-read exam questions and answers to help her comprehe_nd what she is reading. It will also
         allow her to use her compensatory mechanisms that she has developed to help her clarify her
         thoughts and answer the questions properly. It will also allow her to redirect her thoughts
         when she gets distracted. All of these things require extra time. We are treating her ADHD
         with medications and she has worked over years to develop compensatory mechanisms, but
         these compensatory mechanisms require additional time, and therefore, can only be used if
         extended testing time is provided.



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        The stress of timed examinations also leads to further distraction as she worries about her
        issues rather than being able to fully focus on the exam itself. As Jessica's Clinical Skills course
        instructor, I have had the opportunity to watch her work both in timed exams and in untimed
        exams - both writing notes and in examination/interviewing of patients. During the first part of
        her first year, she did not yet have accommodations in place. On several occasions without
        time restrictions, I witnessed her interview the patient well and complete the require d portions
    )   of the physical exam in a reasonable amount of time similar to her peers. However, even
        without a strict time limit, Jessica still struggled to finish her note in the time permitted. When
        she was allowed double the allotted time, she was able to successfully organize her thoughts
        and complete her note. During formal OSCE examinations with time restraints, I would see her
        get flustered, forget important steps and miss key portions of the physical exam. Most notably,
        with the formal time limits, Jessica was unable to complete the note portion because was
        unable to organize her thoughts and type them out. Jessica initially requested only 50%
        additional time for the note-writing portion of her OSCEs because she felt it was important not
        to request more than she thought necessary. However, she continued to struggle with
        completing the note portion even with the 50% additional time, so she requested and was
        granted 100% additional time for the note portion, which allowed her to be successful.

        Additionally, in her third year, the OSCE prompts and instructions became more detailed and
        lengthy so that she was unable fully read and comprehend them without taking too much time
        away from the patient encounter, so she was also granted 2 additional minutes at the
        beginning of the patient encounter to enable her to do so. Once all of these accommodations
        were in place, her OSCE performance improved remarkably, more adequately reflecting the
        clinica l skills that I had previously witnessed her demonstrate.

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     As part of the second-year Clinical Skills course, in addition to OSCE examinations, students
     were also assigned a hospital patient and were allowed 3 hours to complete a History and
     Physical (H&P}, and Jessica always used this t ime completely while several of her colleagues
     saw it as an opportunity to have an early dismissal. I was also in charge of grading Jessica's
     write-ups from these encounters. Again, I noticed a significant difference in the quality and
     thoroughness of her write-ups once she was given sufficient time to complete them and turn
     them in.

     I can say with certainty that the testing accommodations (extended time and private room)
     given to her in medical school has allowed her to perform at her best potential. Jessica and I
     have discussed the time constraints inherent in seeing patients and completing charts/tasks in
     medicine and she realizes that she will likely have to pick a practice setting that will allow her
     more time with each patient so that she will have the time she needs to successfully complete
     documentation. We have also discussed that in a productivity-driven medical climate, this may
     impact her financial productivity. She understands that her ADHD and learning disabilities have
     and will continue to give her struggles in he r career, but with adequate extra time, she will be
     able to do her best, display her knowledge more appropriately, and in the long run, provide
     better patient care. I highly support her request for 100% extra examination time.

     Jessica's second request is for increased break time during examinations. This accommodation
     is also for her ADHD and learning disabilities - the extra break time allows her a chance to relax
     and refocus between sections, and to take an additional dose of her medication if needed in
     the afternoon to help manage her restlessness, distractibility, and inability to focus. The extra
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    break t ime is also to help with her migraines. Prolonged focusing is a trigger for her migraines
    and frequent breaks allow her to avoid this trigger. Jessica's migraine headaches are preceded
    by an aura that includes nausea, blind spots that obscure her vision, photophobia, and
    phonophobia, and which continues throughout the migraine. If she does begin experiencing an
    aura during the exam, the extra break time will also allow her to take medication to prevent a
    migraine from fully developing, which would definitely be a further distraction for her ADHD,
    and also would impede her performance. The increased break time is also an accommodation
    for her clotting disorder and post-thrombotic syndrome, which were diagnosed after she
    experienced a significant lower extremity deep vein thrombosis (DVT) in 2016. Prolonged
    inactivity increases her risk for developing another DVT. Since having a DVT, she develops leg
    pain and swelling with prolonged sitting, which becomes a further distraction for her. Extra
    break time would allow her enough time to walk around to prevent pain, swelling and the
    development of another clot. I fully support Jessica's request for extra break time for all of
    these reasons.

    Jessica's third request is for a private testing room. This accommodation is for her ADHD and
    learning disabilities. The private environment removes the added distraction caused by other
    test-takers in a shared testing environment, which is necessar·y for Jessica to be able to focus
    because she is much more easily distracted than most people due fo her ADHD. The private
    room would allow her to read out loud or move around as needed to cope w ith her learning
    disabilities so that she can read and comprehend the questions without being a distraction to
    other test-takers in a shared room. The private room is also an accommodation for her clotting
    disorder and post-thrombotic syndrome. A private room would allow Jessica to get up and walk



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        around as necessary during her exam to prevent pain, swelling and the development of another
        clot. I entirely support her request for a private testing environment for all of these reasons.

        I have gotten to know Jessica on both personal and professional levels over the past four years.
        I have seen first-hand the potential and knowledge that she has that will make her an excellent
        physician. Her experiences with her own disabilities will allow her to empathize with, and show
        compassion for, her patients that some physicians will never experience or understand. I am
    )   excited to see where her medical career takes her. I fully support her requests for
        accommodations to allow her to perform at her maximum potential, which will allow her access
        to a higher quality of residency training and excellence in her future medical practice. If you
        have any further questions, I would be happy to discuss these issues further and can be reached
        by phone or email (see contact information below).


        Sincerely,


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     April 12, 2018

     Disability Services
     National Board of Medical Examiners
     3750 Market Street       -
     Philadelphia, PA 19104,.31901


     To Whom It May Concern:

     This letter is in support of Jessica Ramsay's (USMLE ID: 5-366-431-4) application for
     accommodations for the Step 1 and Step 2 CK examinations. Ms. Ramsay has received
     accommodations for her medical education starting upon matriculation at Western Michigan
     University Homer Stryker M.D. School of Medicine (WMed) in August 2014, and has benefited
     significantly since.

)    Ms. Ramsay was originally diagnosed with Attention Deficit Disorder/Attention Deficit
     Hyperactivity Disorder in 2009. Upon the release of the DSM-5, Ms. Ramsay's diagnosis was
     altered to Attention Deficit Hyperactivity Disorder, Combined presentation reflecting further
     evaluation, clinical history, and neurological and psychological testing since her original
     diagnosis. Currently, Ms. Ramsay's full diagnosis is Attention Deficit/Hyperactivity Disorder,
     Combined presentation (DSM-5 314.01, ICD-10 F90.2), and Learning Disability, nonverbal
     (abnormal scanning and processing speed) (ICD-10 F81.9) with impairment in reading (DSM-5
     315.00, ICD-10 F81.0), and impairment in written expression (DSM-5 315.2, ICD-10 F81.81).

     Given her diagnosis, Ms. Ramsay has been granted the following accommodations during her
     time at WMed:

            General:
               - Access to a counselor provided through Student Affairs

            Basic Science and Clinical Coursework and Study:
               - Additional free printing allowance
               - Text-to-speech software (Kurzweil 3000)

            Multiple Choice and Written Exams, including iRATs (individual readiness assessment
            tests):
                - Private, quiet testing room with no other students
                - Double testing time (100% additional time)
                - Exams provided on paper instead of computerized format
)
                                 I 000 Oakland Drive Kalamazoo, MI 49008-80 I 0
                                             PHONE 269.337.6059




                                                                                                                   NBME00168



                                            Appx1176
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                    Use of calculator and assorted colored pencils and highlighters (provided for
                    testing use only, kept by testing staff when not testing)
                    Extra scrap paper
                    Allowed to have granola bar, water, and medications in exam room

            Clinical Skills (OSCE) Exams:
                   Two additional minutes at the beginning of the OSCE patient encounter to read
                   the prompt and instructions
                - Double time (100%, or 10 minutes, additional time) on the note-writing portion

     Some of the above accommodations for class and clinical coursework have been in effect for Ms.
     Ramsay since she matriculated in August 2014. During her first year, Ms. Ramsay received
     double time for summative examinations, which has continued throughout her time at WMed.
     After formative, and then graded OSCEs in her first and second year, Ms. Ramsay requested the
     minimum amount of extra examination time specifically for her OSCEs, time and one half (50%
     additional time), which was granted. However, even with this additional time, Ms. Ramsay still
     encountered difficulty with passing OSCEs. Subsequently, she reapplied for additional
     examination time, including double time ( 100% additional time) for the exam and an additional
     two minutes at the beginning of the patient encounter to read the prompt. Ms. Ramsay's request
     was approved. Although Ms. Ramsay was able to pass her OSCEs with these accommodations,
     she still struggles with the time limit.

     Due to her disability, Ms . Ramsay has significant difficulty with reading comprehension and
     organization of her thoughts, especially under time constraints. She requires additional time to
     read prompts and questions on examinations to thoroughly understand what the material is
     asking, and then time to organize her thoughts to identify the answer. When Ms. Ramsay does
)    not have adequate time to comprehend and organize, she becomes anxious, which further impairs
     her ability to organize her thoughts. Furthermore, Ms. Ramsay needs additional break time
     during examinations to refocus her thoughts and reenergize her mind for the exam.

     To combat the issues stemming from her ADHD and learning disability, Ms. Ramsay takes
     medication. The medication helps reduce her distractibility during exams, but having additional
     time to read and comprehend the material, and then time to organize her thoughts is what has
     made her prosperous in medical school. Ms. Ramsay's medication offers the initial foundation
     for her to pass examinations, but she irrefutably needs the additional time on examinations in
     order to be truly successful. This is especially true for prolonged examination periods, such as
     Step 1 and Step 2 CK, where multiple doses of medication are necessary. Ms. Ramsay requires
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     additional break allotments. Additional breaks allow her to take her medication with food, and
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     It is important to note that although Ms. Ramsay has been granted accommodations, and has
     passed her coursework and continued to progress in the curriculum in their advent, she still
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     are much deeper than her examination scores would suggest. The granted accommodations offer
     her an opportunity to showcase a small piece of what she truly knows . Without accommodations,
     Ms. Ramsay does not have an equal opportunity to that of her peers to prove her medical
     acumen.



                                  1000 Oakland Drive Kalamazoo, MI 49008-8010
                                             PHONE 269.337 .6059




                                                                                                NBME00169



                                            Appx1177
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     I strongly advocate granting Jessica Ramsay accommodations for Step I and Step 2 CK
     examinations. Ms. Ramsay is a dedicated, hard-working student who works above her means to
     be successful in an academically rigorous environment that is inherently disadvantageous for
     someone with her disabilities. Ms. Ramsay's disabilities function as a barrier to her ability to be
     successful in an exam setting, even though she understands the material and draws from a solid
     fund of knowledge. When given proper accommodations, Ms. Ramsay has proven she can be
     successful. The accommodations granted by WMed have offered Ms. Ramsay a more level
     playing field; one that should be provided during Step I and Step 2 CK examinations.

     Any questions regarding Ms. Ramsay's accommodations may be directed to me via email at
     david.overton@mcd.wmich.edu or phone at 269-337-6059.

     Respectfully,




     David Overton, MD, MBA
     Associate Dean
     Chair, Essential Abilities Committee
     Western Michigan University Homer Stryker M.D. School of Medicine




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                                  I 000 Oakland Drive Kalamazoo, MI 49008-80 I 0
                                              PHONE 269.337.6059




                                                                                                  NBME00170



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                                                                                         1126194                      5-366-431-4
                                                                                         / Person . State ./CPTA-Step

                               United States Medical Licensing Examination®(USMLE®)
                                   Certification of Prior Test Accommodations
      Please type or print. To be completed and signed by medical school official responsible for student
      disability services.

      Applicant Name:        ,Jv,_s;,~    fQ...IM:s"-1/
                                                     l
                                                                            USMLE ID#: 5 ·.::i.Jz..k..·.iil_-_i

      I certify thar\\,M\) \.\()~ 5\y~l(er          M.b. SoM          has officially approved and continuously
                                   Name o School
       provided the following accommodations for the above applicant beginning on                       \   0l \L\
                                                                                                       Date (Month/Y cor)


      I.   Accommodation(s) provided for _!:lassroom and clinical coursework:\ 'Q.J!..1 {too\'i\d,\l().,\\z.M
           ~ a.ssessroent) qut2                           oo ~et:.;AAi<itQtnl fxee. V<"* o.\w,lO.l'tre

           Reason for accommodation(s): M\eniion l)e:nci+                "1{lf'rruiiYfr4 bisotder ~ ( + bisotder




                                                                                    Title:~
                                                                                                 Title of Official
                                                                                    Date:   Ol.o/O(/ZQJ8


                                         Mail, fax, or e-mail completed form to:

                                                   Disability Services
                                          National Board of Medical Examiners
                                                   3750 Market Street
                                              Philadelphia, PA I 9104-3190
                                               Telephone: (215) 590-9700
                                                 FAX: (2 I5) 590-9422
                                          E-mail: tlisabiliLyscrviccs@nbmc.org
                                Call or e-mail to verify receipt of Fax and mai l submissions


    CPTA 201 J
)




                                                                                                                                      NBME00222



                                                           Appx1179
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                                                DEC1Sl~:o~:;TH:;::EE::~~::~~:~~~~:~:~~;~DE1'1i11111111111111111111111111111111111111111
     Student Name: ""J""ese.:s"'lc:.::a.:.R:.::ae.:.m:.::s=-
                                                          ay...__ _ _ __ _ _ __
                                                                                                                             1126190                5-366-431-4
                                                                                                                             WMU Homer Stryker-Testing
     Date Completed Accommodations Application Submitted:                            -'1~0,c.;.1""'
                                                                                                11-'-14..;..__ __ _ _ _ __


     Date of Essential Abilities Committee Meeting:                     -1=01~11~1~14~- --       - -- -


     Requested Accommodations:
     Extra time/unlimited time for exams; distraction-free testing space; use of visual aides (scrap paper, colored pencils, highlighters) for tests: paper tests; water

     & granola allowed during exams: access to counselor: free printing for notes/slldeshows: software or apps that can read text aloud to her




    The following Requested Accommodations were approved:
              0         Private room for exams
                           [Z]   No other student present
                           D     Other students with accommodations may be present
              D         Time and a half for exams
              0         Double time for exams

              0         Other (describe in detail additional accommodations e.g., instructions for food/drinks in testing room, colored
                        pencils, markers, etc.)
                        Granolabar/watertcotored penclls/hlghllghters/catculator for exams:addJUonal free prtnt allowance: text to speech software:counsel>OSA


                        Approved accommodations pertain to the following
                           [{] Summative Exam
                                       D Computer
                                       [Z]   Paper
)                          0     Anatomy Practical
                           [Z]   NBME Exam (computer only available)
                           [{J   iRAT
                                       D Computer
                                       0     Paper
                           0     OS CE
    If accommodation request was not approved or partially approved, provide reason(s):
    NOTE: student will be allowed time and one half for the written documentation portion of the OSCE (both practice and lest OSCE's). She will potentially be

    in the same space as other students when writing her documentation for OSCE.


    Committee Decision communicated to student by:...,o,.,,a~vle:.d..::Oc:.ve,.,r"t"o""n._.M
                                                                                           ...D
                                                                                              . .__ __ _ __ _ _ _ __                   _
    Date: 10/18/1 4

    Committee Decision communicated to Educational Affairs by: ...o...a..vl=d~O~v=ert..o~n'----- - - -- - -
    Date: 10/18/14

    Initial Accommodations Effective from _1_o_11_B1_1_4_ __ _ to                     5/1/15                    (date)

    Permanent Accommodations Effective from                       _1_01_1-'-a,_14_ __ _ _   to   5/1/1 5             (date)

    Annual Review of Approved Accommodations Completed:
    Date: _6_13_11_5_    _ __      _    _       Outcome:       Above accommodations extended until end of MS2 year (4/29/15)




                                                                                                                                                       NBME00196



                                                                             Appx1180
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                                       DECISION OF THE ESSENTIAL ABILITIES COMMITTEE STUDENT
                                               REQUEST FOR REASONABLE ACCOMMODATIONS

Student Name: ...J=es=ru=
                       ·c=a~
                           R=a=m=sa_.y_ _ _ __ _ _ _ __


Date Completed Accommodations Application Submitted: 11/3/15 (additional request submitted)

Date of Essential Abilities Committee Meeting: __1_11___121
                                                         ~ 1s.___ _ _ _ _ __


Requested Accommodations:

Jessie Is requesllng time and one half for complellng the written nole documentation requirement for her OSCEs.




The following Requested Accommodations were approved:
        D   Private room for exams
                   D No other student present·
                   DOther students with accommodations may be present
      [ZJ Time and a half for exams
        D   Double time for exams
        D   Other (describe in detail additional accommodations e.g., instructions for food/drinks in testing room, colored
               pencils, markers, etc.)


               Approved accommodations pertain to the follow ing
                   D Summative Exam
                              D
                            Computer
                              D
                             Paper
                   D Anatomy Practical
                   D NBME Exam (computer only available)
                   D iRAT
                              D
                            Computer
                             O
                             Paper
                   [ZJ   OSCE
If accommodation request was not approved or partially approved, provide reason(s):
NOTE: Jessie is approved for lime and one half for written note documentation or OSCE (both the practice and real OSCE). This does NOT mean a

separate environment for wriHng her notes or Increased time for the actual H&P wilh the patient.


Committee Decision communicated to student by:...,E""m"'es"'-'-
                                                            tY ,.,o,,,d""er""""
                                                                            M::::D_ _ __ __ _ __ _ _ __
Date: 1111s11s


Committee Decision communicated to Educational Affairs by: .,_H.,,a""rri,,,et:....:R.::o"'e'"'lo"-
                                                                                                r - - -- - - - - -
Date: 11113115


Initial Accommodations Effective from--- - -- - to - - -- -- - (date)

Permanent Accommodations Effective from ...c1..;.;11-"14""/-"1s;;.__    _ _ _    to   4/29/15            (date)

Annual Review of Approved Accommodations Completed:
Date: _ __ _ _ _ _ __                    Outcome: _ _ _ _ _ _ _ _ __ _ _ _ __ __ _ __ _ __ _ _ _ __ __




                                                                                                                                       NBME00197



                                                                  Appx1181
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                                              DECISION OF THE ESSENTIAL ABILITIES COMMITTEE STUDENT
                                                      REQUEST FOR REASONABLE ACCOMMODATIONS

     Student Name: ..:Jc::ces"'s"'ic,..a"'"R""a"'m""s:=.ay.___ _ _ _ _ _ _ __

     Date Completed Accommodations Application Submitted: _4_
                                                            12_91_1_6- - - - - - -- -

     Date of Essential Abilities Committee Meeting: ~6=/2~,1=6_ _ _ _ __ __

     Requested Accommodations:

     Extra lime/unlimited time for exams; distraction-free testing space; use of visual aides (scrap paper, colored pencils , highlighters) for tests; paper tests; water

     & granola allowed during exams; access to counselor; free printing for notes/slideshows; software or apps that can read text aloud to her




     The following Requested Accommodations were approved:
             0       Private room for exams
                        0       No other student present
                        D      Other students with accommodations may be present
             D      Time and a half for exams
             0       Double time for exams

             0      Other (describe in detail additional accommodations e.g., instructions for food/drinks in testing room, colored
                    pencils, markers, etc.)
                     Granolabar/water/colored pencils/hlghllghters/calculator for e,cams;addilional free print allowance; tell! to speech software;counsel> OSA


                    Approved accommodations pertain to the following
                        0      Summative Exam ·
                                    D Computer
                                    [Z]   Paper
 )                      [{] Anatomy Practical
                        [{] NBME Exam (computer only available)
                        (Z]    iRAT
                                    D Computer
                                    0     Paper
                        0
                       OSCE
     If accommodation request was not approved or partially approved, provide reason(s):
     NOTE: student will be allowed lime and one half for the written documentation portion of the OSCE (both practice and test OSCE's). She will potentially be

     In the same space as other ~tudents when writing her documentation for OSCE.


     Committee Decision communicated to student by:-=o~a:. :cv1,,.·d..,O::..:vc=.ertcso"'n"'-"'M"'D;...__ _ _ _ __ _ __ _ __
     Date: _.a"',2"-,1"'6'--- - - - -- - - -

     Committee Decision communicated to Educational Affairs by: _,T.!!n.,,,sc""h""a-"c"'a"-rr_ _ __ _ _ _ _ __
     Date: ...,6~161~1~6_ _ _ __ _ _ __


     Initial Accommodations Effective from _s,_4_t1_s_ _ __ _ to 4/30/17                                         (date)

     Permanent Accommodations Effective from _ _ _ ____ to _ _ _ _ _ _ (date)

     Annual Review of Approved Accommodations Completed:

     Date: _ _ _ _ _ _ _ __                    Outcome: _____ _ __ _ _ _ __ _ _ _ __ _ _ __ _ __ _ _ __ _ _


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                                                                                                                                                        NBME00198



                                                                           Appx1182
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                                                            DECISION OF THE ESSENTIAL ABILITIES COMMITTEE
                                                         STUDENT REQUEST FOR REASONABLE ACCOMMODATIONS

     Student Name:                _J_••_
                                       •i_ca_R_am_•_•:...v- - - - - - - - - - -


     Date Completed Accommodations Application Submitted:                                                        _J1_112_0_11_ _ _ _ _ _ _ _ __


     Date of Essential Abilities Committee Meeting:                                         _3/31_20_11_ _ _ _ _ _ _ __



    Requested Accommodations:
     1-2 additional minute, al the beginning of the patient enooooler lo allow (lha sludent] to fully read lhs     prompl, end 2x the original lime given for the note-writing portion for all remaining OSCEs.




    The following Requested Accommodations were approved:
               D         Private room for exams
                              D         No other student present
                              D         Other students with accommodations may be present
               D         Time and a half for exams
               0         Double time for exams

               0         Other (describe In detail additional accommodations e.g., instructions for food/drinks in testing room, colored
                         pencils, markers, etc.)
                          Je.ula will rtl'devi, 2 eddiUor,11 mlnutu al the beginning of lh• pationl enoounler during the OSCE lo utad the prompt




                         Approved accommodations perta in to the following
                              D         Summative Exam
                                             D        Computer

)                                            D        Paper
                              D        Anatomy Practical
                              D         NBME Exam (computer only available)
                              D         iRAT
                                             D Computer
                                             D        Paper
                      OSCE    0
    If accommodation request was not approved or partially approved, provide reason(s):




    Committee Decision communicated to student by:_E_nn_o_a_ro_•- - - - - - - - - - - - - - - -
    Date: _,_1312_0_11_ _ _ _ _ _ _ _ __

    Committee Decision communicated to Educational Affairs by:                                                         _E_~n_o_a_ro_e_ _ _ _ _ _ _ _ _ __
    Date: _31_312_0_11_ _ _ _ _ _ _ _ __


    Initial Accommodations Effective from _313_1_20_1_1_ __ _ _ to                                                 June 1, 2011                     (date)

    Annual Review of Approved Accommodations Completed:

    Date: _________                                         ·outcome:----- - - - - - - - - - - -- - -- - - - - - - - - -- -




                                                                                                                                                                                                       NBME00199



                                                                                                   Appx1183
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                                                           DECISION OF THE ESSENTIAL ABILITIES COMMITTEE
                                                        STUDENT REQUEST FOR REASONABLE ACCOMMODATIONS

    Student Name:                 _J_.,_,ica_Ra_m..
                                                 ____
                                                   Y _ _ _ _ _ _ _ _ _ __



     Date Completed Accommodations Application Submitted:                                                      _4_-2_
                                                                                                                   4-_2<1_11_ _ _ _ __ _ __


    Date of Essential Abilities Committee Meeting: _•._2•_-2_0_11_                                        _ _ _ _ _ _ __



    Requested Accommodations:
    E.xlrai\lnf!mlted time for l)(am1: di.strnc-Lton.-treo te.sllng $pace; us• cf vl!uaJ aides (scrap peper, colored ptndls, hlghtll9hl.er1) for tetls: paper tests; water & grano4a anowed fvring exam,: acce.&s \0 counselor,

    free pr1nllng for notes/slideshows; ,attware or apps thel can re,41d tex1 a10Ud t -2 eddltional mlnute.s al the beg(nning of the OSCE palienl enc:ol.#\(e,, and two timH lM oligln.al time '*"n ror the note-writing

    pon/on tor 111 remaining OSCE,.



    The following Requested Accommodations were approved:
               0Private room for exams
                   [{] No other student present
                              D
                         Other students with accommodations may be present
               DTime and a half for exams
               0Double time for exams
               0Other (describe in detail additional accommodations e.g., instruction5 for food/drinks in testing room, colored
                pencils, markers, etc.)


                         Approved accommodations pertain to the following
                              0Summative Exam
                                             0
                                       Computer
)                                  [ZJ Paper
                              0Ana to my Practical
                              0NBME Exam (computer only available)
                              0        iRAT
                                             D   Computer
                                             [{] Paper
                                       OSCE
    If accommodation request was not approved or partially approved, provide reason(s):




    Committee Decision communicated to student by:_e_r1n_o_a,_o•'------ - - -- - - - - - - -
    Date: _•_-11_-20_,_1_ _ _ _ _ _ _ __

    Committee Decision communicated to Educational Affairs by:                                                       _E_~n_D_flf_oe
                                                                                                                                 _ _ _ _ _ _ _ _ _ _ __
    Date: ..21.2011


    Initial Accommodations Effective from _o1-_2_1._20_11_ _ _ _ _ to                                            s -1J.201a                         (date)

    Annual Review of Approved Accommodations Completed:

    Date: - - - - - - - - -                                 Outcome: - -- -- - - - - - - - - - - - - - -- -- - - - - - - - - --




                                                                                                                                                                                                        NBME00200



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     April 12, 2018

     Disability Services
     National Board of Medical Examiners
     3750 Market Street       -
     Philadelphia, PA 19104,.31901


     To Whom It May Concern:

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)
                                 I 000 Oakland Drive Kalamazoo, MI 49008-80 I 0
                                             PHONE 269.337.6059




                                                                                                                   NBME00168



                                            Appx1185
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                    Use of calculator and assorted colored pencils and highlighters (provided for
                    testing use only, kept by testing staff when not testing)
                    Extra scrap paper
                    Allowed to have granola bar, water, and medications in exam room

            Clinical Skills (OSCE) Exams:
                   Two additional minutes at the beginning of the OSCE patient encounter to read
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     acumen.



                                  1000 Oakland Drive Kalamazoo, MI 49008-8010
                                             PHONE 269.337 .6059




                                                                                                NBME00169



                                            Appx1186
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     I strongly advocate granting Jessica Ramsay accommodations for Step I and Step 2 CK
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     successful in an exam setting, even though she understands the material and draws from a solid
     fund of knowledge. When given proper accommodations, Ms. Ramsay has proven she can be
     successful. The accommodations granted by WMed have offered Ms. Ramsay a more level
     playing field; one that should be provided during Step I and Step 2 CK examinations.

     Any questions regarding Ms. Ramsay's accommodations may be directed to me via email at
     david.overton@mcd.wmich.edu or phone at 269-337-6059.

     Respectfully,




     David Overton, MD, MBA
     Associate Dean
     Chair, Essential Abilities Committee
     Western Michigan University Homer Stryker M.D. School of Medicine




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                                  I 000 Oakland Drive Kalamazoo, MI 49008-80 I 0
                                              PHONE 269.337.6059




                                                                                                  NBME00170



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                                           UNITED STATES MEDICAL LICENSING EXAMINATION®
  1LJ§·MLE
   United State,,                                                       STEP 1 SCORE REPORT
     Medical
    Licensing                                               This score report is provided for the use of the examinee.
   Examination
'---------' ®                      Third party users ofUSMLE infonnation are advised to rely solely on official USMLE transcripts.



 Ramsay, Jessica Erin
 USMLEID:            5~664314                                                                     Test Date: July 20, 2017


The USMLE is a single examination program cons1stmg of three Steps designed to assess an examinee's
understanding of and ability to apply concepts and principles that are important in health and disease and that
constitute the basis of safe and effective patient care. Step 1 is designed to assess whether an examinee understands
and can apply important concepts of the sciences basic to the practice of medicine, with special emphasis on
principles and mechanisms underlying health, disease, and modes of therapy. The inclusion of Step 1 in the
USMLE sequence is intended to ensure mastery of not only the sciences underlying the safe and competent practice
of medicine in the present, but also the scientific principles required for maintenance of competence through lifelong
learning. Results of the examination are reported to medical licensing authorities in the United States and its
territories for use in granting an initial license to practice medicine. This score§ represents your result for the
administration of Step 1 on the test date shown above.



                            This result is based on the minimum passing score recommended by USMLE for Step I .
                            Individual licensing authorities may accept the USMLE-recommended pass/fail result or may
       FAIL
                            establish a different passing score for their own jurisdictions.




                           This score is determined by your overall performance on Step 1. For administrations between
                           Jan l, 2016 and Dec 31, 2016, the mean and standard deviation for first-time examinees from
       191                 U.S. and Canadian medical schools were approximately 228 and 21, respectively, with most
                           scores falling between 140 and 260. A score of 192 is set by USMLE to pass Step 1. The
                           standard error of measurement (SEM)t for this scale is six points.




1Effective April I, 2013, test results are reported on a three-digit scale only. Test results reported as passing represent an exam score of 75 or
higher on a two-digit scoring scale.

1Your score is influenced both by your general understanding of the basi c biomedical sciences and the specific set of items selected for this
Step I examination. The Standard Error of Measurement (SEM) provides an index of the variation in scores that would be expected to occur if
an examinee were tested repeatedly using different sets of items covering similar content.




                                                                                                                                    NBME00194



                                                            Appx1188
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    E9 NBMff National _Board of_ Me_dic;I Ex,/!~,HI~!!.,,_,
       -                                      Subject Exammat1on Progf'BME                          Subject    Exams   (some


)                                         Score Interpretation Guide for Students
                                          -
                                 NBME® Comprehensive Basic Science Examination

    The enclosed Performance Report lists your Subject Test score on the Comprehensive Basic Science Examination and
    provides a Performance Profile to aid in self-assessment. The content covered on the Comprehensive Basic Science
    Examination (CBSE) is based on the United States Medical Licensing Examination® (USMLE®) Step 1. The CBSE is
    basically a shorter version of Step 1 that covers material that is typically learned during basic science medical education.
    Subject test scores are scaled so that a score of 70 on the CBSE is approximately equivalent to a score of 200 on USMLE
    Step 1. The vast majority of scores range from 45 to 95, and although the scores have the "look and feel" of percent-correct
    scores, they are not. Because the Comprehensive Basic Science Examination and Step 1 cover similar content, this scale
    provides a useful tool for comparing your performance with that of a large, nationally representative group taking the
    licensing exam at the end· of the second year of medical school. Additional information about the relationship between
    CBSE scores and Step 1 scores is provided in the table below.

    Precision of Scores
    Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
    (im)precision of scores. The SEM indicates how far the score a student earns on the examination is likely to stray from
    his/her "true" proficiency level. The SEM is approximately 3 points for the CBSE Subject Examination scores. Using the
    SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated testing using
    different sets of items covering the same content. An interval that will encompass about two thirds of the observed scores
    for a given true score may be found by adding the SEM to a score and subtracting it from that score . For example, if a
    student's true proficiency on the Subject Examination is 60, the score he/she achieved on the examination will usually (two
    times out of three) fall between 57 and 63 (60 - 3 and 60 + 3).



    Approximate USMLE Performance Equivalents                                        Approximate Step 1 Equivalents
    The table to the right provides approximate performance                             Step 1                     Step 1
    equivalents for USMLE Step 1, making it possible for you            Score         Equivalent        Score    Equivalent
    to translate your Subject Test score to the scale used for
    Step 1. Specific information on Step 1 and the current                  ~   94      ~   260           68           195
    minimum passing score is available on the web site for                      94          260           66           190
    USMLE (http://www.usmle.org).                                               92          255           64           185
                                                                                90          250           62           180
    To use the table, locate your Subject Test score in the
    associated column and note the entry in the column                          88          245           60           175
    headed "Step 1 Equivalent". For example, if your score is                   86          240           58           170
    62, the corresponding entry of 180 indicates that your                      84          235           56           165
    performance on the Subject Test is approximately                            82          230           54           160
    equivalent to a Step 1 score of 180.
                                                                                80          225           52           155
                                                                                78          220           50           150
    NOTE: This examination is not intended to predict
    performance on USMLE. Rather, it is intended to be                          76          215           48           145
    used as a tool to determine your relative areas of                          74          210           46           140
    strength and weakness in general topic areas.                               72          205         s 46       s 140
                                                                                70          200




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                                                                                                                  NBME00171



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    (~9 NBME®National Board of Medical Examiners       Subject Examination Program
                                                           Examinee Performance Profile
                                                             Comprehensive Basic Science
                                                 023070 - Western Michigan U Homer Stryker MD SOM


    ID: 1164440                                                                                             Test Date(s): 04/28/2017
    Name: RAMSAY JESSICA ERIN                                                                                 Total Scaled Score: 66
    The score you received on this examination is shown above. This Performance Profile is provided to aid in self-assessment. The
    shaded area defines a borderline level of performance for each content area; borderline perfonnance is comparable to a HIGH
    FAIL/LOW PASS on the total test of USMLE~ Step 1. (See NOTE on Page 1.)
    Performance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a performance
    band reflects the precision of measurement: narrower bands Indicate greater precision. A •11 or II._ symbol indicates that your
    performance band extends beyond the displayed portion of the scale. Small differences in the location of bands should not be
    over-interpreted. If two bands overlap, performance in the associated areas should be interpreted as similar. Because CBSE is
    designed to be Integrative, many items contribute to more than one content area. Use caution when interpreting differences in
    performance across content areas.

    Additional information about the topics covered in each content area can be found in the USMLE Step 1 Content Description and
    Sample Test Materials at www.usmle.org. An explanation of your score along with a table of approximate USMLE Step 1 performance
    equivalents for CBSE scores is included in the Score Interpretation Guide for Students.

                                                                       Lower         Borderline                               Higher
                                                                    Performance     Performance                            Performance

    Discipline
    Behavioral Sciences
    Biochemistry                                                    ,cma:::===:!:I
    Gross Anatomy & Embryology                                       .iuc==:::::1-
    Histology & Cell Biology
    Microbiology & Immunology
    Pathology
    Pharmacology
    Physiology
    System
    General Principles of Foundational Science                      411
    Behavioral Heahh and Nervous Systems/Special Senses             41IN-SWMPPIJ
    Musculoskeletal, Skin, & Subcutaneous Tissue
    Cardiovascular System
    Respiratory System
    Gastrointestinal System
    RenaVUrinary System
    Multisystem Processes & Disorders




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     fl':9 NBME®National Board of Medical Examiners
      , . ,~.,,                                Subject Examination Program

                                          Score Interpretation Guide for Examinees

                                                           Surgery Examination


     The enclosed performance report lists your subject examination score and provides a performance profile to aid in
     self-assessment. NBME® subject examinations provide medical schools with a tool for measuring examinees'
     understanding of the clinical sciences. Questions on the examinations were written and reviewed by national test
     committees preparing material for Step 2 Clinical Knowledge (CK) of the United States Medical Licensing Examination®.
     Prior to publication, test forms are reviewed by a panel of course directors representing the content of each examination.
     While these examinations are designed to be broadly appropriate as part of overall examinee assessment, since course
     objectives vary across schools, the congruence between subject examination content and course objectives should be
     considered when interpreting test scores.

     Subject Examination Scores
     The subject examination score is an equated percent correct score that represents mastery of the content domain
     assessed by the examination. It is calculated as a percentage of items in the total content domain that would be answered
     correctly based on an examinee's proficiency level on the test. The subject examination scores are equated across test
     administrations and are statistically adjusted for variations in test form difficulty. Consequently, these scores can be used
     to compare and track school and examinee performance over time:
     The subject examination scores are placed on a classic percent correct metric to ease interpretation and use. This scale
     provides a useful tool for comparing your performance with that of a nationally representative group taking this
     examination as an end-of-clerkship assessment. For recent administrations, the mean and standard deviation for
     first-time examinees from LCME-accredited U.S. and Canadian medical schools were approximately 73 and 8,
     respectively.
     Please note that these scores cannot be compared to scores reported prior to August 2015 because they were on a
     different score scale.


     Precision of Scores

     Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
     (im)precision of scores. The SEM indicates how far the score you earn on the _examination is likely to stray from your "true"
     proficiency level. The SEM is approximately 4 for this examination.

     Using the SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated
     testing using different sets of items covering the same content. An interval that will encompass about two thirds of the
     observed scores for a given true score may be found by adding the SEM to a score and subtracting it from that score. For
     example, if your true proficiency on the examination is 75, the score you achieved on the examination will usually (two
     times out of three) fall between 71 and 79 (75- 4 and 75 + 4).




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                  Board of Medical Examiners
              Subject Examination Program
                                                           Examinee Performance Profile
                                                                             Surgery
                                            023070 - Western Michigan U Homer Stryker MD SOM


 ID: 1164440                                                                                                                                             Test Date(s): 04/27/2017
 Name: RAMSAY JESSICA ERIN                                                                                              Total Equated Percent Correct Score*: 67
 The score you received on this examination is shown above . This Performance Profile is provided to aid in self-assessment. The profile
 provides information regarding your performance compared to the performance of a comparison group of examinees on the major
 content areas of the examination. The comparison group includes first-time takers from LCME-accredited medical schools who took this
 examination as a final clerkship examination under standard testing conditions. The mean performance of the comparison group is
 represented by the vertical line.

 Performance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a performance
 band reflects the precision of measurement: narrower bands indicate greater precision. A                                   _.II
                                                                                                or 11;. symbol indicates that your
 performance band extends beyond the displayed portion of the scale. Because many of the content areas are based on a relatively
 small number of items, small differences in the location of bands should not be over-interpreted. If two bands overlap, performance in
 the associated areas should be interpreted as similar. Please note that many items may contribute to more than one content area. Use
 caution when interpreting differences in performance across content areas.

                                                                        Lower                                                  Avera.ge                                        Higher
                                                                     Performance                                              Performance                                   Performance

 Organ Systems
 Cardiovascular Disorders                                                                                                                                              -~

 Diseases of the Respiratory System                                                                        n                             ·- I
 Nutritional & Digestive Disorders                                                                         ..                       ..     I
                                                                                                  -                           ..           I
 Renal, Urinary & Male Reproductive Systems                                                 -·                                                                  ~



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 Diseases of Skin and the Nervous and Musculoskeletal Systems                    •                                                       -           - ..
 Gynecologic, Obstetric an_d Endocrine and Metabolic Disorders
 Physician Tasks
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 Mechanisms of Disease                                                                                                         ..
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 Diagnosis
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 Management                                                              r
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 Site of Care
 Ambulatory
 Emergency Department
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 In-Patient
 Patient Group
 Male                                                                                                                   "
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 Female                                                                           ,.,
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 Geriatric                                                                                                                                                  '




·Please note that equated percent correct scores cannot be compared to scores reported prior to August 2015 which were on a different score scale.

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                                                                 Appx1192
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~) NBME®National Board of Medical Examiners
                                          Subject Examination Program

                                     Score Interpretation Guide for Examinees

                                                    Psychiatry Examination


The enclosed performance report lists your subject examination score and provides a performance profile to aid in
self-assessment. NBME ® subject examinations provide medical schools with a tool for measuring examinees'
understanding of the clinical sciences. Questions on the examinations were written and reviewed by national test
committees preparing material for Step 2 Clinical Knowledge (CK) of the United States Medical Licensing Examination®.
Prior to publication, test forms are reviewed by a panel of course directors representing the content of each examination.
While these examinations are designed to be broadly appropriate as part of overall examinee assessment, since course
objectives vary across schools, the congruence between subject examination content and course objectives should be
considered when interpreting test scores.

Subject Examination Scores
The subject examination score is an equated percent correct score that represents mastery of the content domain
assessed by the examination . It is calculated as a percentage of items in the total content domain that would be answered
correctly based on an examinee's proficiency level on the test. The subject examination scores are equated across test
administrations and are statistically adjusted for variations in test form difficulty. Consequently, these scores can be used
to compare and track school and examinee performance over time.
The subject examination scores are placed on a classic percent correct metric to ease interpretation and use. This scale
provides a useful tool for comparing your performance with that of a nationally representative group taking this
examination as an end-of-clerkship assessment. For recent administrations, the mean and standard deviation for
first-time examinees from LCME-accredited U.S. and Canadian medical schools were approximately 80 and 8,
respectively.
Please note that these scores cannot be compared to scores reported prior to August 2015 because they were on a
different score scale.


Precision of Scores

Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
(im)precision of scores . The SEM indicates how far the score you earn on the examination is likely to stray from your "true"
proficiency level. The SEM is approximately 4 for this examination.

Using the SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated
testing using different sets of items covering the same content. An interval that will encompass about two thirds of the
observed scores for a given true score may be found by adding the SEM to a score and subtracting it from that score . For
example , if your true proficiency on the examination is 75, the score you achieved on the examination will usually (two
times out of three) fall between 71 and 79 (75 - 4 and 75 + 4 ).




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                                                                                                              NBME00175



                                                    Appx1193
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    mNBME4>                               National Board of Medical Examiners
                                                       Subject Examination Program
                                                            Examinee Performance Profile
                                                                            Psychiatry
                                             023070 - Western Michigan U Homer Stryker MD SOM


     ID: 1164440                                                                                                      Test Date(s): 03/03/2017
     Name: RAMSAY JESSICA ERIN                                                                         Total Equated Percent Correct Score•: 72
    The score you received on this examination is shown above. This Performance Profile is provided to aid in self-assessment. The profile
    provides information regarding your performance compared to the performance of a comparison group of examinees on the major
    content areas of the examination. The comparison group includes first-time takers from LCME-accredited medical schools who took this
    examination as a final clerkship examination under standard testing conditions. The mean performance of the comparison group is
    represented by the vertical line.

    Performance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a performance
    band reflects the precision of measurement: narrower bands indicate greater precision. A ~II or Ill• symbol indicates that your
    performance band extends beyond the displayed portion of the scale. Because many of the content areas are based on a relatively
    sma ll number of items, small differences in the location of bands should not be over-interpreted. If two bands overlap, performance in
    the associated areas should be interpreted as similar. Please note that many items may contribute to more than one content area. Use
    caution when interpreting differences in performance across content areas.

                                                                             Lower                           Average                         Higher
                                                                          Performance                       Performance                    Performance

     Organ Systems
     Mental DisOfders
     Diseases of the Nervous System & Special Senses
                                                                                                                 I                                ..
     Physician Tasks
     Mechanisms of Disease                                               <fl
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     Diagnosis
                                                                                                                                                          -
     Management
     Site of Care
     Ambulatory
                                                                                                                 I

     Emergency Department                                                                                        ':--:-.

     Patient Group
     Male
     Female                                                              411
     Child                                                                                                                          ,.   - -      -
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    ·Ptease note that equated percent correct scores cannot be compared to scores reported prior to August 20 15 which were on a different score scale.

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                                                                                                                                         NBME00176



                                                                   Appx1194
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,:~} NBME~National Board of Medical Examiners
                                          Subject Examination Program

                                     Score Interpretation Guide for Examinees

                                                     Pediatrics Examination


The enclosed performance report lists your subject examination score and provides a performance profile to aid in
self-assessment. NBME® subject examinations provide medical schools with a tool for measuring examinees'
understanding of the clinical sciences . Questions on the examinations were written and reviewed by national test
committees preparing material for Step 2 Clinical Knowledge (CK) of the United States Medical Licensing Examination®.
Prior to publication, test forms are reviewed by a panel of course directors representing the content of each examination.
While these examinations are designed to be broadly appropriate as part of overall examinee assessment, since course
objectives vary across schools, the congruence between subject examination content and course objectives should be
considered when interpreting test scores.

Subject Examination Scores
The subject examination score is an equated percent correct score that represents mastery of the content domain
assessed by the examination . It is calculated as a percentage of items in the total content domain that would be answered
correctly based on an examinee's proficiency level on the test. The subject examination scores are equated across test
administrations and are statistically adjusted for variations in test form difficulty. Consequently, these scores can be used
to compare and track school and examinee performance over time .
The subject examination scores are placed on a classic percent correct metric to ease interpretation and use. This scale
provides a useful tool for comparing your performance with that of a nationally representative group taking this
examination as an end-of-clerkship assessment. For recent administrations, the mean and standard deviation for
first-time examinees from LCME-accredited U.S. and Canadian medical schools were approximately 77 and 8,
respectively.
Please note that these scores cannot be compared to scores reported prior to August 2015 because they were on a
different score scale.


Precision of Scores

Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
(im)precision of scores. The SEM indicates how far the score you earn on the examination is likely to stray from your "true"
proficiency level. The SEM is approximately 4 for this examination.

Using the SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated
testing using different sets of items covering the same content. An interval that will encompass about two thirds of the
observed scores for a given true score may be found by adding the SEM to a score and subtracting it from that score . For
example, if your true proficiency on the examination is 75 , the score you achieved on the examination will usually (two
times out of three) fall between 71 and 79 (75 - 4 and 75 + 4 ).




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                                                                                                              NBME00177



                                                    Appx1195
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 .... r.::,., .....
                      NBME~National Board of Medical Examiners
                                                     Subject Examination Program
                                                          Examinee Performance Profile
                                                                          Pediatrics
                                           023070 - Western Michigan U Homer Stryker MD SOM


ID: 1164440                                                                                                            Test Date(s): 12/22/2016
Name: RAMSAY JESSICA ERIN                                                                               Total Equated Percent Correct Score*: 79
The score you received on this examination is shown above. This Performance Profile is provided to aid in self-assessment. The profile
provides information regarding you r performance compared to the performance of a comparison group of examinees on the major
content areas of the examination. The comparison group includes first-time takers from LCME-accredited medical schools who took this
examination as a final clerkship examination under standard testing conditions. The mean performance of the comparison group is
represented by the vertical line.

Performance bands indicate areas of relative strength and weakness . Some bands are wider than others . The width of a performance
band reflects the precision of measurement: narrower bands indicate greater precision. A ~II or II~ symbol indicates that your
performance band extends beyond the displayed portion of the scale. Because many of the content areas are based on a relatively
small number of items, small differences in the location of bands should not be over-interpreted. If two bands overlap, performance in
the associated areas should be interpreted as sim ilar. Please note that many items may contribute to more than one content area. Use
caution when interpreting differences in performance across content areas.

                                                                         Lower                                     Average                                                Higher
                                                                      Performance                                 Performance                                           Performance

 Organ Systems
                                                                                               .,, . .c
 Immunologic Disorders and Diseases of the Blood                     ~I
 Nutritional & Digestive Disorders
                                                                                           .   - -                    -
                                                                                                                              I           ----
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                          .      --- -                                                                                        I
 Renal, Urinary & Male Reproductive Systems                                                                                       :.:c-                        •
                                                                                                                                                                       -
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 Diseases of Skin and the Nervous and Musculoskeletal Systems                                   .•..                          I - ...                -
 Cardiovascular Disorders and Diseases of the Respiratory System
                                                                                                                              I
                                                                                                                  -                                                    -
                                                                                                                          I
                                                                                                                                                                   -
 Gynecologic, Obstetric and Endocrine and Metabolic Disorders                                                                                                                              m,
 Physician Tasks


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Mechanisms of Disease
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 Diagnosis
                                                                                                                              I                  ·- -                      -       -
Health Maintenance and Management                                    1·                                                       I
 Site of Care
Ambulatory                                                                                         ..                                      .
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Emergency Department
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In-Patient
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 Patient Group
Male
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Female                                                    .
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' Please note that equated percent correct scores cannot be compared to scores reported prior to August 2015 which were on a different score scale.
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                                                                   Appx1196
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             NBME"National Board of Medical Examiners
                       Subject Examination Program

                                         Score Interpretation Guide for Examinees

                                             Obstetrics and Gynecology Examination


    The enclosed performance report lists your subject examination score and provides a performance profile to aid in
    self-assessment. NBME® subject examinations provide medical schools with a tool for measuring examinees'
    understanding of the clinical sciences. Questions on the examinations were written and reviewed by national test
    committees preparing material for Step 2 Clinical Knowledge (CK) of the United States Medical licensing Examination®.
    Prior to publication. test forms are reviewed by a panel of course directors representing the content of each examination.
    While these examinations are designed to be broadly appropriate as part of overall examinee assessment, since course
    objectives vary across schools, the congruence between subject examination content and course objectives should be
    considered when interpreting test scores.


    Subject Examination Scores
    The subject examination score is an equated percent correct score that represents mastery of the content domain
    assessed by the examination. It is calculated as a percentage of items in the total content domain that would be answered
    correctly based on an examinee's proficiency level on the test. The subject examination scores are equated across test
    administrations and are statistically adjusted for variations in test form difficulty. Consequently, these scores can be used
    to compare and track school and examinee performance over time.
    The subject examination scores are placed on a classic percent correct metric to ease interpretation and use. This scale
    provides a useful tool for comparing your performance with that of a nationally representative group taking this
    examination as an end-of-clerkship assessment. For recent administrations, the mean and standard deviation for
    first-time examinees from LCME-accredited U.S. and Canadian medical schools were approximately 76 and 9,
    respectively .

    Please note that these scores cannot be compared to scores reported prior to August 2015 because they were on a
    different score scale.


    Precision of Scores

    Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
    (im)precision of scores. The SEM indicates how far the score you earn on the examination is likely to stray from your "true"
    proficiency level. The SEM is approximately 4 for this examination.

    Using the SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated
    testing using different sets of items covering the same content. An interval that will encompass about two thirds of the
    observed scores for a given true score may be found by adding the SEM to a score and subtracting it from that score. For
    example, if your true proficiency on the examination is 75, the score you achieved on the examination will usually (two
    times out of three) fall between 71 and 79 (75 - 4 and 75 + 4 ).




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                                                             Page 1 of 2




                                                                                                                  NBME00179



                                                        Appx1197
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(:~~NBME~National Board of Medical Examiners
                                                  Subject Examination Program
                                                       Examinee Performance Profile
                                                             Obstetrics and Gynecology
                                         023070 - Western Michigan U Homer Stryker MD SOM


ID: 1164440                                                                                                                                    Test Date(s): 10/21/2016
Name: RAMSAY JESSICA ERIN                                                                              Total Equated Percent Correct Score*: 81
The score you received on this examination is shown above . This Performance Profile is provided to aid in self-assessment. The profile
provides information regard ing your performance compared to the performance of a comparison group of examinees on the major
content areas of the examination . The comparison group includes first-time takers from LCME-accredited medical schools who took this
examination as a final clerkship examination under standard testing conditions. The mean performance of the compari son group is
represented by the vertical line.

Performance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a performance
band reflects the precision of measurement: narrower bands indicate greater precision. A ~II or II~ symbol indicates that your
performance band extends beyond the displayed portion of the scale. Because many of the content areas are based on a relatively
small number of items, small differences in the location of bands should not be over-interpreted. If two bands overlap, performance in
the associated areas should be interpreted as similar. Please note that many items may contribute to more than one content area. Use
caution when interpreting differences in performance across content areas.

                                                                        Lower                                    Average                                                           Higher
                                                                     Performance                                Performance                                                      Performance

 Organ Systems
 Gynecologic Disorders
 Disorders of Pregnancy and Childbirth                                                                  ,,.._,
                                                                                                                                    -..    ··- --              --
                                                                                                                       I
 Gynecologic Disorders: Mechanisms of Disease
                                                                                                                                                    .                                    .
 Disorders of Pregnancy: Mechanisms of Disease                                                 .                        .                      .,

 Gynecologic Disorders: Diagnosis                                                                                      I                                                                              1!11-
                                                                                                                                                                                             .
                                                                                                                       J                                       .
                                                                                                                                                                       .. -                      ..
 Disorders of Pregnancy: Diagnosis
                                                                                           -                                . - -. "''    .•

                                                                                                                                                          -
 Gynecologic Disorders: Health Maintenance and Management                                      ·-~     -~       ~
                                                                                                                           "
                                                                                                                           ~
                                                                                                                                                                             =
                                                                                                                                                                                             -
 Disorders of Pregnancy: Health Maintenance and Management                                                                                                             ··-   :_;a

 Physician Tasks
 Health and Health Maintenance                                                     ~· ..                                                                                .
                                                                                                                                                          --. -         -
 Mechanisms of Disease                                                                                                         -                    . ----
Diagnosis                                                                                                                                                                                             Iii>
Management.                                                                                                 7
                                                                                                                                         ----                      .
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                                                                                                                                                                       -            .,
                                                                                                                       I

 Site of Care
Ambulatory                                                                                                          IC:"~
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                                                                                                                                                        --.,   .
In-Patient                                                                         ~




*Please note that equated percent correct scores cannot be compared to scores reported prior to August 2015 which were on a different score scale.
                                                                   Page 2 of 2




                                                                                                                                                                        NBME00180



                                                              Appx1198
         Case: 20-1058               Document: 24              Page: 180             Date Filed: 03/23/2020




    ~       NBME~National Board of Medical Examiners
                                              Subject Examination Program

                                         Score Interpretation Guide for Examinees

                                           Modular Family Medicine Core Examination


    The enclosed performance report lists your subject examination score and provides a performance profile to aid in
    self-assessment. NBME ® subject examinations provide medical schools with a tool for measuring examinees'
    understanding of the clinical sciences. Questions on this examination were written and reviewed by national test
    committees . Prior to publication, test forms are reviewed by a panel of course directors from this discipline. While these
    examinations are designed to be broadly appropriate as part of overall examinee assessment, since course objectives
    vary across schools, the congruence between subject examination content and course objectives should be considered
    when interpreting test scores.

    Subject Examination Scores
    The subject examination score is an equated percent correct score that represents mastery of the content domain
    assessed by the examination. It is calculated as a percentage of items in the total content domain that would be answered
    correctly based on an examinee's proficiency level on the test. The subject examination scores are equated across test
    administrations and are statistically adjusted for variations in test form difficulty. Consequently, these scores can be used
    to compare and track school and examinee performance over time.
    The subject examination scores are placed on a classic percent correct metric to ease interpretation and use. This scale
    provides a useful tool for comparing your performance with that of a nationally representative group taking this
    examination as an end-of-clerkship assessment. For recent administrations, the mean and standard deviation for
    first-time examinees from LCME-accredited U.S. and Canadian niedical schools were approximately 73 and 9,
    respectively.

)   Please note that these scores cannot be compared to scores reported prior to August 2015 because they were on a
    different score scale.


    Precision of Scores

    Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
    (im)precision of scores. The SEM indicates how far the score you earn on the examination is likely to stray from your "true·
    proficiency level. The SEM is approximately 5 for this examination.

    Using the SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated
    testing using different sets of items covering the same content. An interval that will encompass about two thirds of the
    observed scores for a given true score may be found by adding the SEM to a score and subtracting it from that score. For
    example, if your true proficiency on the examination is 75, the score you achieved on the examination will usually (two
    times out of three) fall between 70 and 80 (75 - 5 and 75 + 5).




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                                                                                                                NBME00181



                                                       Appx1199
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{l) NBME«National Board of Medical Examiners
                                                   Subject Examination Program
                                                          Examinee Performance Profile
                                                                Modular Family Medicine Core
                                             023070 - Western Michigan U Homer Stryker MD SOM

ID: 1164440                                                                                                         Test Date(s): 08/26/2016
Name: RAMSAY JESSICA ERIN                                                                             Fame Equated Percent Correct Score*: 60
The score you received on this examination is shown above. This Performance Profile is provided to aid in self-assessment. The profile
provides information regarding your performance compared to the performance of a comparison group of examinees on the major
content areas of the examination. The comparison group includes first-time takers from LCME-accredited medical schools who took this
examination as a final clerkship examination under standard testing conditions. The mean performance of the comparison group is
represented by the vertical line.

Performance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a performance
band reflects the precision of measurement: narrower bands indicate greater precision. A ~II or II~ symbol indicates that your
performance band extends beyond the displayed portion of the scale. Because many of the content areas are based on a relatively
small number of items, small differences in the location of bands should not be over-interpreted. If two bands overlap, performance in
the associated areas should be interpreted as similar. Please note that many items may contribute to more than one content area. Use
caution when interpreting differences in performance across content areas.

                                                                        Lower                               Average                       Higher
                                                                      Performance                          Performan ce                 Performance

 Organ Systems
 Diseases of Skin and Musculoskeletal Systems                                                          ~                                          .,

Cardiovascular Disorders & Diseases of the Respiratory System
Mental Disorders and Diseases of the Nervous System
                                                      . .. .
                                                                      <Ill
                                                                      ,m                  -                     I    -.
                                                                                                                           ..
Gynecologic Disorders & Renal, Urinary, Male Reproductive Systems                                                         .~
 Physician Tasks
Chronic Care                                                          <Ill
Health and Health Maintenance                                         "4JI                        .
Management                                                                                                        - .
Diagnosis including Mechanisms of Disease                             <llir...
 Patient Group
Pediatric (0 - 17)                                                    <CHEM&                  a
Adutt (18 • 65)
Geriatric (66 and older)                                              ""                                   ~

                                                                                                                      - - ...




' Please note that equated percent correct scores cannot be compared to scores reported prior to August 201 5 which were on a different score scale.
                                                                      Page 2 of 2




                                                                                                                                   NBME00182



                                                                Appx1200
     Case: 20-1058               Document: 24              Page: 182             Date Filed: 03/23/2020




(f-9 NBME~National Board of Medical Examiners
                                          Subject Examination Program

                                     Score Interpretation Guide for Examinees

                                                     Medicine Examination


The enclosed performance report lists your subject examination score and provides a performance profile to aid in
self-assessment. NBME® subject examinations provide medical schools with a tool for measuring examinees'
understanding of the clinical sciences. Questions on the examinations were written and reviewed by national test
committees preparing material for Step 2 Clinical Knowledge (CK) of the United States Medical Licensing Examination®.
Prior to publication, test forms are reviewed by a panel of course directors representing the content of each examination .
While these examinations are designed to be broadly appropriate as part of overall examinee assessment, since course
objectives vary across schools, the congruence between subject examination content and course objectives should be
considered when interpreting test scores.


Subject Examination Scores
The subject examination score is an equated percent correct score that represents mastery of the content domain
assessed by the examination. It is calculated as a percentage of items in the total content domain that would be answered
correctly based on an examinee's proficiency level on the test. The subject examination scores are equated across test
administrations and are statistically adjusted for variations in test form difficulty. Consequently, these scores can be used
to compare and track school and examinee performance over time.
The subject examination scores are placed on a classic percent correct metric to ease interpretation and use. This scale
provides a useful tool for comparing your performance with that of a nationally representative group taking this
examination as an end-of-clerkship assessment. For recent administrations, the mean and standard deviation for
first-time examinees from LCME-accredited U.S. and Canadian medical schools were approximately 73 and 9,
respectively.                                                             ·

Please note that these scores cannot be compared to scores reported prior to August 2015 because they were on a
different score scale.


Precision of Scores

Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
(im)precision of scores. The SEM indicates how far the score you earn on the examination is likely to stray from your "true"
proficiency level. The SEM is approximately 4 for this examination.

Using the SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated
testing using different sets of items covering the same content. An interval that will encompass about two thirds of the
observed scores for a given true score may be found by adding the SEM to a score and subtracting it from that score. For
example , if your true proficiency on the examination is 75, the score you achieved on the examination will usually (two
times out of three) fall between 71 and 79 (75 - 4 and 75 + 4 ).




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                                                                                                            NBME00183



                                                   Appx1201
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~            NBME~National Board of Medical Examiners
                                                   Subject Examination Program
                                                        Examinee Performance Profile
                                                                             Medicine
                                               023070 - Western Michigan U Homer Stryker MD SOM


ID: 11 64440                                                                                                            Test Date(s): 06/24/2016
Name: RAMSAY JESSICA ERIN                                                                               Total Equated Percent Correct Score*: 65
The score you received on this examination is shown above. This Performance Profile is provided to aid in self-assessment. The profile
provides information regarding your performance compared to the perfonnance of a comparison group of examinees on the major
content areas of the examination. The comparison group includes first-time takers from LCME-accredited medical schools who took this
examination as a final clerkship examination under standard testing conditions. The mean performance of the comparison group is
represented by the vertical line.

Perfonnance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a performance
band reflects the precision of measurement: narrower bands indicate greater precision. A <(II or II~ symbol indicates that your
perfomiance band extends beyond the displayed portion of the scale. Because many of the content areas are based on a relatively
small number of items, small differences in the location of bands should not be over-interpreted. If two bands overlap, performance In
the associated areas should be interpreted as similar. Please note that many items may contribute to more than one content area. Use
caution when interpreting differences in performance across content areas.

                                                                         Lower                                    Average                                        Higher
                                                                      Performance                                Performance                                   Performance

 Organ Systems
Immunologic Disorders and Diseases of the Blood                                                                                        ~




Cardiovascular Disorders                                              <(II
Diseases of the Respiratory System                                                                                           ~    ,.

Nutritional & Digestive Disorders                                            -                                       -            -             -
Renal, Urir:,ary & Male Reproductive Systems
                                                                                            -                                :-
Endocrine & Metabolic Disorders                                       <(IJ                      -                        ~



                                                                                                                                               - - ... --
Diseases of Skin and the Nervous and Musculoskeletal Systems                                        '                        -
 Physician Tasks
                                                                                                         _,
Health and Health Maintenance                                        ~ii
                                                                                                                                                        ,-
Mechanisms of Disease
Diagnosis
Management                                                                                                       ~
                                                                                                                                                    -
 Site of Care
Ambulatory                                                                       .   ----

Emergency Department
                                                                                                -
In-Patient                                                           •II·                                    =               ,...-...      -


 Patient Group
Male
Female
Geriatric                                                                                               ..
                                                                                                                             -         F




*Please note that equated percent correct scores cannot be compared to scores reported prior to August 20 15 which were on a different score scale .
                                                                      Page 2 of 2




                                                                                                                                                             NBME00184



                                                               Appx1202
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(~) NBME~National Board of Medical Examiners
                                          Subject Examination Program
                                       Score Interpretation Guide for Students

                             NBME® Comprehensive Basic Science Examination

The enclosed Performance Report lists your Subject Test score on the Comprehensive Basic Science Examination and
provides a Performance Profile to aid in self-assessment. The content covered on the Comprehensive Basic Science
Examination (CBSE) is based on the United States Medical Licensing Examination® (USMLE®) Step 1. The CBSE is
basically a shorter version of Step 1 that covers material that is typically learned during basic science medical education .
Subject test scores are scaled so that a score of 70 on the CBSE is approximately equivalent to a score of 200 on USMLE
Step 1. The vast majority of scores range from 45 to 95, and although the scores have the "look and feel" of percent-correct
scores, they are not. Because the Comprehensive Basic Science Examination and Step 1 cover similar content, this scale
provides a useful tool for comparing your performance with that of a large, nationally representative group taking the
licensing exam at the end of the second year of medical school. Additional information about the relationship between
CBSE scores and Step 1 scores is provided in the table below.

Precision of Scores
Measurement error is present on all tests, and the standard error of measurement (SEM) provides an index of the
(im)precision of scores. The SEM indicates how far the score a student earns on the examination is likely to stray from
his/her "true" proficiency level. The SEM is approximately 3 points for the CBSE Subject Examination scores . Using the
SEM, it is possible to calculate a score interval that indicates how much a score might vary across repeated testing using
different sets of items covering the same content. An interval that will encompass about two thirds of the observed scores
for a given true score may be found by adding the SEM to a score and subtracting it from that score. For example , if a
student's true proficiency on the Subject Examination is 60, the score he/she achieved on the examination will usually (two
times out of three) fall between 57 and 63 (60 - 3 and 60 + 3).



Approximate USMLE Performance Equivalents                                        Approximate Step 1 Equivalents
The table to the right provides approximate performance                             Step 1                      Step 1
equivalents for USMLE Step 1, making it possible for you             Score        Equivalent        Score     Equivalent
to translate your Subject Test score to the scale used for
Step 1. Specific information on Step 1 and the current                  ~   94      ~   260            68         195
minimum passing score is available on the web site for                      94          260            66         190
USMLE (http://www.usmle.org).                                               92          255            64         185
                                                                            90          250            62         180
To use the table, locate your Subject Test score in the
associated column and note the entry in the column                          88          245            60         175
headed "Step 1 Equivalent". For example, if your score is                   86          240            58         170
62, the correspond ing entry of 180 indicates that your                     84          235            56         165
performance on the Subject Test is approximately                            82          230            54         160
equivalent to a Step 1 score of 180.
                                                                            80          225            52         155
NOTE: This examination is not intended to predict                           78          220            50          150
performance on USMLE. Rather, it is intended to be                          76          215            48          145
used as a tool to determine your relative areas of                          74          210            46          140
strength and weakness in general topic areas.                               72          205          s;45       !:.140
                                                                            70          200




                                                          Page 1 of 2




                                                                                                             NBME00185



                                                   Appx1203
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ra ) NBME<i National Board of Medical Examiners
"<::. ·                                            Subject Examination Program
                                                       Examinee Performance Profile
                                                         Comprehensive Basic Science
                                               023070 - Western Michigan U Ho mer Stryker MD SOM


ID: 1164440                                                                                               Test Date(s): 04/11/2016
Name: RAMSAY JESSICA ERIN                                                                                   Total Scaled Score: 68
 The score you received on this examination is shown above. This Performan ce Profile is provided to aid in self-assessment. The
 shaded area defines a borderline level of performance for each content area; borderline performance is comparable to a HIGH
 FAIULOW PASS on the total test of USMLE® Step 1. (See NOTE on Page 1.)

 Performance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a performance
 band reflects the precision of measurement: narrower bands indicate greater precision. A -411 or 1111- symbol indicates that your
 performance band extends beyond the displayed portion of the scale. Small differences in the location of bands should not be
 over-interpreted. If two bands overlap, performance in the associated areas should be interpreted as similar. Because CBSE is
 designed to be integrative, many items contribute to more than one content area. Use caution when interpreting differences in
 performance across content areas.

 Additional information about the topics covered in each content area can be found in the USMLE Step 1 Content Description and
 Sample Test Materials at www.usmle.org. An explanation of your score along with a table of approximate USMLE Step 1 performance
 equivalents for CBSE scores is included in the Score Interpretation Guide for Students.

                                                                  Lower            Borderline                              Higher
                                                                Performance       Performance                            Performance

 Discipline
Behavioral Sciences
Biochemistry
Gross Anatomy & Embryology
Histology & Cell Biology
Microbiology & Immunology
Pathology
Pharmacology
Physiology
System
General Principles of Foundational Science
Behavioral Health and Nervous Systems/Special Senses
Musculoskeletal, Skin, & Subcutaneous Tissue
Cardiovascular System
Respiratory System                                                                                                                  Ill,
Gastrointestinal System
RenaVUrinary System
Multisystem Processes & Disorders




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                                                                                                                    NBME00186



                                                          Appx1204
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        ~ NBME®                           National Board of Medical Examiners
                                                     Customized Examination
                                                       Performance Profile


                                    School: 023070 - Western Michigan U Homer Stryker MD SOM
                                               Examination Name: 201516 M2 CAS3

                                                        Test Date: 01 /04/2016

        ID:      1164440
        Name: RAMSAY, JESSICA ERIN                                                           Total Test Scaled Score:     69
        Scaling Group: 01 /04/2016                                                 Total Test Percent Correct Score:      70




        NBME customized examinations provide medical schools with a tool for measuring students' understanding of a
        series of content areas defined by each school. Your total test scaled and percent correct scores on this customized
        examination appear above. Total test scaled scores are scaled to have a mean of 70 and a standard deviation of 8
        for the scaling group of examinees selected by your school. The total test percent correct score represents the
        percentage of items answered correctly on the examination and has been rounded to the nearest whole number.

        The performance profile on the following page is provided to aid in self-assessment. It summarizes your
        performance onthe total test and in the content areas defined by your school. The vertical line in the center of the
        profile indicates the average level of performance in each content area for the scaling group of examinees selected
        by your school that completed this customized assessment. Areas of re lative strength and weakness are Indicated
        by the positioning of the performance bands. The width of each band reflects the precision of measurement for the
        associated content area;narrower bands indicate greater precision ~ An ·asterisk at either end of the performance
    )   band indicates that your performance band extends beyond the displayed portion of the scale. Small differences in
        relative position of bands should not be overinterpreted. If two bands overlap, performance in the associated
        content areas should be interpreted as similar. Please note that items may contribute to the calculation of scores in
        more than one content area. As a consequence, caution should be used when interpreting differences in
        performance across content areas.

        The total test scaled score and this performance profile should not be compared to those from other NBME
        examinations. The scaling group that your school selected for this administration can be compared to other
        administrations if this same exam that used the same scaling group.




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        NBME®                                                 Page 1 of 2                                          01/06/2016




                                                                                                                NBME00187



                                                       Appx1205
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    @ NBME® National Board of Medical Examiners Customized Examination
                                                  Performance Profile


                            School: 023070 - Western Michigan U Homer Stryker MD SOM
                                          Examination Name: 201516 M2 CAS3

                                                    Test Date: 01/04/2016

    ID:      1164440
    Name: RAMSAY, JESSICA ERIN                                                           Total Test Scaled Score:    69
    Scaling Group: 01 /04/2016                                               Total Test Percent Correct Score:       70




                                                     Lower                     Average                    Higher
                                       Total Test r-ml1!ll!fillSL_ _ _ _ _   ~P=erfo.,m:,3:nN•~----.. :~~~t2.·aooi
                                      Endocrine
                                 Gastrointestinal
                            General Prlnclples
                                 Gross anatomy
                                       Histology
                                   Microbiology
)                                 Pharmacology
                                     Physiology
                                           Renal
                                   Reproductive
                                     Respiratory
                             System pathology




    NBME ®                                               Page 2 of 2                                         01/06/2016




                                                                                                          NBME00188



                                                    Appx1206
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                                      National Board of Medical Examiners
                                                 Customized Examination
                                                   Performance Profile


                               School: 023070 - Western Michigan U Homer Stryker MD SOM
                                     Examination Name: NBME CAS2 OrQan 201516 M2

                                                    Test Date: 06/22/2015

    ID:     1164440
    Name: RAMSAY, JESSICA ERIN                                                           Total Test Scaled Score:     67
    Scaling Group: 06/22/2015                                                  Total Test Percent Correct Score:      66



    NBME customized examinations provide medical schools with a tool for measuring students' understanding of a
    series of content areas defined by each school. Your total test scaled and percent correct scores on this customized
    examination appear above. Total test scaled scores are scaled to have a mean of 70 and a standard deviation of 8
    for the scaling group of examinees selected by your school. The total test percent correct score represents the
    percentage of items answered correctly on the examination and has been rounded to the nearest whole number.

    The performance profile on the following page is provided to aid in self-assessment. It summarizes your
    performance onthe total test and in the content areas defined by your school. The vertical line in the center of the
    profile indicates the average level of performance in each content area for the scaling group of examinees selected
    by your school that completed this customized assessment. Areas of relative strength and weakness are indicated
    by the positioning of the performance bands. The width of each band reflects the precision of measurement for the
    associated content area;narrower bands indicate greater precision. An asterisk at either end of the performance
)   band indicates that your performance band extends beyond the displayed portion of the scale. Small differences in
    relative position of bands should not be overinterpreted. If two bands overlap, performance in the associated
    content areas should be interpreted as similar. Please note that items may contribute to the calculation of scores in
    more than one content area. As a consequence, caution should be used when interpreting differences in
    performance across content areas.

    The total test scaled score and this performance profile should not be compared to those from other NBME
    examinations. The scaling group that your school selected for this administration can be compared to other
    administrations if this same exam that used the same scaling group.




    NBME®                                                 Page 1 of 2                                          06/24/2015




                                                                                                            NBME00189



                                                    Appx1207
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                                   National Board of Medical Examiners
                                              Customized Examination
                                                Performance Profile


                            School: 023070 - Western Michigan U Homer Stryker MD SOM
                                  Examination Name: NBME CAS2 Or~an 201516 M2

                                                      Test Date: 06/22/2015

    ID:     1164440
    Name: RAMSAY, JESSICA ERIN                                                           Total Test Scaled Score:      67
    Scaling Group: 06/22/2015                                                 Total Test Percent Correct Score:        66




                                     Total Test   f
                                                      Lower
                                                  1J1!Ul!lll.ll.lL--• • •     ~~:.:'~"rA:______
                                                                               Average                      Higher


                                                                                                                  1
                                                                                                      ___f;P~!!ll!i


                                  Biochemistry
                                 Cardiovascular
                                   Cell biology
                            General pathology
                            General Principles
                                Gross anatomy
)                Hematopoietlc/lymphoreticular
                                      Histology
                                   Immunology
                                  Microbiology
                                Muscuioskeletal
                                 Pharmacology
                                    Physiology
                            System pathology
                          MSK/Gross Anatomy
                                      Path/Hist
                            Biochem/Cell/Resp
                                   Hema/lmmu




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    NBME®                                                  Page 2 of 2                                           06/24/2015




                                                                                                            NBME00190



                                                  Appx1208
              Case: 20-1058           Document: 24               Page: 190            Date Filed: 03/23/2020




                                          National Board of Medical Examiners
                                                     Customized Examination
                                                       Performance Profile


                                    School: 023070 - Western Michigan U Homer Stryker MD SOM
                                               Examination Name: NBME CAS 1 M114

                                                        Test Date: 12/19/2014

        ID:      1164440
        Name: RAMSAY, JESSICA ERIN                                                          Total Test Scaled Score:      70
        Scaling Group: 12/18/2014                                                  Total Test Percent Correct Score:      74




        NBME customized examinations provide medical schools with a tool for measuring students' understanding of a
        series of content areas defined by each school. Your total test scaled and perc.ent correct scores on this customized
        examination appear above. Total test scaled scores are scaled to have a mean of 70 and a standard deviation of 8
        for the seating group of examinees selected by your school. The total test percent correct score represents the
        percentage of items answered correctly on the examination and has been rounded to the nearest whole number.

        The performance profile on the following page is provided to aid in self-assessment. It summarizes your
        performance onthe total test and in the content areas defined by your school. The vertical line in the center of the
        profile indicates the average level of performance in each content area for the scaling group of examinees selected
        by your school that completed this customized assessment. Areas of relative strength and weakness are indicated
        by the positioning of the performance bands. The width of each band reflects the precision of measurement for the
        associated content area;narrower bands indicate greater precision. An asterisk at either end of the performance
    )   band indicates that you r performance band extends beyond the displayed portion of the scale. Small differences in
        relative position of bands should not be overinterpreted. If two bands overlap, performance in the associated
        content areas should be interpreted as similar. Please note that items may contribute to the calculation of scores in
        more than one content area. As a consequence, caution should be used when interpreting differences in
        performance across content areas.

        The total test scaled score and this performance profile should not be compared to those from other NBME
        examinations. The scaling group that your school selected for this administration can be compared to other
        administrations if this same exam that used the same scaling group.




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        NBME®                                                 Page 1 of 2                                          12/22/2014




                                                                                                                NBME00191



                                                        Appx1209
        Case: 20-1058           Document: 24             Page: 191          Date Filed: 03/23/2020




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     TI NBME"'
    (:!j)                         National Board of Medical Examiners
                                              Customized Examination
                                                Performance Profile


                           School: 023070 - Western Michigan U Homer Stryker MD SOM
                                       Examination Name: NBME CAS 1 M114

                                                  Test Date: 12/19/2014

    ID:     1164440
    Name: RAMSAY, JESSICA ERIN                                                    Total Test Scaled Score:    70
    Scaling Group: 12/18/2014                                             Total Test Percent Correct Score:   74




                                                                                                    Higher

                                     Total Test
                                 Biochemistry
                                   Cell biology
                                   Physiology
                                      Genetics
                                Pharmacology
                                     Histology
)                               Hist/Path/Embr
                           General Principles




    NBME®                                              Page 2 of 2                                     12/22/2014




                                                                                                    NBME00192



                                                  Appx1210
     Case: 20-1058                                                Document: 24                                 Page: 192                         Date Filed: 03/23/2020




                                                                                                                                                         IIIIIII IIIIIIIIII IIIII IIIII IIIII IIIII IIII IIII
                                                                                                                                                        1126189                               5-366-431-4
                                                                                                                                                        MCAT , USMLE Step 1-Tesl S
                                                                              MCAT Score Report

                        Name JESSICA ER IN RAMSAY                                                                                               AAMC ID 13215693
                 Verification Code CYE7-PLl7-VHW4-DX8H                                                                                        Date of Birth 08/29/1990
                                                                 URL• https://apps.aamc.org/score -reporting-web/#/report/verify
                                                                    * This report will no longer be able to be verified after 03/1312017

 In order to verify these scores, you will be directed to create a user name and password. When visiting this page, select "Register for an AAMC
                                                                                           Account" to begin this process.




                                                                                               MCAT Scores
                                                                          Fo r exams taken after January 31 , 2015
                                                                                              No Scores Ava ilable

                                                                                               MCAT Scores
                                                                        For exams taken before January 31, 2015

                                                  MCATTotal                               Physica l Sciences             Verbal Reasoning                 Writing Sample                     Biological Sciences

                                                                   Percentile                        Percentile                    Percentile                        Percentile                            Percentile
                      Total               Confidence                Rank of                           Rank of                       Rank of                           Rank of                               Rank of
Exam Date             Score                      Band 1             Score l            Score          Scores          Score         Score?.           Score           Score•                Score           Score•

04/09/2011             30M                      28 to 32               79%               10              79%            09             67%               M                31%                  11               88%




 Notes

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 w/1ich tl1c 1.1~5:l   l.J~f.. r'S     r.iU~     ~c_)r1::.s prnhablv .2. 1\.l nbt<-,in th(· (Cnl r1erc1? b:Jnd for i:ai: 1·1 sr_)i:tioi-o ·:·-rort•. sch~1"t1ct one :Joint r(,m a11d .:1do one po:nt to
 the s~_tHe (r..,i,   :r, J'1t:=:   1.. .."se   url~,e W· ii. nt: s._~111pie. :.;.~1L1t1(1c t11d a~~d vne :::Jer)




                                                                   Copyright A©1995-2915             I Association of American Medical Col leges




                                                                                                                                                                                                        NBME00193



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                                    INFORMATION PROVIDED FOR EXAMINEE USE ONLY

                            The Performance Profile below is provided solely for the benefit of the examinee.
       These profiles are developed as self-assessment tools for examinees only and will not be reported or verified to any third party.

                                              USMLE STEP 1 PERFORMANCE PROFILE

                                                                      Lower                Borderline                                       Higher
                                                                      Performance          Performance                                 Performance

  PHYSICIAN TASK
  MK: Applying Foundational Science Concepts                              xxxxxxxxx
  PC: Diagnosis                                                                            r xxxxxxxxxxxx
  PC: Management                                                                      xxxxxxxxxxxxxxxxx
  PBLI: Evidence-Based Medicine                                           XXXXXXXXXX,C:xJtx:~xxxx
  DISCIPLINE
  Behavioral Sciences
  Biochemistry & Nutrition
  Genetics
                                                                        *xxxxxxx
                                                                            xxxxxxx~x
                                                                                       XXXH
                                                                                                 d:  · xxxxxxxxxx

                                                                                                       xxxxxx
  Gross Anatomy & Embryology
  Histology & Cell Biology
  Microbiology & Immunology
                                                                               xxxx~xxx
                                                                        *xxxxxxxxxx.
                                                                        *xxxxx.x xxx
                                                                                              j         xxxxxx


  Pathology                                                                       XXX ·
  Pharmacology                                                                    xxx~xxx~xxxx
  Physiology
  SYSTEM
  General Principles
  Blood & Lymphoretlcular and Immune Systems
  Behavioral Health & Nervous Systems/Special Senses
  Musculoskeletal, Skin, & Subcutaneous Tissue                                                                xxxxxxxxxxxxxx.x xxxx
  Cardiovascular System
  Respiratory and Renal/Urinary Systems
  Gastrointestinal System
  Reproductive & Endocrine Systems
  Multisystem Processes & Disorders
  Biostatistics & Epidemiology/Population Health                                                       XXX



The above Perfonnance Profile is provided to aid in self-assessment. The shaded area defines a borderline level of perfonnance for each content area;
borderline perfonnance is comparable to a HIGH FAIULOW PASS on the total test.

Perfmmance bands indicate areas of relative strength and weakness. Some bands are wider than others. The width of a pcrfonnance band reflects the
precision of measurement: narrower bands indicate greater precision. The band width for a given content area is the same for all examinees. An
asterisk indicates that your perfonnance band extends beyond the displayed portion of the scale. Small dilTerences in the location ofbamls should
not be over-interpreted. If two bands overlap, perfonnance in lhc associated areas should be interpreted as similar. Because Step I is designed to be
integrative, many items contribute to more than one content area. As a consequence, caution should be used when interpreting differences in
perfonnance across content areas.
This profile sh ould not be compared to those from other Step 1 administrations.
Additional information concerning the topics covered in each content area can be found in the USMLE Step I Cnntent Description and Sample Te.rt
Materials.

MK-Medical Knowledge; PC-Patient Care; PBLI- Practice-based Leaming and Improvement




                                                                                                                                   NBME00195



                                                              Appx1212
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                                                                          1111111 //Ill /11111/1111111/ I/I/I ll/1//111111/
                                                                          1126191                           5-366-431-4
                                                                         ADD/ADHD Verification For

                                                                                                                              Office for Disability Services




    •                                                                                                                                   Office of Student Life
                                                                                                                                         150 Pomerene Hall
                                                                                                                                          1760 Neil Avenue
                                                                                                                                  Columbus, OH 43210-1297

                                                                                                                                       Phone (614) 292-3307
                                                                                                                                         Fax (614) 292-4190
                                                                                                                                        TDD (614) 292-0901
                                                                                                                                            www.ods.osu.edu
                                          ADD I ADHD Verification Form
     The Office for Disability Services (ODS) provides academic services and accommodations for
     students with diagnosed disabilities. The documentation provided regarding the disability
     diagnosis must demonstrate a disability c.overed under Section 504 of the Rehabilitation Act of
     1973 and Title II of the Americans with Disabilities Act (ADA) of 1990. The ADA defines a
     disability as a physical or mental impairment that substantially limits one or more major life
     activities. In addition, in order for a student to be considered eligible to receive academic
     accommodations, the documentation must show functional limitations that impact the individual
     in the academic setting.

     ODS requires current and comprehensive documentation in order to determine appropriate
     services and accommodations. The outline below has been developed to assist the student in
     working with the treating or diagnosing healthcare professional(s) in obtaining the specific
     information necessary to evaluate eligibility for academic accommodations.

)    A. The healthcare professional(s) conducting the assessment and/or making the diagnosis
     must be qualified to do so. These persons are generally trained, certified or licensed
     psychologists or members of a medical specialty.

     B. All parts of the form must be completed as thoroughly as possible. Inadequate
     information, incomplete answers and/or illegible handwriting will delay the eligibility review
     process by necessitating follow up contact for clarification. It is recommended that this form be
     completed by typing the information into the editable PDF version of the form available on
     our website at http://ods.osu.edu/poslsldocuments/ADHD.pdf . .

     C. The healthcare provider should attach any reports which provide additional related
     information (e.g. psycho-educational testing, neuropsychological test results, etc.). If a
     comprehensive diagnostic report is available that provides the requested infonnation, copies of
     that report can be submitted for documentation instead of this form. Please do not provide case
     notes or rating scales without a narrative .:..:..
                                                  th=a:.:..t-=e:x:,p:...:lc:::a.::.
                                                                                in:.=s...:t.:..:
                                                                                            h=-  e-'-r=-=
                                                                                                      es::..::u=-l=-=
                                                                                                                  ts.,.__- - - - - - - - - - -·

      D. After completing this form, sign it, .com_p]ete.the Healthcare Provider _Information__ _
      section-On..the..Jast.page..and-mail-Or=-f.ax-it..to-u at-the-ad&FeSS-pl'OV-ided-in-our-leHerhea-d.- - -:·: _ ::._~·-
    · TJie mfor mation you provioe wif not become part of the student' s .educational records, but it will
     be kept in the student's file at ODS, where it will be held strictly confidential. This form may be
     released to the student at his/her request. In addition to the requested information, please attach
     any other information you think would be relevant to the student's academic adjustment.

     If you have questions regarding this form, please call the ODS office at 614-292-3307. Thank
     you for your assistance.




                                                                                                                                              NBME00201



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                                     STUDENT INFORMATION
                                    (Please Print Legibly or Type)


     Name (Last, First, Middle): -~~-S~°'--1..,-t-/.......-~J~e:~
                                                                $->~i~e-~c--.-+~-E._r-_,·l""'________
                                                                                             I        _
     DateofBirth:     j'il. Z/201 /1'1'10                 Last 4 Digits of SSN: _i../_3""--'-7__
                                                                                              2 _ _ __

     Status (check one): ~current student          O transfer student     Oprospective student

     Local phone:   <~-->---- _____                       Cell phone: ('~U,9 )-    930 - 300/
     Address (street, city, state and zip code):    14'lll. 0 I~ Fc...n:Y)   Uw'le.,
                                                ~\-. ,1o~h , MI '10085
                                                               __',j~·_,3
     If OSU Student, OSU E-Mail address: __Y"'(A.--=VV\~5,....,G\.      "'-=2________@0SU.EDU
     E-mail address: - - - - - - - - - - - - - -


                                 DIAGNOSTIC INFORMATION
                                      (Plea·se Print Legibly or Type)
)
     Please provide responses to the following items by typing or writing in a legible fashion.
     Illegible forms will delay the documentation review process for the student.

         1. DSM-IV diagnosis:
                314.0~
                Predominantly Inattentive
                Predominantly Hyperactive-Impulsive
            D   314.01 Combined type
            D   314.9 Not otherwise specified

        2. In addition to DSM-IV criteria, how did you arrive at your diagnosis?
             D Behavioral observations
          _-@-De.¥elopmen.taLhistory ·----.:
            D   Rating scales
             ~·Med real history ·
            -gr-Strueturcc!-orunstructiiied·dinical~lilierview wIth the- student
             D Interviews with other persons
             D Neuropsychological testing (dates of testing)
                 (Please attach diagnostic report of testing)
             0 Other (Please specify)
        3. Please state date of diagnosis:
                                             -------------------
                                                      2




                                                                                                  NBME00202



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                     4. What is the severity of the condition? Please check one:
                               D mild                        00
                                                            moderate        D severe




                         State the following:
                             a. date of first contact with student:                       Z.- 2:1-t/)

                             b. date of last contact with student:                         1-)?1-}0

                    5. Student's History:

                             a) ADHD History: Evidence of inattention and/or hyperactivity during childhood
                                and presence of symptoms prior to age seven. Provide information supporting the
                                diagnosis obtained from the student/parents/and teachers. Indicate the ADHD
                                symptoms that were present during early school years (e.g. daydreamer, spoke out
                                of tum, unable to sit still, difficulty following directions, etc.)
    )

                                                                   )                                                    I

                                           DR.ru*5CO ~ ? t l n                            ::;(£/;?fQ




                                b) Psychosocial History: Provide relevant information obtained from the
                                      student/parent(s)/guardian(s) regarding the student's psychosocial history (e.g.
                                      often engaged in verbal or physical confrontation, history of not sustaining
                                      relationships, history of employment difficulties, history of educational
                                      difficulties, history of risk-taking or dangerous activities, history of impulsive
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                                                               Appx1215
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               c) Pharmacological History: Provide relevant phannacological history including
                  an explanation of the extent to which the medication has mitigated the symptoms
                  of the disorder in the past. Also include any current medication(s) that the
                  student's currently prescribed including dosage, frequency of use, the adverse side
                  effects, and the effectiveness of the medication.
                                                    - - - - . - - - ·-·-·--- - -            . --·--·---- ---




              d) Educational History: Provide a history of the use of any educational
                 accommodations and services related to this disability.




)




       6. S.tu~e_?t's_ ~~_ent Speciti~ ~Y!TIP~om.s

       Please check all ADHD symptoms Iisrecfiiitne·TISM"=!Vlnat tne sruaent currentlyexli.ibit~:

       Inattention:
          0 often fails to give close attention to details or makes careless mistakes in
                 schoolwork, work or other activities.


    ·---B
               often has difficulty. sustaining attention in tasks or play activities.
               often does not seem to.listen when spoken to directly.                      · - - - - - - -- -- - -
               often does not follow through on instructions and details to finish schoolwork,
                .choces, or. duties in the.workplace (not due to. o.ppositional. behavior .or. failure.to
          ~    ~~~=:~~!i;i-; g-:sk~-:nct';~i~itie-;:-···: .·.=--:-=.-=:·.:·:·--:-:::-·-- _- -:.
          [XI often avoids, dislikes, or is reluctant to engage in tasks (such as schoolwork or
               homework) that require sustained mental effort.
          0   often loses things necessary for tasks or activities (e.g. school assignments, pencils,
               books, tools, etc.)
          g'J is often easily distracted by extraneous stimuli.
          ~ often forgetful in daily activities.

                                                      4




                                                                                                  NBME00204



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               Hyperactivity:
                  0  often fidgets with hands or feet or squirms in seat
                  0  often leaves (or greatly feels the need to leave) seat in classroom or in other
                      situations in which remaining seated is expected.
                  0 often runs about or climbs excessively in situations in which it is inappropriate (in
                  - - aaolescents or adults, may be h ~ t i v e feelings·ofiest.le'Sstress).
                  0 often has difficu,lty_.pla.;ing...or engaginglp.Jeisure. aa.ti vities .that.are. more sedate.
                  0 is often "on the go" or often acts as if "driven by a motor".
                  0 often talks excessively.
               Impulsivity               ~ / P(
                  0    often blurts out answJrs before questions have.been completed
                  0    often has difficulty awaiting tum
                  0    often interrupts or intrudes on others (e.g. butts into conversations or games).


               7. State the student's functional limitations based on the ADHD diagnosis, specifically in a
                  classroom or educational setting.




)




           8. State specific recommendations regarding academic accommodations for this studentt ·· - - · ·-·--· · · · ·
    - - - - ancl-a-raH0naie-as-J0-why-*1iese:aee<:>fflJl'loclati0aslserv1ees-are-warr;antec:J-base~P.Gn-t11e-
                                                                                                           . - - - --
              student' s functional limitations. Indicate why the accommodations are necessary (e:g. if
              a note taker is suggested, stat~ the reasons for this request related to the student's
              diagnosis).




)
                                                               5




                                                                                                              NBME00205



                                                     Appx1217
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                9. If current treatments (e.g. medications, counseling, etc.) are successful, state the reasons
                   why the above academic adjustments/accommodations/services are necessary. Please be
                   specific.




                                      HEALTHCARE PROVIDER INFORMATION
              (Please sign & date below and fill in all other fields completely using PRINT or TYPE)



  )
           Provider Signature: _ __ _ _ _         ltr{
                                                   __ffa-+-+.
                                                          --'--- --          - --       Date:

           Provider Name (Print): - -- - - - - -- - - - - - -- - -- -- - - -

          Title:
                   - - - - - -- -- -- - - -- -------
          License or Certification #:

_ _ __                            ---=============================================--------
         _ ____.A.....-.dd.i:es.s.-
                                ·



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                                                                                 Al.AN H. SMI.Y MD
                                         <~-~>·--- -- ---
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                    Phone Number:                                               19'1 ITONEOATE PARK
                                                                             IT, .IOHPH, MICHIGAN ,eoaa
                                                                           PH: Mf-41      I FX: 20-421•2700
                    FAX Number: (' -_ ___;)·_ _ _ - - -~~...;...,,..........,,................- - -
                     ---- ·---- ·--- -----···-----..------ ..· · - -- - - -- - - --·-·- --·---· ---·



          Important: After documentation is reviewed, ODS will send an email notification to the
          students OSU email account, (e.g. miller.6789@osu.edu), acknowledging receipt of
          documentation and the eligibility status. Prospective students that do not yet have an OSU
          email account will be notified via paper letter sent to their home address.


                                                             6



                                                                                                          NBME00206



                                                    Appx1218
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                                             The Ohio State U niversity           Office for Disability Services                           -~-.:C··-s;,,

PERM                                                                    Access Plan                                                   (      TEMP
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A . Accomm odation Authorization

l understand that I have been authorized for the following accommodations by my ODS cotmselor based on
my cunent disability documentation and functional limitations:


             '-
                                                   !Exams I                                       ! Alternative Media I
             ~      ':,\) %extra time for ·Pr Lv              (subject/s) exams            D Audio Output
             D _% extra time for         (subject/sJ exams                                 D Braille/ Tactile Images
             D _% extra time for         (subject/s) exams                                 D Print Enlargement
             D Distr. Red. l D Distr. Red. 2                                                      I Assistive Technologyl
             D Reader          D Scribe
             D CCTV            D ZoomText                                                  D WYl\TN / Read & Write
             D Word Processing D Dragon Software                                           D Voice Recognition Softvvare
             D Braille         D Breaks                                                    D Screen Enlargement Software
             D Raised Table D JAWS                                                         D Refreshable Braille
             D Taped Exam D Large print-electronic                                         D Adaptive Keyboard / Mouse
             DTest Talker Exam Large print-paper   D                                       D Other _ _ _ _ __ __
             Oorher_ __ _ __ _ _ _ __

                                                          I Additional Accommodations I
                  ·,5a Priority Registration  D Counseling                                       D Advocacy
                    0 Note Taking Assistance D Interpreting/ Transcribing                        D Phonic Ear/ FM System
                    D Handivan Transpo1tation D Lab Assistance                                   D Other ------ - - -
B. Agreement of Understanding of Services

I,                '\i':i.> I ( l( f\(1 ,., --: Q
                                 (pr,,n na111e-J
     /
EJ           ha ve received the student handbook and have been advised and trained in accessing appropriate accommodations.
         I

[:21         understand that it is my responsibility to request appropriate accommodations in a timely maimer and follow ODS
             policy and procedures as outlined in the student handbook.

[;Jt have been informed of the faculty/staff role in providing accommodatio11S and give my permission for ODS to discuss
             the implementation ofmy accommodations with appropriate OSU faculty and staff if necessary.

0.have been informed of the opportunity to register to vote through the Offic'<i fo~Disab1lity Services.                     \..._

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WH!TE: ODS                                                                                                       O:~ cceu Phu1s\C'utTtn(\Acccu Phm 5.5.08
YELLOW: STUDENT




                                                                                                                                     NBME00207


                                                                       Appx1219
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                       The Ohio State University - Office for Disability Services
                                                EXAM ACCOMMODATJONS CONTRACT
-~           This contract is to ensure that academic integrity standards are maintained at ODS and that all
  ,          students authorized for the use of exam accommodations arc aware of these important guidelines.
             Please read and initial each guideline to signify that the policy has been explained to you by your
             ODS Counselor, that you understand the policy and that you will abide by the policy.


       l.    Student must show picture ID to ODS exam staff when checking in to take an exam. BUCK-ID's
             and driver's licenses are acceptable. ·,";,( .
                                                                  ,,.,
                                                                   ~      .
       2.    Student is responsible for turning in completed Proctor Sheets to ODS within 5 business days in
             advance of exam date. Incomplete proctor sheets will be returned to the student. ~\  "
                                                                                                                            .,       ',
       3.    Student is expected to show up on time for their exam. Student arriving late for exam must use the
             remaining time or reschedule exam with the instructor (via the Rescheduling Authorization Form or
             ~n
              .....
                    e-mail
                     .,,.
                           from the instructor). There is no guarantee that the instrnctor will permit a make up exam.
             ~
              '·
       4.    Unauthorized notes, books, book bags, purses and hats/ball caps are not pe11l1itted in the exam
             space. Communication devices including cell phones and PDA 's are not pem1itted. Unauthorized
             electronic devices are not permitted. Cell phones brought to exams must be turned off and stored at
             Lhe ODS service ~ounter or in the student's book bag. ODS is not responsible for cell phones stored
             at the counter. _· ·.(

       5.    All ODS exam studios are monitored by ODS staff via a closed-circuit video..monitoring system.
             Students observed util izing any unauthorized resource during an exam will be reported to the OSU
             Committee on Academic Misconduct and the instructor. "·,/
                                                                                            ~
       6.    ODS exam proctors may inspect the exam environment (randomly or otherwise) to ensure academic
             . . ...... /
             mtegnty. '·,
                         /~
       7.    Students may not leave exam site whi le exam is in progress or the exam will be tenninated (exception is
             bathroom break). ~
                                ·' .....
       8.    Students using a reader assistant may not ask the assistant for any exam infom1ation otl~ythan to
             repeat the exam question exactly as it is written, including paraphrasing of questions. /'-..
                                                                                                                                     /          ·,

      9.     ODS cannot guarantee students a specific type oftest environment - students with~i~traction
             reduced environment accommodation are not guaranteed a room by themselves.
                                                                                                                            ~
                                                                                                                                 X
       10.   Student must complete exam 15 minutes prior to closing. Fall, Winter and Spring Quarter exams
             arc adminislered Monday through Thursday from 7:_3_0~!11- ll;l?,pm and Friday, 7..:3.0_a.m - !L45,pm.
             Summer Quarter exams are administered Monday through Friday from 7:30am - 4: l 5pm. • \,.




                       S!utlenl Name (Print)                                           Studenl Signature                                 Date
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                                        · -~ S1iff/C6i111selor Signature·- -                                         Date
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  Ycllow -Student
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                                                                                                                       5-366-431-4
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    Neuropsycb6Io.gy Associates
                                                       Neuropsychology • Psychiatry· Clinical Psychology
                                             4328 West Michigan, Kalamazoo, Michigan 49006 · 375-2222 · Fax: 375-8292



    Alan Lewandowski, PHO, FACPN                Helene Pilnlck, PHO                             Kevin Kunzer, MD
    Board Certified in Neuropsychology          Pediatric Neuropsychology                       Psychiatry
    Morris Edwards, PHO                         Michael Lyons. PHO                              Bangalore Ramesh. MD
    Certified in Biofeedback                    Clinical Psychology                             Psychiatry
    Jol ynn Cole, MA                            Fenimore Johnson, PHO                           Katelyn Briggs, MA
    Psychotherapist                             Applied Behavior Ane/ysis                       Psychotherapist


    June 20, 2018

    Jessica Ramsay
    6862 Tall Oaks Drive
    Kalamazoo, Ml 49009

    Re:Additional raw data tables for November 9, 2017 Neuropsychological Examination

    Dear Ms. Ramsay:

    Attached to this letter is an additional compilation of the findings from your recent
    neuropsychological assessment formatted as a table. The Raw Data Addendum constitutes
    a complete picture of the entire data set from your assessment. As such, it is a
    comprehensive representation of your evaluation that includes tests administered, the
)   normative sample group, mean scores., your individual (patient) scores, and a guideline to
    assist with interpretation .

    Previously, you were provided with a set of graphs. These graphs that were attached to the
    initial report were provided to you only as a general and cursory guide, to be used during
    our review In order to assist you in understanding the findings. They were never/are not
    intended to be a comprehensive representation of all of the measures employed, functional
    areas assessed, and the general corresponding scores. They were never/are not intended
    for broader distribution or to be used in your request for accommodations.



    Alan . [ewan wski, Ph. D., FACPN
    Clinical Psychologist
    Board Certified Neuropsychologist




                                                                                                                         NBME00136



                                              Appx1223
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                Jessica Ramsay
                Addendum Compiled on June 20, 2018
                Neuropsychological Exam of November 9, 201 7
                Page 1
                                             Raw Data Addendum

                                                              Normative
                          Tests Administered                                 Mean Score     Patient Score            Guideline
                                                               Group
                         Similarities                                             10             13         High average
                         Vocabulary                                               10             14         Superior

                         Information                                              1O             16         Very superior

                         Comprehension                                            10             15         Superior

                         Digit span                                               10             12         High average

                         Arithmetic                                               10             12         High average

                         Block Qesign                                             10             15         Superior

                         Matrix reasoning                                         10             16         Very superior

                         Visual puzzles                                           10             15         Superior

                         Figure weights                                          10              15         Superior

                         Picture completion                                       10             14         Superior

                         Symbol search                                           10               7         Low average

                         Coding                                                  10               5         Borderline Impaired

                         Cancellation                                            10               9         Average
                         Verbal Comprehension Index                              100             125        Superior

                         Perceptual Reasoning Index                              100             131        Very superior

                         Working Memory Index                                    100             111        High average

                         Processing Speed Index                                  100             79         Borderline impaired

                         General Abilities Index                                 100             132        Very superior

                        Cognitive Efficiency Index                               100             94         Average
                        Overall Intellect Index                                  100            117         High average


QI    't: ,g
            C   j Reading                                      100      114      High average
C'I   Cl) · -   8 1 - - - - - - - -- -----11--- - - - , 1 , -- -- -- -- - - - - 4 - - - - - -- - - -
c E -c
co Cl) w
O::>.c          "''E    Spelling                                                 100             109        Average
.g .~~          .~
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      <(.~      ~ Written arithmetic                                             100             110        High average
                ~

;;; t                   Memory: Immediate recall                  4              50              66         Normal

 ~ iif c en Memory: short delay free recall                       4            50       65         Normal
 co>-'-,:: e1--
>a,o       o     -----..;._-----1-----+------4------4----------1
·E g>=o ~ 1-M_e_m_o_ry_:_s_h_o_rt_d_e_1a_y_c_u_ed_re_ca_11_-+-_ _ 4_ _ -1"_ _ _5_o_ ____6_0_ _-'-N_o_r_m_a_1_ _ _ _ ___.
0 ·-       QI   ; _
~ ~             _        Memory: long delay free recall                          4         50        65        Normal
Jj                     1-M-e_m_o_ry_:_lo_n_g_d_e_la_y_c_u_e_d_r-ec_a_ll_--11---- 4 - -~---S-0---+--- 6-0-- -'-N-o_r_m_a_l_ _ __ ___.


                        1.   Age-based norms
                        2.   Age and gender based norms
                        3.   Age, gender, and educational level based norms
                        4.   Age and educational level based norms




                                                                                                                                 NBME00137



                                                                   Appx1224
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                     Addendum Compiled on June 20, 2018
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                     Page 2

                                                                       Normative
                                           Test Administered                         Mean Score   Patient Score        Guideline
                                                                        Group
                                  Tactile fonn recognition: dominant      3              50            50         Normal
                                 Tactile fonn recognition: non-                                        47
                                                                          3              50                       Normal
                                 dominant
            ~
            QI                   Finger oscillation: dominant             3             50             50         Normal
          :::
           n,
          cc                     Finger oscillation: non-dominant         3             50             48         Normal
          ~                      Tactile Performance: dominant            3             50             64         Normal
          '5)
           0
          0                      Tactile Performance: non-dominant        3             50             50         Normal
          .c
          u
          >, 'iii'
              Q)
                      ...        Tactile Performance: bilateral                         50             47         Normal
           (I)
                                                                          3
           Q.        0           abilities
           ...:::,
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          z
           Q)
                     !:.         Tactile Performance:
                                                                          3             50             55         Normal
           C                     response speed
          J!I
          'iii                   Tactile Performance: memory              3             50             54         Normal
          0::
          'C
          n,                     Tactile Performance: localization        3             50             72         Normal
          ....
          Q)
          (I)
         .,;                     Trail A: simple sequencing               3             50             35         Abnormal
         J:
                                 Trail B: complex sequencing              3             50             27         Abnonnal

                                 Executive reasoning                      3             50             60         Normal

1                                Seashore rhythm                          3             50             35         Abnormal

                                 Speech sounds perception                 3             50             60         Normal
     Q)
     0
                                 Attention: detectability                 1             50             50         Normal
     C
     CV
                                 Attention: omissions                     1             50             46         Normal
     E
     0
    't:                          Attention: commissions                   1             50             51         Normal
     QI         C
    a.          0
     v,;E             'iii'      Attention: perseverations                1             50             48         Normal
     :::, 'C           Q)
     ow 0                        Attention: hit reaction time             1             50             49         Normal
     :::, "
     c~ 0
    ·-M
    coti-             ;g,        Attention: hit reaction time SD          1             50             52         Normal
    0          Q)
    (I)      I-                  Attention: hit reaction variability      1             50             49         Normal
    'L.                          Attention: hit reaction
    Q)
    C                            time block chanae
                                                                          1             50            47          Normal
    C
    0                            Attention: hit reaction
    (.)
                                 time ISi chance
                                                                          1             50             69         Abnonnal (mild)

    .c
    oi :::,
              e                  Memory: immediate recall                 4             50            61          Normal
         'iii'
    'El
    2 )( 0
          ...          QI

                       0         Memory: short delay free recall          4             50            58          Normal
    Oa. '1
    "'        Q)

    >- E t:.
    QI 0
    0:: 0                        Memory: short delay cued recall          4             50            38          Abnormal




                            1.    Age-based norms
)                           2.    Age and gender based norms
                            3.    Age, gender, and educational level based norms
                            4.    Age and educational level based norms




                                                                                                                                    NBME00138



                                                                        Appx1225
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                 Addendum Compiled on June 20, 2018
                 Neuropsychological Exam of November 9, 2017
                 PaQe 3
                                                     Normative
                        Test Administered .                      Mean Score   Patient Score            Guideline
                                                      Group

                 Health concerns                        2            50            64         Abnormal

                Anxiety: generalized/focused            2            50          47/51        Normal

                Depression                              2            50            67         Abnormal

                Acute stress                            2            50            41         Normal

                Cognitive inefficiency                  2            50            53         Normal

                Conversion                              2            50            51         Normal

                Somatization                            2            50            57         Normal

                Obsessive-compulsive                    2            50            54         Normal

                Phobias                                 2            50            54         Normal

                Traumatic stress                        2            50            45         Normal

                Depression: cognitive                   2            50            67         Abnormal

                Depression: affective                   2            50            50         Normal
  ~
  0             Depression: physiological               2            50            74         Abnormal
1:
Q)
  >             Activity level                          2            50            51         Normal
.E
i:Q)            Grandiosity                             2            50            49         Normal
 E
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         .
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         0
          Q)


          0
                Irritability                            2            50            43         Normal
 1/l     (/)
                                                        2            50            48         Normal
 1/l
<(       ~ Hypervigilance
~               Persecution                             2            50            48         Normal
cij
 C:
 0              Resentment                              2            50            44         Normal
 ...en
 Q)
c..             Psychotic experiences                   2            50            36         Normal

                Social detachment                       2            50            46         Normal

                Thinking disorder/difficulty            2            50            73         Abnormal

                Affective instability                   2            50            39         Normal

                Identity problems                       2            50            44         Normal

                Negative relationships                  2            50            40         Normal

                Self-harm                               2            50            45         Normal

                Antisocial behaviors                    2            50            43         Normal

                Egocentricity                           2            50           42          Normal

                Stimulus-seeking                        2            50            53         Normal

                Aggressive attitude                     2            50           34          Normal

                Aggression: verbal and physical         2            50          37/42        Normal



                     1. Age-based norms
                     2. Age and gender based norms
                     3. Age, gender, and educational level based norms
                     4. Age a_nd educational level based norms




                                                                                                            NBME00139



                                                            Appx1226
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                                   Neuropsychological Examination: Jessica Ramsay (2017)


                       California Verbal Leaming Test                                                                     Rey Osterrieth Complex Figure
        •Patient Scores - Age-Based Norms -Impaired                                                   l!DPatlent Scores ClAge-Based Norms -Impaired


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                        Conner's Contlnous Performance Test                                                  Personality Assessment Inventory
  Cl Patient Scores OAge-Based Norms                   CJ     Impaired Pa~ont Scom,          •Patient scores ""Age-Based Norms -Impaired: 70T> or 30T<


                                                                                               110    --•-- ----------- -•- •---•••-•--•--
                 Detectability ·                                                               100 · ----------- - -------- - --- - - - -- ----
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                  Omissions ·· ·
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            Commissions ·                                                                       701~ ---.,c.,----'\!t---~ - - - -- -
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HRT standard deviation •                                                                        30    ------- -- --------------------- - - -
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                                                       T Scores                                                         \I'~                           ~a:'%l,,,, ..,.!1-         \I'




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                                Neuropsychological Examination: Jessica Ramsay (2017)

                           Wechsler Adult lntelllgence Scale                                                 Wechsler Adult Intelligence Scale
                C Patfent scores D Age-Based Norms - Impaired                                        l!IPatlent scores CJAge-Based Norma - Impaired


                  Verbal     Perceptual • Working                     ProceHlng                       General              Cognitive        Summary of
               Comprehension Reasoning    Memory                        Speed                         Abllltle1 Proficiency        Findings
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)
                                  ACHIEVEMENT                                                  Halstead Reitan Neuropsychologlcal Battery
              oPatient scores     Age-Based Norms -Impaired                             • Patient scores Age-Based Norms -Impaired: 30T<


                                                                                            Sensory-M_otor     Problem -solving Abstract R-onlng &
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                          Neuropsychological Examination: Jessica Ramsay (2017)


                        California Verbal Learning Test                                     Rey Osterrieth Complex Figure
        e Patient Scores - Age-Based Norms -Impaired                           OPatient Scores DAge-Based Norms -lmpalred


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               Conne(s Continous Performance Test                                     Personality Assessment Inventory
 CJPatienl Scores OAge.Based Norms c::J Impaired Patient Scores     • Patient scores • • Age-Based Norms -Impaired: 70T> or 30T<


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                                                                                                                                                                      5-366- 431-4
                                                                                                                                              tolored Image 2-Evalualio
                                   Neuropsychological Examination: Jessica Ramsay (2017)

                           Wechsler Adult lntelllgence Scale                                                                Wechsler Adult lntelllgence Scale
                C Patient scores CJAge-Based Norms - Impaired                                                        CJPatlent scores CJAge-Based Norms -Impaired


               Verbal           Perceptual         Working     Processing                                            General         Cognitive       Summary of
          Comprehension Reasoning                  Memory        Speed                                               Abilitles       Prollclency      Findings
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)                                   ACHIEVEMENT                                                                Halstead Reitan Neuropsychologlcal Battery
              -Ei Patient scores     Age-Based Norms - Impaired                                   • Patient scores             Age-Based Norms -Impaired: 30T<


                                                                                                          Sensory-Motor            Problem-solvlng      Abstract Reasoning &
                                                                                                                                                              Attention
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                                                            DEFENDANT’S
                                                              EXHIBIT

                                                                63
                                                           _______________




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                                                                DEFENDANT’S
                                                                  EXHIBIT

                                                                    64
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